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CCri
Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[SseuTdezertyuL
stsoyodsd puy seutdezexg ‘seutdezetq] SOOCNVPEL
eATsseideq Bu 00°ST HNIdVZNVIO ON ON SHA -SO00COHXd82Z
stsoyodsd (wun Tyat Tt) 900ciIn’90
eAtsseideq bw 00°002T WOIHLIT ON Saaz SHA -POOCOHA8?
[seutdezeryy
stsoyodsd puy seutdezexg ‘soutdezetq] 900ZNYLST 900Z7NL90
eatssezdeg Bu 90° 00T ELVaWNod ANIGVILANS oN ON SaA -9007NWLTT -9007NVL6T dLO IO 0zoSzTlOg
(wntyatT] 9007d4HSTZ
TezTTTqeis poo Bu 00°006 HLYNOddvO WOIHLITI SHA SHA ON -900CNWI FZ
[SseuTdezertyuL
puy seutdezexo ‘seutdezetq] SO00CNYLOT
TEepsOsTpP Poon Bu 00°00F BLVAWVNNA ANIGVILENG ON ON SHA -SOOCOHATE
[seutdezetyL
puy seutdezexo ‘seutdezeta] SOOZONATE
TepsOSTP Poon Su 00°00z2 ELVaWNOdA ANIGVILANS oN ON SHA -SO00cOHed0E
[wNtyatT] 9OO0ZNYLEZ
TeZzTTTGeIs Poon Bu o0°0s7 WOIHLIT ON Sada SHA -S007TOHd67
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOCOHdOe
TepsosTp Poon Bu 00°00T BLVYWWOd ANIGVILYNS oN ON SHA -SO00cOHed62
sepostda
otTpotaed ‘uted [SeaTeaTIeq PToy oTuotdozg] ANNIINOD  900ZDN¥SZ  900ZNNLLZ
~OPPeTA TTPO 5u 00° 00% NadOddndl SHA SHA SHA -MNQ -900ZNOr8Z -900ZNWCOT II / Wid LLOSZIOg
[uMntyatT] 9O0OZNYLTT
TeZzTTTqejis pooh Bu 00°006 HLYNOdavO WOIHLITI ON SaA ON -SO00cOxaTO
[seutdezertyL
puy seutdezexgo ‘seutdezetq] 9O0O0TNYLTT GOOTOHATT
TezTTTqeis poo Bu 00°007 BLVAWNNA ANIGVILHNO ON SHA SHA -GSOOCAONEZ -SOO0ZCAONOE dL5S 10 STOSZTO
NOITLYOICNI asod [NOLLYOISJISSVIO NOILYOICEN] qa TO dwoldd aLvd dOLs HLYd dos aLvVd dOls LNENLYYaL ddoo
Waal OITHHNAS NOILYOICGHN NANWL NOILVYOICHW -HLVd LAVLS -dLvd LAVLs -aLlvd Lavls Loarans
NOILWOICHN dHZIWOGNVaA ‘THadv1 Nado

GTTT JO T8T abed

SUOTIEO TPA

6-OT° 2°21 Butasty

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ecrl

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[sotqoyoAsdt uy] SOOZAYWET
I azetodta Su 00°0OT a lIOzvddIdlyy ON SaA SaA -SOOCAYWET
uoTSss Twat
[Ing AqTrzee [eouspuedeq
ut Aouepusdep SUTIOOTN UI pesn sbn2zq] 9OOZAYWOT
SUTIOOTN Su 00°0OT NISHaY ANILOOIN SHA SHA SaA -GOOCAYNGO
[seatqeatszeq prow Aqje,] SOOCAVNSZ
I azetodta 6wu o0°005z WOIGOSIWHS HLVOUdTVA ON DaA SoA -SOO0CTAAVLT
[sotqoyoAsdt quy] SOOCAYWNET
I azeTodtg Bu 90°ST aH 1IOZVadIdIavy ON ON SHA -SO0O0cadVTO
[seutdezetyL
puy seutdezexo ‘seutdezeta) 4HONTLNOS 900cadvOT SOOCAONEO
I azetodtg Bw 00°009 HLVYWWOA ANIGVILHYNO SHA SHA SaA -MNN -SOOZAONTO -SOOZAVW8T TWA / WId TOOLZTON
[SSATIeATAeQ SsuEAUeXoTYL]) 9007TDNVSO
stsoyodsd Bu 00°02 HNAXILOIL ON SHA ON -S900cCNNI8C
[SseutTdezeryuL
stsoyoksd puy seutdezexo ‘seutdezetq] SO0O0CTNYLET
eatsseideq Bu 00°00€ ELVYWNOA ANIGVILHNG ON ON SaA -900CNYCLT
[seutdezertyL
stsoyodsd puy seutdezexg ‘seutdezetq] S9007ZNYL6T
aatsseitdaq Bu 90°s HNIdVZNVIO ON ON Sada -900CNYD9T
[seutdezetyuL
stsoyoksd puy seutdezexg ‘soutdezetq] S00CNYLALT
eat sseideq Bw 00°002 ALVaWWOA ANIdVILHYNO ON ON SHA -S900CNYIOST
[seutdezetyL
stsoyodAsd puy seutdezexo ‘seutdezeta] S900ZNWL9T
eatsseideq Su 00°0OT HNIdYZNVIO ON ON SaA -S900CNYI CT
[stoqTqtTyUl eyeqdney
UTUOIOISS SATIOSTSS] 900CNYI VC 900cINrg90
uoyT sseideq Bu 00°02 HQAITYOTHIOUCAH HNILYXONTA ON Sax SHA -GO0O0ZOHd82z -900CNYL6T dLlO 10 02Z0GSZT0
NOLLYOICNI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO ZeT abed

SUOTIEO TPA

6-OT° 2°21 Butasty

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Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 3 of 90 PagelD 85589

veri

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[seatqeatszeq prow Aqje4] 900CNVC9C
I azejtodtg 5w 00°00s5T WOICOSIWHS HLVOUdTVA SHA ON ON -900CNYPSO
[s6nad
peqeley esutdezetpozueg] SOOCOHATE
eTuMmosut Bu 00°02 NOIdETVZ SaA ON ON -S00cOxHa9T
[s6naq
peqelea eutdezetpozuag] SOOcTONaST
eTuMosut Bu o0°OT HLVaLavVL WHOIdIOZ SHA ON ON -S00cOxea90
[S®ATIVATA9G sUTdEzeTpozuEg] 900ZAYWOT
AqeTXUY Bu 00°2 WYdaZVaO1l SHA ON ON -SO0O0CAONSO
[SseaTIeatieqd ptow Aqqea] 900ZN¥L7O
I aetodta 6w 00°0SLT WOIGOSIWHS ALVOUdTVA SaA ON ON -S0O0CAONSO
[s6naq
peqeley eutdezetpozueg] SOOTLOOLT
eTUWOSUTL Bu o0°OT HLVaLavVL WHACIdIOZ ON SHA ON -S00CL5S0L0
[squeby
butzedg-untssejog 1830] SoozINrEeTt
euepa Bu 00°SLE HNSdALNVIUML ON SaA ON -soociInrso
[s6n2q
pe qeley eutdezetpozueg] soozInrét
eTUMWOSUT Bu 00°0OT HLVaLavL WHACIdIOZ ON Sada ON -soociIneso
[S®aATIwATAGG PToOW oOfuOTdord] soozinrso
euepa n° na NadO0uddndI ON SaA ON -soocInrrvo
[SeaTqeATIeq suTdezetpozuag] SOOZDNYST
AqeTxuy Bu 00°t WYdHZVaoOl ON SaA ON -SOOcNNCTO
[seat eatszeq ptow Aqjeg] SOOCAONYO
I azetTodtq 6w 00°000z WOICGOSIWHS HLVYOUdIVA ON SaA ON -GOOCAVNO
[so tqoyoAsdt uy] SOOCAYW9T 900cCadYOT SOOCAONEO
I azetodta Bu oo°s HIOZVadIidlay ON SHA ON -SOOZAWNOZ -SOOZAON?O -SOOZAVW8T TWA / W1d TOOLZTOU
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

GTTT JO €8T abed

SUOTIEO TPA

6-OT° 2°21 Butasty

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g9zxdoy

SP FET? LOOcCHYNZO

Scrl

ses’ ooTpew

AST 600TZOZTTI/F13/3nd3ano /ds/9ZT00°L 77 TP/Tenbotes /pord/aiso/

[SzoqTqtTyUT dung uojo7g] 900CdHS7C
SNTFet PTOW Bu 00°07 HIOZVAdHNO SHA ON ON -900ZNNOrZ0
[SuOTIeUT QUOD
pexty ‘sueborz.sy
puy sueboqysebord] 900ZONVEO
earqdesezquoa TezO Bu oo-€ SNONSYIdSOUd SA ON ON - 9007HdTZ0
(un tyatT] 90072dHS¥Z
T zetodtga bw oo°00zT WOIHLII SHA ON ON -900TAWNOE
(wn tyatT] 900ZUWN6E
T zetodt@ bw o0°008T WOIHLII SHA ON ON - 9007TAYWNBT
[SSPT[or0ep] 900THWWIEO
eT uowuneud Bw 00°0S2 NIOAWOMHLIZY SHA ON ON -9007dEH4A8z
(wn tyatT] 900TAYNLT
T zeTodtg Bu 00°006 WAIHLII SHA SHA ON -SOO0cdHS60
[Sept TOrOeW] 900CHHALT 9007ONVSZ SO00ZONdrO
eTuowuneudg Bu 00°00S NIOAWOUMHLIZY SHA ON ON -9007GH4Lz2 -S00ZDRaSO -Sso0zdHS60 IT / dLO yOOLZTOR
[seatqeatszeq prow Aqje,] SOO0¢cdHS6¢c
I azejTodtg bw 00°000T WOITCOSIWHS ALVYONdTVA ON SaA ON -soozcToarso
[S@aATIeATAeGq SeUTdEezeTpozuEg] soozinroz
I azejtodtg Bu 00°2 WYd4dZVaOT ON Sada SHA -soocnnroe
[Seat JeAtieq suTdezetpozueg]) SOOZdHS6Z SOOcONWOE
I aetodtg Bu os'o WYddZVaOT ON Sada ON -soocTart2 -soozInrso dL5 IO €00L7T08
[SEaATAeATAeq suoueYydozAqng] 9007udv60
qusAs Poop n° A GLVONVOEd IOCISHdOTVH SaA ON ON -9007AdY60
[seatqeatieq prtoy Aq jeg] 9007TAYWOT 9007cadVOT SOOTAONEO
I azejtodtq Sw 00°0SLT WOICOSIWHS HALVONdTVA SHA ON ON -9OO07ZNYPLZ -SOOZAONYO -SOOZAYWST TWA / WId TOOLZTON
NOILVOICNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO Worldd HLYd dOLs HLvd dos aLvV¢d dOLS LINSWLVauL adoo
WHEL OI1WESNHD NOILYOICGEN NHNWL NOILVOICGHN -HL1Vd LYVLS -aLVd LYVLS -alvd Laws Loarans
NOILWOIGSN CHZINOGNVa THavl Nado

GTTT JO ¥8T abed

SUOTIEO TPA

6-OT° 2°21 Butasty

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9TrI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[SSATIeATAEQ PToy otTuctdoz¢g] 900CNVL9Z
uted oTATed Bu 00°002 NH4AOudnsaI ON SaA SEA -SOOZAONZT
[seatqeatsieq proy Aqje4] AONILNOD 9007TONT7TZ 900CNNLG6T
T azetodta bw oo°00st WOIGOSIWES HZLVONdTVA SHA SHA SaA -MNQ -900ZNNrOZ -SOOZOHGET T¥A / 415 900L7T0R
[suo tqjeredaerzg
UTWEATA UTeTA 79430]
ssoT qaybtem gery oo°t ANIHLHYINYd ON SaA ON
[sutTweqt A] 900CAWNTE
uoTjesseo buTyous gey 00° T SuTWeITA ON SaA ON - 900TAWNPT
[seatqeatszeq prow Aq3e,] 9OO0TAVINITT
T azetodta bw oo-oset WOIGOSIWES HZLVONdTVA SHA SHA ON -9007TAWNEO
uted [SSATIPATIEQ PToy oTucTdozg] 900ZAYWNTT
gyno azOReIOA AFOT n° a NH40udndI SadA SaaA ON - 9007AWNTO
uted [SPTOTENTY wntdo TerznjeNn] S9007CNWLTZ
gyno szoOReIOA AFST n° a GFLVaALAVLIG ANOGOSONCAH ON SaA ON -900CNWL0G
[seatqeatszeq prow Aqje,] 9007AVNZO
T aetodta Sw 00°00ST WOIGOSIWES BLVONdTVA ON SaA ON -9007NVCOT
[seatqeatszeq prow Aqje,] 900CNV¥C60
T azeTodt@ 6w 00°000T WOIGOSIWES HLVONdTVA ON SaA SHA -SO0O0¢CdHSCT
[seutdezetyL
puy seutdezexo ‘seutdezetq]) SOOCLDOET 900cadvTT 900TAWNEZ
T zejTodtg Sw 0070S SLVUVWAA SNIGVILANO ON ON SHA -SOOZTdHSZT -900ZHYNOE -SO00ZLOOET TWA / VW1d G00LZTON
[suoTAeUTqMoD
pexta ‘sueborz1sy
puy sueboqseborg] 9007dESEZ
poszjues YAtta ger 00° T TIONVALSHW SHA ON ON -9007DNVE0
[sptoTexty wntdo TeanjeN] 900TDNVTT 900cTDNVST s00¢c048dr0
seTzeao uo ashD Bu oo°00s GHLVaALAWLIG ANOGOSONCAH SHA ON ON -900ZDNWe0 -S00ZDEdSO -SO0zdHS60 ITI / dLO vOOLZTOR
NOILYOICNI gsod [NOILVOISISSVIO NOILVOICHW)] du TO wordd aLvd dOLs HLvd dos aivd dOLS INSWLVaaL adoo
WHHL OI1HMENHD NOILYWOICEWN NHMVWL NOILWOICHW -aLVd LYVLS -aLVd LYvls -alvd Laws Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO G8T abed

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Levi

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[uTzedeH *TOXY STOITQTYUI

uot OAS FUT uotiebesbby  eTe1eTa] AONILNOO 9007DNVTZ
TetpresoAw 4s0g Bu 00°SZE dGIOV OTTIAOITVSIALHOY ON SHA SHA -YNA -SOO0COHCOE dLO IO B800L7T0R
(wntYat Tt) SOOCOHATE SOOCOHATE
T aeTodta Su 00°006 WOIHLII ON SaA ON -S00cOxed6c -S00cOHedE6c dlS 10 LOOLZTOe
[SPTOo2TIA0D0NNTS] 9007TONYTET
eussdydua /qddod Bu 90°09 HNOSINGHad SHA ON ON -900cDNYVLT
[STOVTQLYUT
aseqjonpey eoD Bug] 9007dHSTZ
Tote ss TOUD Bu 90°02 NILVLISVAOT SHA oaA ON -9007TAYWST
GRA FAEBes
puy sotjoudAy 298430] 900ZAVWNOZ
eTuMosut Bu 00°Sz HNINVACAHNAYHdIG ON SaA ON - 900CAYWI8O
[seseostq Aematw 21SsqoO 10g
sbniq teu 0/sotTbrzsueazpy] 90072dHSTZ
eusesdAydue/pdop syynd 00°38 HQIWOUd WOIdONLVAdI SHA SHA ON -900THdYEO
[seseestq Aematy 24SqoO 104g
sBniqd 19eUI0/soTbreuerpy] 9007d4ESTZ
euesdydue/pdop szynd 00°z HLVYNOIdOdd ANOSWOILNIA SHA SHA ON -900caAYWCO
[SSaATIeAT Taq sutTdezetpozuag] 9007dHSTZ
Ssyoeqqe cTued Bu o0°% WYdHZVaO1T SHA SHA ON -S007TOHdOT
[sastuoby
to dessrz0uezpy- Z- e348
SATIOaTAaS]
euesdhydue/pdop syynd 00°38 TOWZLNGIYS ON SHA SHA
[soTbasut Toyota auy) 900cadTcO
euesdydue/pdop szynd 00°z ACIWOUd WOIGOULWVYdI ON SHA SHA -SOOZAONZT
[seutdezertyL
puy seutdezexg ‘seutdezetq] 900CHHA60 900cCONVTT SO0O0CNOC6T
T azejTodta Bu o00°009 ELVaVWOdA ANIGVILENO ON SHA SHA -SOOZAONZT -900ZNNr0Z -S00ZDHCET TWA / dLO 900LZTOR
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO 98T abed

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Scr

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[SeATIeATASd ptoy Aaqeg] 9007THdTLE
T azeqTodta Sw 00°00SsT WNIGOSIWHS HLVONdTVA ON SHA SHA -S0O0ZONATT
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOZOHGOE
T aeqTodta 6w oo-o0E RLVEVWAA ANIGVILENO ON ON SHA -GOOZOEAZT
aefe qy6ts
‘UOTSNTO0O UTSA [squeby Butyootg eqeg]
Teutqer TerqwWESED Tw OO°ST ALVATWA IOIOWIL ON SHA SHA
soueTeg aQATOAWOSeTY
eseestp eyuL butaceygy suotantos
Azeqze Areucr0D Bu 00°07 HQINOTHD WOIGOS ON SHA SHA
[Sto a tqtyuy
eT eseqjonpsy eoD Buy]
weTo1eqse [Toyo1edAH Bu o0°OT WONIDIWO NILWLISVANSON ON SHA SHA
[SPATISATI0Q
esesstp PUY PTOY OTUTIOOTN]
Azeqrze Axeuot0opD Su 00°0002 GIOW OINILOOIN ON SHA SHA
[UTe Td ‘sastucbequy
TI utsueq.otTbuy]
uotsueqzsdAH = Bw s«00* 00T WOISSVLOd NWLUVSOI ON SHA SHA
eke 46s
‘UOTSNTO0O UTSA [senboTeuy utpueTbejsorg]
Teutqer TerqwWESED Tw oo°Ssz LSOMdONVLVYI ON SHA SHA
esesstp [UTeTd ‘septweuojzt{ns]
Azeqze Areucz0p Bu 00°07 HQIWHSOUNA ON SHA SHA
eke qy6ts [S203 TQ TYUL
‘UOTSNTO0O UTaA aseapAyuy OTUOqreD]
TeutTqea TerqUED Tw 00°OT HCIYOTHOONGAH ACIWNVIOZHOd ON SHA SHA
esesstp [S®ePTSOOATD STTeITP Ta]
Azeyze Areucrz0D Bu €T"o NIXODIGd ON SHA SHA
[ssoueqsdns perAeTea Puy
soy SSATICATI9C prow OTIe0¥"]
aqyhts ‘statzyazy =u 00° 0ST WOIGOS OVNHAOIOId ON SHA SHA
[sausby
butyooltd eqeq puy eydty]
wot sueqredéy Bu 90°05 TOTIGHANVOD ON SHA SHA
aks qybts [Adezeyz, eBwoone [TD
‘UOTSNTODO UTSA UI sot JewtTMoYyjedwds] HONILNOO 9007ONVTZ
Teutqer TerqWED Tw 00°OT HIVULYYL ANIGINOWINYG ON SHA SHA -¥INOA -SOO0ZOHAOE dL 10 800LZT08
NOILWOIGNI gsoqd [NOILVOIAJISSVIO NOILWOICHW] du TO ¥WOINd ALVd dOLS 4LVd dOLS 4LVd dOLS INSWLVIUL aaoo
WHHL OINENHD NOLLVOIGHW NSNVL NOILWOIGHN -HLVd LYWLS -HLVd LUVLS -HLVd LYWLs Loarans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTTT JO LET abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
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6crl

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[seatqeatszeq prow Aqje4] 900CAVNLT
Zepiostp azetodtq Sw 00*000T WONIGOSIWHS HLVONdTVA SHA SHA ON -SOOcNNPs8O
[squeby
buyAJTPOW PATI zeyI0O]
SouUeUSAUTeW YITeOH gery 00°. TIO HSId ON Sada SaA
([UTeTd ‘*xeTdwod-q uTweqATA]
SoueuSeqUTeW YITeSH ge. 00°T HLYNAHLOLNYd WOISDTZO ON Sada Sada
[SSATITppy UOTIANTOS “A‘*TI] SOOcNNrOE
SsoueueqUuTew YITePSH gel 00°T SON SCIOV ONIWY ON Sada SHA -GOOCAYN80
[SAT IOSTES
‘squeby SutyooTa eed] SOOCNNLOE 900 CAYWN97 900¢dH46T
uot sueqredéy Bu 90°05 TIOIONHLY ON SaA SaA -SOO7THWWLZ -9007EHAOZ -SOOZNNr8O TWA / dLO To06zT0u
[SeATIeATASq ptoy Aqqeg] 9007dxHS0Z
T aetodtg 6wu oo*000z WNIGOSIWHS HLYONdTVA ON Sada ON -900c INC SO
[SSsuoTpSuTpPTTOZetuyL]) 9007dES0Z
zebns pootq ubTH Bw 00°2 ANOZVLIIOISONd ON SHA ON -900Z7TNL'70
[SeueToutnbozont gv] 9007 INC FT
suozpuds oTaqdes Bw 00°0SL NIOVXOTAOAGTT ON Sada ON -9007c IN’ YO
[seataeataszeq ptow Aq eg] 900c INC FO
T zetTodtq Sw o0°00ST WOIGOSIWES ALVONdTYVA ON SaA ON -9007CNNC TZ
ie
wa eydsoydszedéy /e tue TexzedAy
JO Weezy 20g sBn2aq]
suoipuds otqdesg 5 00°O£ ALYNOMINS HNHAYALSATOd WHIGOS ON Sada ON
[saoueqsqns
peqelea puy sutzodsoTeydap]
euozpudAs otajdas 5 00°2 HQATHOTHOOUCAH SHWIddddo ON SaxA ON
[Sept Torey] 900ZNN’T2
euozpuds oTIdag 6u 00°00S NIOAWOMNHLIZY ON SaA ON -9007CNNC TZ
[seatqeataszsq ptow Aq eg] 900cNNrod 9007CONVTC
T azeTodta Sw 00°000z WONICGOSIWHS HLVOUdTVA ON Sax ON - 900 CHdT8z -GOO0ZOHAOE dL5S IO 800LZ2T08
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO @8T abed

SUOTIEO TPA

6-OT° 2°21 Butasty

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Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 9 of 90 PagelD 85595

Ofrl

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
Adezoeya [UTETd ‘suebor4sq
quewese Tdet orqeyquAstwses puy Terznq.eN]
SUOWIOH Bu 00°z TOIGWULSH SHA SHA SHA
(UTeTd ‘xeTdwop-q uTwe ata]
SoUeUSIUTeW YITeSH qea oot FLVNSHLOLNWd mato SHA SHA SHA
utTeTd
‘(D UTWeITA) PTOY OTqQZ00s¥Y]
SOURIEIUTeEW YUATPSH NT 00°000T GIOV OIGHOOSY SHA SHR SHR
[SPATISATI9q
uted puy ptow oTTAOTTes] AONILNOD 9007AAWEZ 9O00TAWN9T
puey Tezeqetta 6u 00°SL6 GIOW OIIADIIVSIALHOW SHA SHR SHAK -MNQ -900ZHWWLZ -SOOzZDNW80 TWA / Wld LOO06ZTOR
uted [septT Tuy]
eTosnu’seyoepesH Su 00°09g9 TOWWLHOVAVd ON SHA SHA
uted [SeATIeATAed pTow oTuoTdorzg] HONILNOD GOOZAONDT
eTosnu’seyoepesH 6wu 00°008 NHAONdNdI ON SHA SHA -MINO -S00cNOCZZ dLS IO SO0067TON
Geer FABpes
puy sotqoudAyH 7820] sooznnrsz
SAQWOTL Bu 0070S ANIWNWYUGAHNSHAIG ON ON ON -S00ZNOrsz ONISSIN POO6ZTON
[squesseizdeptquy 7°70]
pte deets Bu oo°SL HNOGOZVHL ON SHA SHA
Nad [S8ptT ty] SONTLNOO SOOZONWLT
statayqzeceiso) =—s-« B’-s«O00":005 9) TOWWLHOWAVd ON SHA SHA -yINOA -SOOZNOLST dLO IO €006Z1T04
[SSATIPATASC PToOy oTUOTdorg] HONILNOD
soyoepesH bw 00°00Fr NaAOudNdI ON ON SHA -¥INO ONISSIN ZOO06ZTON
[PAT IOSETES
‘squeby BbuTyootTa eed] 9007HdYSZ
uotsueqzsdAH = s«00* 00T TOIONSLY SHA SHA ON -900ZN¥EPPT
[SATIOSTSsS
‘squeby Sutyo0Ta ele] 9O00CNWLET 200 TAWN9T 900TEHAGT
wot sueq1sdAH Bu o0°0s TIOIONSLY ON SHA ON -SOOZLDO6Z -900Z7HHd0Z -SOOZNNPSO TWA / ALO TOO06ZTOR
NOILWOIGNI Hsod [NOIL¥VOISISSVIO NOILWOIGEW)] ca TO WOINd LWd dOLS HLvd dOLS LVd dOLS INSWLVAUL aaoo
WHHL OINENHD NOLLVOIGHW NSNVL NOILWOIGHN -HLVd LYWLS -HLVd LUVLS -HLVd LYWLs Loarans
NOILWOIGEHN CHZIWOGNVS ‘THav1 Nado

GTTT JO 681 abed

SUOTIEO TPA

6-OT° 2°21 Butasty

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Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 10 of 90 PagelD 85596

Terl

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[SeATIeATASd ptoy Aaqeg] 9007TONT8z
Zepiostp zejtodtg Su 00°009 WNIGOSIWHS ALVOUdTVA SHA SHA ON -sooconveo
[seutdezertyL
puy seutdezexo ‘seutdezetq] soozinezz
Jepiostp zetodtg Bu 00°00F BLVYWWOA ANIGWILENG ON ON SHA -VOOCNYITO
[SUTWEITA JO SUOTIeEUTqUOD] HOANTINOO 900ZDNVLZ 900CNVCLT
SsoueueqUuTeW YITesH qea oot SON SNIWWLIA SHA SHA SHA -MNN -900ZN¥WP8T -SOOZDNYEO TWA / 4l0 6006zT0E
eseestp xNTyer [sastuobequy 1t0qdeoey- zy] 900TUNNTZ
Teebeydosscrzqsep Bw 00° 0ST HNIGILINGHY SHA SHA ON -SOO0conv8T
[seatqeatszeq prow Aq3e,] 900CAHANT
Zepiostp zeTodtq 6w oo°o0sT WNICGOSIWHS HLVOUdTVA SHA SHA ON -Ssooconyvso
[Sept Ttuy]
uted 6w 00°000T TOWWLHOVAd SHA SHA Sada
[SeaTIeATAEQ plow oTuctdozg]
uted Bu 00°00z2 WNIGOS NHXOUdvVN SHA SHA SHA
[Seat Ieatszeqd pToy otuotdozag] HONTLINOS 900caHqa6T 900CNVL YC
uted Su 00°008 NH4OWdNdI SaA SHA SHA -MNN -900ZN¥rSZ -SO00ZDNW80 TWA / WId 80062104
uted [S®aATIwATAGG PToOW oOfuOTdord] S9OOTAWNEZ
puey Tess 7eT Ta Bu 00°Orr NAXOUdYN SHA SHA ON -900CAYWTO
[seaTjeatizsq ptoy Aqjeg] S00CAYWIES
Zeprostp aetodt@ Sw oo0°005z WNICGOSIWHS ALVOUdTIVA SHA SHA ON -s00coNY8O
[UTeTd ‘sutwejtATtjrnyl)
SoURUSIUTeW YITeOH geya 00°. SON SNINVLIA SYA SHA SHA
[STPISUTIW YITM SUTWeQTA]
SoueuvSsjUTewW YATCSH ge oot SON dC NINVLIIA SHA SHA SaA
[SepTtT Tuy]
soyorpeey suTeZB TH N' ON TOWWLHOWUVd SHA SHA SHA
[SeptT Tuy]
ssyoepesH 6 00°000T TOWNWLHOVad SHA SHA SHA
[SeaT}eAtTszeq ptoy otuotdozg] HONTLNOS 900CHdVET 900CAVN9T
SoupepeoH Su 00°008 NH4OuedndI SHA SHA SHA -MINQ -900Z4UWWLZ -SOO0zDNW80 TWA / W1d LO06ZTOR
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[s6nad
pe qetey eutdezetpozueg]

pre deets Bw 00°OT HLVaLavVL WHOIdIOZ ON ON ON
[SeATIeATASd ptoy Aqaqegd] HANT INOS
Zepiostp azetodtq S5w 00°000T WNICGOSIWAS HLVOUdTIVA ON ON ON -gooclInrgd
[sotadeTtdetquy 281740] SONILNOD
pre deets SPL 00°C HLYWVaIdOL ON ON ON ->aINN ONISSIWN CTO67cTON
[SUTWEITA JO SUCTIeEUTQWOD]
SoueUvSqUTeW UATeCSH ge. 00°T SON SNIWVLIA ON Sada Sada
[SUTWEITA JO SUOCTIEUTCWOD]) HANTINOD SOO7cONYTT?
SoueuS IUTeW YATeSH ger 00°T SON SNIWVLIA ON Sada SHA -¢MNN -GO00cONY80 dLO IO TT06zZT0a
[seatqeatszeq prow Aqje,] 900CNVC9T
Zepiostp azetodtg Bw 007005 WNIGOSIWHS HLVOUGTIVA SHA SHA ON -GOOTAONLO
[seatqeatTszeq prow Aqje,] SOOCAON90
Jepiostp zeTodtg 6w 00°000T WOIGOSIWES ALVONdTYVA ON SaA ON -S00Z2L0050
[seatqeatszeq ptoy Aqjeg] SO0Z.LOOVO
Jepizostp azertodta Bu 00°OSL WNICGOSIWHS HLVOUdTVA ON SaxA SHA -GOd0coNnvZTO
[seutdezetyuL
puy seutdezexo ‘sautdezetq] soozonvLo
zejtodta Bw 00°00T HLVYWWNA ANIGVILHYNS ON ON SaA -goocIneyto
[S@aATIeATAMG pPToy otucotdozg]
uted Bw o0°0SSs WNIGOS NHXOWdYN SHA SaA Sada
[seucowz0H ptToxrAyL]
ustptotAyjodéH =6ow 00° 00T WOIGOS BNIXOWAHLOATI SHA SHA SHA
[Seat eatszed pToy ofuotdoza] HANTINOD 900 CNYETT 900c¢NYVITO
uted Bw 00°009 NHAOUGNAI SaA SHA SaA -MNQ -900ZN¥rzZO -S00zDNVSO TWA / VWId 01062108
[SeaTzeatseq ptoy otuotdozg] 9007TdHS9C 900TONYLTE 9O00CNYVCLT
Soyoepesy vuoTsuaL Bw 00°008 NHAOWdNaI Sax ON ON -900ZNOrZ40 -900ZNYrsT -SOOZDNWEO TWA / dLO 60062T04
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO T6T abed
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g9ozxdoy «6ShIET'LOOTHWNZO «=SeS*OOTPeW IST 600TZOZTT/3TI9/3ndano/ds/9ZT000LtFIp/ Tenbores /pord/easo/
[seaTaeatszeq ptoy Aaqeg] 9O00TONVET
Jepzostp azetodtq Bw 00°0SZT WNIGOSIWHS HLVYONdCTVA SHA SHA SHA -SsoocoNnTzz
uted uid [seatqeatzeq ptoy otuotdozg] HONILINOD 900ZNNr8zZ 9007AYWWOE
STIATAYATeOS TsO Bu 00°0zz2 WNIdOS NHYXONdYN SHA SHA SHA -MNQ -900ZAWNTE€ -SOOzDNW6Z TWA / GLO 9T067TOR
[squesseideptquy 7281740]
eTuMosut Bu 90°92 HQCIHOTHOONCAH HNOGOZVaL ON SaA SaA
[Sauouz0H PTOTAYL]
ustptotAyjodAH outer 00°T GIOMAHL ON SHA SHA
[sastuoby
To ydesar0uerpy- Z- ee
BATIOSTSES]
eBwyASsy n° an TIOWZLOGTYS ON Saaz SHA
[sastuobequy
Zojdesey suetrzjoyneT]
BUY ASy Bu 90°OT LSVINIZLINOW ON Sada SHA
[seseestq Aematy 298qo 104g
sbniq 29u10/soTbzsuezpy]
Cu ASYy Bu 00°02 HLYNOIdOdd ANOSVOILNTIA ON Sada SHA
Adezoeyy [UTETd ‘suebor4sy
quewese Tdet oTqeyquAstTwesg puy Tern AeN]
SuoWUrOH Bu ¢9°0 GeLVORCNOD SNHSOULSH ON Sada SHA
[szoatqtTyul dung uojorg] 4HONILNOS S00cdHs90
pts Bu 00°07 WANISHNOWN SHTIOZWAdHWOSH ON SaA SHA ANA -sodoconvec dLO IO STO6zTOR
( uted yoeq
MOT ‘Soloepesy) [SepTTtuy]
uteg 6w o0°o00T TNIOWZLAOVWUvd ON SaA SHA
( uted yoreq
MOT? SSTDEPPST [SSaATIeAT Taq pricw otuotdozg] SHONTLNOD soozonvcz
6 uted Bu 00°008 NHAOuadNaI ON Sada SHA AINA -SsO00cdaNVOT dLD IO €lO6zTOe
[sotqydeTousdsq
YITM UO TIeEUTQWUOD
ul squesserdeptquy] HONILNOD
Jepiostp rzetodta Bu 00°9 HNIdVZNYIO ON ON ON -SsoocdanTeo ONISSIN 2TO672TOW
NOITLYOICNI HS50da [NOLLYOISJISSVIO NOILYOICEN] qa TO dwoldd aLvd dOLs HLYd dos aLvVd dOls LNENLYYaL ddoo

WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO Z6T abed
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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
uted dty/ urd [S®ptTtuy] HONILNOO 9007EHABT
TepTnoys’seysepesH 6w 00°000T TOWWLEOVEVd ON SHA SHA -¥INA -S00ZLO0ZT dL3 IO ZZ06Z104
[sbnad
peqetey sutdezetpozueg]
eTuUWOSsUT Bu 00°0T FLVALYWL WHOIdIOZ ON ON ON
[squesseideptquy 781740]
uotsseadeq Su 00°00€ ACIYOTHOONGAH HNIXVAVINAA ON ON SHA
[eouspusdsaq
SUTIOOTIN UI pesg s6naq] HONILNOD
uotsseideq qe. oo°t HCINOTHOOUGAH NOTGONANA ON ON SHA -¥INO OQNISSIN TZ06Z108
[SOATIPATI9q
Bu puy Pptow OT TAT Tes] HONILNOO SOOZAONEZ
seyoepesH urd 00°SL6 GIOV OIIAOIIVSIALUOW ON SHR SHR -¥INA -S00ZE4HS9Z dL 10 0Z06ZT04
[S20ITQTYUL exyeadney
SUTWPOUOW SATIOSTSS-uUoN] SO0¢cdHScl
uot sssideq 6w 00°O£ HACAIMOTHOONCGAH HNITALGIMLINY ON ON SHA -YINA
[seucTozerzAq]
seyoepesy snuts oa TOWWLHDVAVd ON SHA SHA
[Sa0qTQTYyUL eHeqdnsey
UTUOIOASS§ SATIOSTES] HONILNOD SOOZdHSTZZ
uotsseadeq Bu 00°08 ACIYOINOOUGAH SNILEXONIA ON SHA SHA -MINO -S00Z4HS6T dL IO 6T06ZT0H
[seataeatszeq ptow Aq3e¢g] SONILNOO G00ZAONLO
azetodta Su o0°00T WOIGOSIWHS HLVOUdIVA ON SHA SHA -yINN -S00Z4HSL0 dLO IO 8T06zT0a
[SeptT Tuy] HONILNOD GOOzaHS90
seyoepesHyH a 4 TOWWLHOWEWd ON SHA SHA -¥INO -S00ZONYTE dLS IO LTO6ZT0ON
[SUTWEITA JO SUOTIeUTqUOD]) 900zcInrsz 3200ZNNr8z 9OO0TAWNWOE
soueUueUTeW YIATeSH qe. oo°t SON SNIWWLIA SHA ON ON  -900ZNOPOT -900ZKYNTE -SOOZDNW6Z TWA / dLO 9TO6ZTOR
NOILWOIGNI Hsod [NOIL¥VOISISSVIO NOILWOIGEW)] ca TO WOINd LWd dOLS HLvd dOLS LVd dOLS INSWLVAUL aaoo

WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

Loarans

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO €6T abed
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 14 of 90 PageID 85600

serl

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[Ssastucbequy
tojdaesey suetrzjo0yNeET] HONILNOOS SOO0ZAONG60
seThreT tw ge 00°T LSVINIZLINOW ON SaA SaA INO -SOO07TLOOTE dLO 10 9Z067T0OR

[SUTTT TOTUSd
PATITSUag Ssseweqoey-eqeg]
UOTASOSIUT WOISS SOOTAONSZ
Tetow zeddn qybry Bu 00°00S WLOd NITTIOINHdIAHLHWAXONSHd ON ON ON - SOOZAON8T

Bu [SepTTtuy]

seyoepesH urd 00°099 TOWZLHOVaAd ON Sada Sada
[SSaTIeATAEQ prey oTuctdozg]

SeuoepeoH Su 00°008 NH4AOudNaI ON Sada SHA
[SUOTIEUTQuoD
pextg ‘sue6o7 sq
puy sueBoqseborg]

Tosz4ueo. YAstTa ge 00°T THALSHO0Sad ON Sada SHA
[SOATIPATIOC
puy ptoy otTAotTes] HONILNOOS SOO0ZAONTO
SeyoepescH Su 00°059 CIOW OITAOLIIVSTIALYOY ON SaA SHA --aINN -GO0O07LOOPZ dL IO SZ06721T08
[seaTleatiseqd prow Aqqeg] 900cONTOe 900ZINITE 900cTINI9IT
aeptodtg Bu 00°04 WNIGOSIWHS ALYOUdTIVA SHA SHA SHA -GOOZLOOEO -900ZTINFLT -S00ZLO0TZ TWA / W1d FZ06ZT0R
[szoqtqTyUr dumq uo jos4] SOOZAON8Z
etsdedséq Bu 00°02 HIOZWAdaNO ON ON ON  -SOOZAONZO
Nad
suoodseay [spunoduop wntoTed] SOOZAON8Z
etsdedsiq 00°? HLYNOddvO WOIOTYO ON Sada ON -SO007.LO0Se
[SToVeTTposean
Teseydtzeg 18440]
SoUreUS UTeEW YITPSH Bu 00° 00T WdOTId OSMNID ON ON SHA
[squesseadeptquy 29430] SOOT LOOCOT SO007TLOO6C
SOURTISIUTeW UATeSH Bu o0°0s squesseideptauy zey20 ON ON SHA --INO -SOO0ZLO0LT dL5 10 €Z06ZT0
NOITLYOICNI asod [NOLLYOISJISSVIO NOILYOICEN] qa TO dwoldd aLvd dOLs HLYd dos aLvVd dOls LNENLYYaL ddoo
Waal OITHHNAS NOILYOICGHN NANWL NOILVYOICHW -HLVd LAVLS -dLvd LAVLs -aLlvd Lavls Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO ¥6T abed

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uoTqeqtTby

SOUPCUSIUTeCEW YATeCSH

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Bu og°0
sqel 00°?

Bu o0°0s

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[sotida,tdatquy 7zayI0]
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[S@pTT Tuy]
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[SSATICATASC PTow OTuoTdorg]

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[SSATICATASG PToW OTUoCTdorg]

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Jog seuTweqAsTYytTAuy TeYI0)
HCTYOTHOOUCAH ANIGVNaAAOxda

[eouspusdseq

SUTIOOIN UI pesn s6n2zq]

NOTdoOddna

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[SUTWEIATA JO SUOTIeEUTqUOD]

SON SNIWVLIIA

[SPATIeATAGG suTdEzeTpozuEg]

WWIOZWad TY
[spToy outwy]
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[Sa0qTqtTYyUl ayeqdney

SUTWEOUCW SATIOSTES-uUoN]

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- GOOZAON8Z dio TO

900ZCNYVLOT

- GOOTAONTZ dL 10

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900CNNLLE
-SOOZAONZO TWA / dl

SOOZTAONE6O

-GOOZISOTE di5 10

“600TZOZTTI/3123/3ndano /ds/97T00°L rr TP/ Tenbozes /pord/aiso/

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O£06cCTOW

6z06CT0H

Bc06cTON

L206cCT04

9Z06cCT0H

NOT LYWO TANI

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[NOILYOIAISSVIO NOILYOIGIN]
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aLvVa dOLs
NOILYOICSN

-HLVd LAvLs

aLV¥0 dOLs LNAWLVaaL
-aLVd LAWS
THav1 NadoO

qdadod
Loarans

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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[SSATQPATASEQ TOUT
wtidoy .eutal/septweuojstns

JO quod]
STATyouerg n° HIOZVXOHLANVATOS ON ON ON
[SPTOOTI1OD.0NNTHN] 9007HdVEZ
STaTyouerg n° HNOSINGHaYd ON ON ON -900cHdYEc
[SPTOTeXTY wntdo TeznjeN] 900ZAYNSO
yBnop Sqey 00°C HLVaLaVLId ANOGOODONTAH ON ON ON -900TAdVLT
[SSPT[or0ep] 900cadVvS7c
sqtatycuorzq Sw 00°009T NIOAWOWHLANH ON ON ON -9007HdYLT
[sastuoSy
rojdaser0uerpy-7-e19g
BATIOSTSS] HANILNOD
ybnoa =szgnd 00°z TIOWZLNATYS ON ON ON -9007HdYLT
[S®aATIeATAEG PToOY otTuctdozg]
SeuoepeoH Bu 00°00% NH4AOudNaI ON SaxA SHA
[SOATQIPATIOG
puy prow OTTAOT Tes] SANTINO 900CNWLOE
seyoepesH 6wu 00°000T CIOW OITAOITIVSTIALYOY ON Sada Sada -¢INN - 900CNVI9T dLO IO 9f062T0R
[seatqeatszeq prow Aqje,] 900CAYNTO
Jepizostp zejTodtg Sw 00° 000T WOIGOSIWES HALVONdTVA SHA SHA ON -S00cOagdSO
[S©ptTtuy]
SeuoepeoH Bu 00°059 TOWZLYOVavd SHA Saaz SHA
[SuoT AeUTqUOD
pexta ‘sueborzqsy
puy sueBoqseborg]
Toszques YATE ge 0o°T ALYWLLSHDYON SHA SHA SaA
[SSATIPATASC PToOy oOTUOTdoIg] HANILNOD 900ZHdY8z 9007cHdV60
SSUCePeoH Bw 00°008 NHAOUGNAI SaA SHA SaA -MNQ -900ZHdvVOT -S00ZDHaSO TWA / W1d €£0621T0H
[S@aTIeATAEG PToY otTucTtdozg] AONILNOD
SSUSePeoH 0 NHAOudNaI ON ON SHA --INN ONISSIW Ze06zTOd
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod

WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

Loarans

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO 96T abed
8erl

CONFIDENTIAL
AZSER12771569

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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[sazeyuaq TAHTeouTwyY] HANTLINOD
eTuUWOSsUT qe. oo°t HLYNIOONS ANIWWIAXOG ON ON SHA -¥INA OQNISSIN TVO6ZTOa
[SEPT TOLeW] 9007ds84d eT
stitenuts sqnoy 6u 00°09z NIOAWOMHLIZY ON SHA ON -900Z8H480
[seataeatszeq ptow Aq3jeg] 900ZHDNYOE
Zeprostp aetodt@ 6wu 00°00S5T WOIGOSIWHS HLVOWdIVA SHA SHA ON -900ZN¥LEZ
[Sept TOsoen] 900CEHHALO
stqtsnuts eqnoy 6w 00°00S5 NIOAWONHLIZY ON SHA ON -900Z7EHALO
(SSloepesy
‘zepTnoeus [SSATIPATASC PToOy oTUCTdorg]
‘yoeq ‘yoeu) utTeqd Su oo°oss WOIdOS NHXOWdVN SHA SHA SHA
(SelDepeey
‘aepTnoys [Seat Ieatszeqd pTow otuotdorzg] SONILNOO J00ZDNVYOE 900ZNNLLZ
‘yoeq ‘yoeu) uted Sw 00-007 NHAOWGNGI SHA SHA SHA -MNQ -900ZNOr8z -900ZNWLET TWA / 4LO OVO6TTOR
[SUTWEITA JO SUOTISUTAUOD])
soueueqUTeW YITeSH qea oo°t SON SNINWLIA ON SHA SHA
(UTE Td ‘s204TQTYyUlL 20]
uot sueqzsedAH Bu oo°o€ TIYGONISTI ON SHA SHAK
[Sptoze49-uoN‘ squeby
OTIeCUNSA TAUY /WeTIJUTTIUYy
ret40]
SoUeUSUTeW YITeSH qed oo°t HNINYSOONID ON SHA SHA
[wntoTed]
eoueuequtTew YATeSsH bu 00°009 WOIDTYO ON SHA SHA
[utzedeyH “[OoXy sAOTQTYyUl
uotaebesbby 38 T83eTd] HONTLNOO 90078440
SoUueUSUTeW YITeSH Su 00°18 GIOV OIIAOIIVSIALHOY ON SHA SHA -INA - 90078HATO dLS 10 6€067T0N
[SUOTIeEUT QUOD
pexta ‘suehor sq
puy suebo jsebo74] HONILNOO 90078H4L0
jTozquoes yAItTa qe. oo°t HNOWBLSIHLEYON ON SHA SHA -¥INOA - 900ZN¥LSZ dL 10 8€06ZT08
NOILWOIGNI Hsod [NOIL¥VOISISSVIO NOILWOIGEW)] ca TO WOINd LWd dOLS HLvd dOLS LVd dOLS INSWLVAUL aaoo

WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

Loarans

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO L6T abed
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 18 of 90 PagelID 85604

eTpew sTITIO

eulasy

seyoepesey euterz6 TW
XNTJOI prow

soyoepesy suTerzBTIW
xXNTJet PTow

soyoepeey suTezBTW
et

UseToOre4se ToyoredAy
euyasy

eu IST

seyoepeey euterz5tW

uotTsseizdeq

uoTAeATBY

uted
dty / seyoepesy

Bu 00°OSLT

na
Bw 00°009
sygnd 00°6
Bow 00°0S

noa

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

[TOATCTYU. sseweqoey-ejeg
TOUL SUTTITotued FO squop]
NITIIOLIXONY

[sastuoby

to ydeser10uerpy- Z- e498
BATIOSTES]

TOW LNA TYS

[PATIOSTSes -UON

‘squaby butyootgd eed]
TIOTONVad Oud
[SzoqTqtTyUuT dung uojo7g]
aIOZvadyNO

[SeptTtuy]
HNFLAXHLAWOST

[seutwy AzeTqATEL
‘SPTOTeEXTY PUUOpeT Ted]
HNIWYAOSOAH
[SOATIPATIEG
aueyjeuTAusydtq]
HLVNOdNa ANTIZAXOUCAH
[seqerzqta]

TIZO8aI AWD
[SPTOoTqArzoD00NTH]
HLYNOTdOdd ANOSWOILNTA
[SPTOOTAAODOONTH]
GHIVNOIdOdd SNOSVWOILNTA
[SPTOTePNTY wntdo Tein jeN]
TWLIGTVLAd

[S20qTQTYyUL exeqdney
uTUOIOTSS aATIAOSTAas
HQTaSOTHOOUGAH ANILAXON'TA

[S@eaTIeATAeq suTdezetTpozuag]
WYdHZYNO'TIO

[SSaTIeATAeQ pPToy otuctdozg]
NaAOddNaT

6frl

ON

ON

ON
ON
ON

ON

ON
ON
ON
ON
ON

ON

ON

ON

ON

Sada

Sada
Sada
Sada

Sada

Sada
Sada
SaxA
SHA
Sada

ON

ON

ON

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

Sada

Sada

SaA
Sada
SHA

Sada

SaA
Sada
SHA
SaA
SaA

ON

ON

SHA

900CNVP ZZ
-900CNYCET

HANTINOD
->aINN

900CNYLEZ
-GO00COHATO

900CNYC ES
-S00¢LOOTO

HANTLINOD
--INN

900¢dH4L0

-900CNWIST dLO IO Zy067T0R

ONISSIW Tro6zTod

NOT LYWO TANI

asod

[NOILYOIAISSVIO NOILYOIGIN]

da

IO wold

aLvVa dOLs

WHHL OISHNED NOILYOICHW NAMWL NOILYOICHW -HLVd LAVLs

NOILYOICSN

aL¥d dOLs aLV¥0 dOLs LNAWLVaaL
-HLVG LYVLS -aLVd Laws
qeZIWOCNVa ‘THavl Naydo

qdadod
Loarans

GTTT JO 861 abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771570
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Orrl

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
(uoTbeaz oToOezr0YA
pue TePOTATED) [S®ATIVATA9G sUTdEzeTpozuEg] SoozNnr6éz
suseds yorg Bu 90°s WYdHZVId ON ON SaA -AINA
[SeATQAeATAEd suTdorAL
IQ eutdezl FO 827904 4q] SOOZdHSTO
STSTUAeay Bu 00°Z HLVIISHWN ANTdOaLvVZNdd ON SHA ON -SOO0cONV6~
[seq eucydsoydst gq]
sTso10doe ss80 Bu 00°OT CIOW OINOAAINYTY ON SHA SHA
[TOATQCTYUL SUBAL SsrtoASoy
[OXY Spt IoOSsTONN/esepTtsoeTonn] HONTLNOO S00cd4HSc0
se [butys Bu 00°00z AIAOIOIOY ON SaA Sada -AINA -soocinrgso dlS IO TOOOETOe
[SepTtTtuy]
soyoepesy uotsuaL, Sw on°o00T TOWWLHOVavd ON SHA SHA
soyoepesy/sdwero [S®aTqeATAGG pPToy oTuoTdorg]
Tens susw Bu 007007 NadOuddndI ON SaA SaA
[SUOTIeUTqUOD
pexta ‘sueborz.syq
puy suebojsebo1g]
Tor ues YATE gery 00°. THULSHDOOSHAd ON SaA Sada
[SSptTtuy] HONTLINOO SO00TAYANST
sduezo Tenrqsuen gey 00°. HNTACSWYNNIO ON SHA SHA -YNA -900cCEHHA07 dl5 IO 8706z10e
[seatqeatieg ptoy otuotdozg] SONILNOO 900ZAYN8O
uted eTosnw Su 00°008 NHAOddNaI ON SHA SBA -xNA - 9007EHAST aL5 IO Ly067T0F
[SeATIeATASq ptoy Aqqeg] 9007cODNVES
Iapiostp zeqodtg Bu 00°00% WNICGOSIWHS HLVOUdTVA SHA SHA Sada -900CNYIOE
seyoepesy [seaTIeATAeq pTow OTuUcTdozg] BONTIINOD 900Z1Nr9T  900z7TNL60
‘uted seuy Sw 00°00% NHAOUdNGI SHA SHA SHA -MND -900ZINrOT -9007EH490 TWA / Wd SPpo6zTOE
[SUTWEITA JO SUOTIJEUTQqUOD] HONILNOOS 900cCNNL90
SOUPUSIUTEW YATPSH gery oo°t SON SNINVLIA ON SHA SHA -YNA -900CNYCOE dLlO 10 €706zZT0R
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

GTTT JO 661 abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771571
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Itvl

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

(wntyatT) SOOCLOOOT
Iepiostp szeTodtg Bw 00°00€ WOIHLI'T ON SHA ON -SOO07dHS9z
(wntyaty) SOOTdHS97
Iepiostp szejTodtg Bu 00°00€ WOIHLII ON SHA ON -SOO07cdHS9z
[SeaTJeATIeq prow otuotdozg] FONTLNOO 900CHVNST
uted quter bw 00°009T NHAOudNaI ON SHA SHA UN‘ -S00cdHS9¢ dL5 IO Z000€TOH
(wnAtyatT) SOOCLOOcO
Iepriostp J azejtodtq 6w oo*00zT WOIHLI'T ON SHA ON - SOO ZONW6Z
[S@aTqeATAeq euTdozy
IQ eUuTdOAL JO szsyq4g] SOoozanvyz
eTSTuyeay Bu 00-2 GLVIISHWN ANIGOMLVZNHG ON SHA ON - Soo conws8T
(wnAtyatyT) SOOCONY re
Teprostp I azetodtq@ b&w o0°00sT WOIHLII ON SHA ON -sooconwzo
(uo Tbaz
oToOeI0UuQ pue
Teotare.) uted [S®aTIeATAGG pPToy oTuoTtTdorg] GO0ZLOOZO
yoeq pue xooNn Bu 007002 WNIdOS NHXONdYN ON SHA ON -soocToargo
(wnAtyatT) SOOZcONYTO
Teprostp J] szeTodtg Bu 00° 006 WOITHLII ON SHA ON -sooc Torso
(uo Thea
oToer10uQ pue
Teotares) uted [S@aATIeATAMG pPToy otucotdozg] soozcinrso
yoeq Pue 3jooNn Bu 00° 008 NHAOudnNaT ON ON SHA -SOOcNOrSO
[squesseizdeptquy 781740] soociInrso
eTUWOSsUyt Bu 00°05 HNOGOZVHL ON ON SHA -MINA
(uo Tbaa
otToapioyuq pue
Teotareo) uted [sptoTexty wntdo TeanjeN] SOOCNN67 SOOTdHSTO
yoeq pue YOON ger oo°T GIVALAYIIG SNOCOSONdCAH ON ON SHA -MINA -soozinr9eo dLO IO TOOO0e€TOE
NOLLIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO Worldd HLYd dOLs Hivd doLs GLV¥d dOLS LNEWLVaaL gqdoo
WHHL OLSHNSD NOLLYOICEW NEMWL NOILVWOIGHW -HIVd LAVLS -HLVd LavLS -a1Vd Laws Loarans
NOILYOICHW CeZIWOGNYA ‘Idav1I Nado

GTTT JO 002 abed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

CONFIDENTIAL
AZSER12771572
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 21 of 90 PagelD 85607

s97xdoy «GPF ET? LOOZHYNZO

[seutdezetyL
puy seutdezexg ‘seutdezetaq]

crrl

ses*QOTPeW IST 600TZOZTI/313/3ndano/ds/9ZT00°L¢PIp/Tenbotes/pord/eisa/

Oo" HLVYWWAA SNIdVILaNS ON ON ON
[SSaTIeATAaQ ploy ofTuctdozg] NO
Oo" Nad WNIdGOS NHXOudYN ON ON ON -¢MNN ONISSIW 600Z€TOF
[seutdezertyL
puy seutdezexo ‘seutdezetq] NO
Jepiostp zertodtg HLVaWWNA ANIGVILENS ON Sada ON -GoocInrs2
[Sto qtTqTyuUr dung uojo7g] NO
qdagD HIOZVYdOSNYI ON ON Sada -SOOcCINO re
[sioatqTuul dumg uoqo7g] SoozInr yz
adda Bu 00°0r WAISHNOVW HIOZVAdHNOSH ON ON SaA ->INN
[s6naq
peqeley eutdezetpozueg]
eTUMOSUT Bu 00°OT HLIVaALYVL WHOIdIOZ ON ON SHA
[seaTqeaAtseq ptow Aqqeg]
Jepiostq azeTodtg Su 00°000T WOIGOSIWES ALVONdTVA ON ON SHA
[sotqoyoAsdtquy 78740]
Zepiostp rzeTodta Su 00°78 HNOGIUHASIY ON ON SHA
[SeaTIeATAeq SsutTdozL
IQ eutdeazal FO s27ey34g]
sda Bu 00°F HLVIISHN YNIdOMLYZNHG ON ON SHA
[uot qonperg PToy OT70
Butatqtyul suotqeszedeizd] x4Nn SOOZTINCOE
qnod Bu 00°009 TIONTHNdOTTY ON ON SHA -¢NN -GOo0cINISZe dLO IO €00ZETOa
ANON ONISSIW COOOeTON
[wntyatT] 900TMWNTT
Jepiostp zejTodtq Su 00°00zT WAIHLIT ON SaA ON -S00ZL009Z
(wntyat TT] So00c.LOOSZ 9007CAYWST
Jaepiostp rzeTodta Bw 00°006 WOIHLIT ON Sax ON -SOO0ZLOOTT -GO00ZdHS9Z dLS IO ZO000e TOR
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO TOZ abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771573
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 22 of 90 PagelD 85608

errl

Gozxdoy =SPtET:LOOZTHWWIZO 6ses

“OOTpaU AST 600TZOZTT/F13/3ndano /ds/9ZT00°LtPIP/Tenbo1tes/pord/aiso/

[seutTdezeryL
puy seutdezexg ‘seutdsezetq] soozinrso
Jepzostqd azeqtodtg Bu 00° SZT HLVavVWnd ANIGVILYNS ON ON SaA -SO0O0ZAVWTO
[seat jeatseq ptow Aajed] SONILNOO GO0OZAONTT
Jepiostp azejtodtgq Sw 00°00ST WNIGOSIWHS HLVONdTVA ON SaHA SaA -Y4NO -sooz Inrgo dLO IO E00EETOR
[seutdazeryL
puy seutdezexg ‘seutdezetq] soozinrso
Jeprzostp azertodtg Bw 00°00€ ELVYWWAA ANIdVILEYNO ON ON SaA -Y4NO
. [wn tystT)
Jepzostp azejTodtg 6u 00°o0SL WOIHLIT ON SHA SHA
[ssuowz0H ptozAyy] HONTLNOS s00cOud80
ustptorAy odAy Bu eto WNIGOS HNTXOMAHLOAYT ON SaHA SaA -Y4NO -sooz Inrgo dlO IO ZOOEETOe
[SSATIeATIEq SsUTdezeTpozusg] 900ZDNVTT
Aqetxuy n° WYddZVaHOT SaA ON ON -900cCHWNE
[s6naq
pereTey eutdezetpozueg] 9007DNYTT
eTUMOSUT n° oO HLIVALAVL WHOIGIOZ SHA ON ON - 900CHWWLT
[SSuT TOAD TIAL] 900ZNVC8T
Ssuoy Bu 00° 00T HNTIOADAXKOd ON SaA ON -9007CNVOTT
[uMntyatT] 900ZDNYTT
Zepiostp azetodtq 6w 00°00zT WOITHLIT SHA SHA Sada -SOO0cUdW6~e
[seatqeatieq prow Aq jeg] SOOCHdYE 2 9007TOL ST 9007EHA8
Zepzostp zeTodtg bu n WNIGOSIWHS HLVONdTIVA ON ON Sada -SOOTHdY6Z -900TAVWTO -SOOZTNOrST IT / WId TOO€ETOe
[SeaTIeaAtTzeq prow Aqqeg]
a WOIGOSIWHS HLVOUdIYA ON on ON
[squesseideptquy teyI0] Na
n° AQTXYOTHIONGAH HNOCOZVUL ON ON ON -2NO ONISSIWN 600CETOX
NOIIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO dwoldd aLvd dOLs aivd dos aLV¥0 dOLs LNAWLVaaL qdadod
WaatL OTHHNHD NOILYOICGSW NAMVL NOIDVOICHN -SIVd LAVLS -HLVd Lavis -aLlvVd Davis Loadrans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTTT JO zOz abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771574
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 23 of 90 PagelD 85609

vrrl

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[squesseizdeptquy teyI0]

Zepiostp azetodtg Bw 00°0ST HQTAOTHOOUCAH ANIXVAVINGA ON Sada SaA
[SSATS TNdoezdt Auy]
eeysztetp oTUOTYD n° HCINVaedOT ON ON ON
[wn tystT]
Japiostp azeqtodtq bu 00°006 WOIHLII ON SHA SHA
[Seat zeatseq sutdezetpozusg] HANTLINOD SO00cLDOLZ
Jepiostp rejTodta Bu o0°T WWdHZ¥NOTO ON SHA SHA -INA -Ssoozinrgo a0 IO SOOfeTOe
[eouspusedseq
queASs poow - SUTIOOTIN UI pesn s6n2q] 9007TONVET
Jepiostp rzeTodta Bw 00°0ST AQTHYOTHOONGAH NOTdONdNA SaA ON ON -900cTIN’ Pe
[sotqewtwoyyedwés]
a 900CAYNET
(uowmos) PTOD sdeo 00°8 GIMOTHOONGAH ANIMGHHdHOMNAsSd SHA ON ON  -900EHHATZ
[sotqewtwoyqedwhs]
a 9007dH4A80
{towwos) PTOD sdeo 00°8 CIYOTHOONGAH HNIMCHHaNOMNASa ON SaxA ON -900¢EH4AL0
(UOWWOD ) [squez0j0edxg] SOOZONAOT
pTos ‘ybnep dsq 90°9 NISHNSSIVND ON SHA ON  -S00ZD3a%0
[seaTieatieq ptow Aqqea] 900ZONWEZ
Zepiostp azetodtq 5w 00°000z WNIGOSIWHS HLVOUGTVA SHA SHA ON -G00cdHSee
[seatqeatszeq prow Aqjeg] SOO¢dHSTZ
Zepiostp azetodtq Sw 00°000T WNIGOSIWHS HLVOUdTIVA ON Sada ON -SgOOc INST
[seatqeatszeq prow Aqje,] soocIONCSstTt
Tepiostp zeTodta Bu 00-005 WOIGOSIWHS HLVOUd IVA ON Sada Sada -SOOCNNL6 2
[saeyqq [TAyTeouTuy] 900CdsH4AST 900TTINE VE 900CEHHACT
{towwos) PTOD sdeo 00°F HNIWVACAHNAHAIIG SHA ON ON -9007GHAPT -9007GH4ET -SOOzZTINT9O0 TWA / W1d POOEETON
[seutdezertyL
puy seutdezexo ‘seutdezeta] sooziarso GOOZAONTT
Jepiostp rzeTodta Bu 00°SZT ELVaWWNA ANIdVILYNO ON ON SaA -SOOCAVWST -sooziInrso di5S IO €00feTOe
NOT LYWO TANI gs0dq [NOILVOISISSVIO NOILYOICIN]) ca TO dwoldd aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO £02 abed

CONFIDENTIAL
AZSER12771575
Srrl

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[seatqeatszeq prow Aq3e,] 900CAHAEO
Jepiostp zejTodta bw 00° 000T WOIGOSIWES GZLVONdTYA ON Saaz ON -SOOCDOWTE
[SeATIeATASq ptoy Aqqeg] SOOcDNVTE 900cNVIPO
tepiostp zeTodtg 6u 00°00S WOICOSIWHS ALYONdTYA ON SaA ON -SO0cDnWre -SO0cDOWPZ dLS IO OTOCeTOd
[seatqeatszeq prow Aqje4] SOOcdHSOE
Jepizostp zejTodta Sw 00° 000T WOIGOSIWES ALVONdTVA ON SaA ON -SOO0zcONWBT
[seatqeatieq proy Aqje4] SOOcONVLT SOOcONVTE
Iepzostp reTodta Bu oo° 00s WOICOSIWHS ALVYONdTYA ON SaA SaA -SOOZSNWOT -SOO0ZDOWVTT dL3 IO 600€€T0F
[seatqeatszeq prow Aqje,] SOO0ZLOOTZ
Zepiostp azetodtq Su 00°000T WOIGOSIWES BLVONdTVA ON SaA ON -sooconwsz
[seatqeatszeq proy Aqqeg] so0convre s00cdHS5T?C
Tepzostp reTodtg 6u 00°00S WOIGOSIWES HLVONdTVA ON SaA ON -S00conWzO -SO0cDOWVTO dLO IO 800€fT0H
[seatqeatiseq prow Aqqeg]) SOOCTAONOZ
Zepiostp azetodtq 6u 00°000T WOICGOSIWES ALVONdTVA ON SaA ON -S00cONWBT
[seatqeatieq prow Aq qed] SOOZDNYLT SOO0Z@LOOT?S
tepiostp zeTodtg Su o0°00S WOICOSIWHS ALVOddTVA ON SaA ON -s00cONTVO -so0zcONWVO dLS IO LOOCETOd
[SeATIeATASq ptoy Aqqeg] SOO0¢dH59S0
Ieprostp zetodtq 6u 00°000T WOIGOSIWES GZLVONdTYA ON SaA ON -soozonwzo
[seatqeatiseq prow Aqqeg]) sooconwzo
Teprostp azetodtg Su 00°00S WOICGOSIWES ALVONdTVA ON SaA SHA -sooe@Toardo
[sa0qTqtTyUul aye qdney
UTUORIOTSS SATIOSTSS] soocinrog sooconw90
uwoTsseideq Bw 00°OT GLVIVXO WWHdOTVLISSH ON SGA SEA -soozTorzo -SOO0zTOLST dLl5 IO 900fETON
NOILYOICNI gsod [NOILVOISISSVIO NOILVOICHW)] du TO wordd aLvd dOLs HLvd dos aivd dOLS INSWLVaaL adoo
WHHL OI1HMENHD NOILYWOICEWN NHMVWL NOILWOICHW -aLVd LYVLS -aLVd LYvls -alvd Laws Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO ¥0Z abed

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CONFIDENTIAL
AZSER12771576
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orl

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[seatqeatszeq prow Aqje4] HONTLNOS
Iepiostp szeTodtg Bw o0°005 WOICOSIWHS HLVOUdTIVA ON ON SHA -YNA ONISSIWN ETOEETOE
ANON ONISSIN ¢cTOeCelod
[seataeatszeq ptow Aq3jeg] 900CTINO FT
Zeprzostp aetodt@ 6wu o0°000T WONIGOSIWHS HLVOUdTIVA SHA ON ON -9007NN'90
[SptoTexTw wntdo TeznjeN] 900cNNL90
u;zed suojs Asupty Ssqel 00°? HQTHOTHIOAGAH HNOCOOAKO SHA ON ON -900CAYWITE
(AzeBans [Seat eaTAegq proy otucetdozg]
Teuuny TedzeD) Bu 00°0Sz2 NHXOWdYN ON Sada ON
(Aqebans [SPTOTEXTY wntdo Tern jeN] 9007ds480
qTeuuny Tedzrep) Bw o0°005 GLIVaLAVLIG ANOGOSOUdAH ON SHA ON -900cdH490
[sastuobequy 104de0ey- ZH] 9007 INE VT
sNT Jot PTOW Bu 00° 0ST HQITSOTHSOUGAH HNIGILINVA SHA SHA ON -900caH4S0
[szo4tqtyul dumd@ uojo7d] 900CEH47O
MNT FSA PTOW Bu 00°00F HIOZVaddNO ON SaA ON -S00cOxad80
[seatTaeaAtsed prow Aqqeg] SOOZAWNOE
Zeprzostp aetodt@ 6wu 00°000T WONIGOSIWHS ALVOUdTVA SHA SHA ON -S00cdH56¢
[seatqeatseq ptow Aq eg] SOO0cdHS 8a
Zeprzostp azeptodtg Su 00°005 WNIGOSIWHS HLVOUdTIVA ON SaA ON -S007dHS40
[sastuoby
ato ydeser0ueapy- z- ee
BATISTA]
BUY ASY Sn 00°00z2 TIOWWLINATYS SHA SHA SaA

[seseestq AeMATY ZISqoO 104g
sbniq teu 0/sotTbrzsueazpy]

euyyasy 5u 00°OT AIVNOIdOdd SANOSWOILNIA SHA SHA SHA
[eso oTweqsds
Jog SeuTWeEASTYUTIUY 7eU30] HONILNOOS 900CNALVT 900TAYNTC
eBwyAsSy Bu 00°02T HQITHOTHIONCAH HNICYNHAOXHA SHA SHA SHA -MNN -900ZHUWWZZ -SOO0ZdHSLO TWA / dLO TIOfETOR
NOITLYOICNI HS50da [NOLLYOISJISSVIO NOILYOICEN] qa TO dwoldd aLvd dOLs HLYd dos aLvVd dOls LNENLYYaL ddoo
Waal OITHHNAS NOILYOICGHN NANWL NOILVYOICHW -HLVd LAVLS -dLvd LAVLs -aLlvd Lavls Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO GOZ abed

CONFIDENTIAL
AZSER12771577
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Lrrl
Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
eseostp xn T jor [SzoqTqtTyUT dung uojo7g]
qTeeboydse o14sep Bu 00°02 WOIGOS HIOZWYdHavad ON SHA SHA
[esn otweqsds
Jog seuTweasTytauy 28yI0) HONILNOD GOOZTDNWZT
svatutya oTbae tiv Bu 00°0T ANIGVLV4OI ON SHA SHA -¥INO -§00ZIN£LO dLS IO €00vETON
ANON DNISSIN ZOOVETON
(wnty4tT]
azeqtodtg 6w 00°00zT WOIHLIT ON ON SHA
. [SSATIEAT AEG suTdezetpozuag] HONILNOO
azeptodtgd bu o0°7 WYdHZYNOIO ON ON SHA -MINA ONISSIN TOOVETON
[setqoyoAsdt quy] EANILNOO
Zeprzostp azeptodtg Su 00°0OT HIOZWAdIdluy ON ON ON  -S0O0ZOEATO
[sotadeTtdetquy 29430] HONILNOO
Jeprzostp azetodtq 6m 00°00z YNIDIMLONVI ON ON SHA -xINA DNISSIN 9TOEETON
900ZEHALT
ANON - 900ZEHALT dLS IO STOEETON
[wnty3tT] 9007dHS80
Jepzostp azetodta bu 00°009 WOIHLIIT ON SHA ON -900ZEHA8T
(Wnty aty] 900CHH49T
Iapiostp zejodtq 6u 00°o0¢E WOIHLIT ON ON SHA -9007EHAET
[sastTuoby
to ydeser0uerzpy- z-e4eq
BATIOSTES]
euyqsy Bn 00°06 TOWZLNGTYS ON SHA SHA
[sastuobequy 2z0qde0eu4- 7H] HONILNOO 900zHanw6o
xn{jea prow 6w 00°ost HNIGILYZIN ON SHA SHA -¥INOA - 900ZEHA8T dL 10 PIOFETOe
NOILWOIGNI Hsod [NOIL¥VOISISSVIO NOILWOIGEW)] ca TO WOINd LWd dOLS HLvd dOLS LVd dOLS INSWLVAUL aaoo
WHHL OINENHD NOLLVOIGHW NSNVL NOILWOIGHN -HLVd LYWLS -HLVd LUVLS -HLVd LYWLs Loarans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTTT JO 902 abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771578
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8rrl

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

[eso otweqsds

AST 600TZOZTTI/F13/3nd3ano /ds/9ZT00°L 77 TP/Tenbotes /pord/aiso/

Jog SsuTWweASTUTIUY 7eI0] 900CNYVCEO
sTatutya oTbaeT Ty Bu 00° 08T HCTYOTHOOUCAH HNIGYNHAOXEA ON SHA ON -9002NVLEO
[esn otweqasds
Jog souTWweqASTYyTAUY 7EYI0] SOOCAONES
STqTUTYyA OTHI1eT IW Bu 00°0T SNIGVLYVHOT ON SHA ON - SOOZAONOZ
(wn tyatT]) 900TAHAST
Iepiostp azejtodtq Sw 00°00zT BLYNOGaYO WNIHLIT SHA SHA ON -SOO0cONY9IT
(wntyatT] SOOZDNYST
Iepiostp azetodtg Bu 00°006 WOIHLI'I ON SHA ON -soozony zo
[SeaATIeATAeG PToOw ofFuoTdorg] soozinrsz
SUoepeoH Bu 00°009 NHAOednNaI ON SHA ON -soocinrs2
(wn tyatT] SOOCONYTO
Zepiostp azetodtg Bu 007009 WOIHLII ON SHA ON -soocTorst
[eouspuedeq
SUTIOOTN UI pesg s6n2qd] soociIonrsd 900CHdeT 900CNVISC
uotjessea butyous Bu 00°TzZ HNILOOIN ON SHA SHA -SooziInr4ztT -900ZNWr9Z -SO0zINEST IT / WId YOOPETOR
(wn tyat tT] SOOCdHSTT
uorsseidep rzeTodtg Bu 00° 006 WOITHLII ON SHA ON -soocinrod
[squesseizdeptquy 7°70] soocinrod
uo7sseidep azeTodtd Bu oS" Le HCIYOTHOOUCAH FNIXVAVINHYA ON SHA ON -soozToreo
(Wnty aty] soocinret
uo7sseidep zetodtg Bu 00°009 WOIHLI'I ON SHA ON -soozToardo
[squesseadeptjuy 194210) soocInrLo
uo7ssoidep azetodtg Bw o00°S4 HCIYOTHOOUCAH ANIXVAVINHA ON ON SHA -soocNnrso
[STOR TQLYUI
aseqjonpey eop Buy] HONILNOD SOoOTONYWTT
eTwept dt T1edAH Bu 00°0T NILYWLSYAWIS ON SHA SHA -MINA -sooziInrzo dL5S IO €00rETON
NOLLIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO Worldd HLYd dOLs Hivd doLs GLV¥d dOLS LNEWLVaaL aqoo
WHHL OLSHNSD NOLLYOICEW NEMWL NOILVWOIGHW -HIVd LAVLS -HLVd LavLS -a1Vd Laws Loarans
NOILYOICHW CeZIWOGNYA ‘Idav1I Nado

GITT FO LOZ abe

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771579
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s97xdoy «GPF ET? LOOZHYNZO

orrl

ses’ ooTpew

AST 600TZOZTI/FT3/andano /ds/97T00°L FFT P/Tenborzes /pord/aiso/

[seutTdezeryL
puy seutdezexg ‘seutdsezetq] 900ZAYNZT
Zeprostp aetodtq Su 00°00T HLVaWNNA ANIGVILHNG SHA ON ON -9007HaY60
[sotqewtwoyqedwhs]
UOTIASSTUT aq 900TAVINNCT
Azoqertdsear raddq qel 00°T GIYOTHOONGAH SNINGHHaHOMNASGd SHA ON ON -9007HYW9Z
UOTAOSaFUT [Sept Tore] S900CHWW87
Azojzesatdset zeddq Su 00°0gz2 NIOAWOMHLIZY SHA ON ON -900THYWTZ
[sastuoby
toy deser10uezpy- 7-e48q
UOT AOSIJUT BATIOSTES] 900CAYNCT
Azoqeartdses szeddq 5 00°LT TOWWLNEGIVS SHA ON ON -900CHWNLT
UOT ASSTUT [Sept Tore] 900CAWNITZ
Azojzesatdser zeddq 6wu 00°0sz NIODAWOMHLIZWY SHA ON ON -9007HYWLT
[SOSATICATA od
puy SptoTexTy wntdo]
uoTAoSazUT gq
Azoqzesztdset zeddq sqeq 00°2 GCIYOTHOONGAH ANINGHHAHOGNASG SHA ON ON
UOT AoSUT [S8ptTtuy] 900CHWWET
Azojzesatdser asddq = sqeq 00-2 ALVNIOONS SNIWZIAXOG SHA ON ON -9007¢NWNI90
[eso otueqsdés
uo Tae gut JOg seuTWweASTYTIUY 7ey4I0) Q9OO0ZAWNZT
Azoqyertdsez zsddq bu 00°08T SGIWOTHOONGAH BNIGWNHAOXSH SHA ON ON  -900ZHYWSO
[SSATIEATA 2d
WoT AoazUy puy prow oTTAot Tes] 900ZHYNZT
Azojzeratdser zsddq 6m oo0°o0rz GIOV OIIAOIIVSTIALHOY SHA ON ON -9007H¥WSO
[untYyat Tl] 9O00ZAWNZT
Jepiostp azejtodtgq Sw 00°00zT HLVNOGNYO WOIHLIT SHA ON ON -9007EHADZ
(wn tyatT] 9007TEHAET 90078a¥ET 9O00TNWLST
Zepiostp azetodta Sw 00°00st ALYNOGUWYD WOIHLII SHA ON ON  -900ZHH4HLT -900ZNWr9Z -SOOZINeTST IT / Wid vOOVETOR
NOILWOIGNI Hsod [NOIL¥VOISISSVIO NOILWOIGEW)] ca TO WOINd LWd dOLS HLvd dOLS LVd dOLS INSWLVAUL aaoo
WHHL OINENHD NOLLVOIGHW NSNVL NOILWOIGHN -HLVd LYWLS -HLVd LUVLS -HLVd LYWLs Loarans
NOILWOIGEHN CHZIWOGNVS ‘THav1 Nado

GTTT JO 802 abed

SUOTIEO TPA

6-OT' 2°27 Sutasty

CONFIDENTIAL
AZSER12771580
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OSrI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

Azoqtsoddng [SSaTqexeyT 731740]
uot jedtysuop 0O°T TIIOHHSATO ON DaA ON
[SeATIeXxeT Oe AUD) SsoocLo0so
uot jedtysucp Bu 007s TACOOVSIa ON Sada ON -S00¢L00950
Azoqtsoddng [SeaTIexe] TeyIO] GOOZdHSEZ
uot jedtysuop 0O°T TIIOHHSATO ON SaA ON -SOOTdHSE?
[sas tuoby
(Taysg) UTUOJErZSS SATIDSTSS] SOOcdHSTZ
SeuTeIBTW Bu 00°0r HaTWONdONdAH NVIdGIYLYTH ON ON SHA -GOO0cdHS0Z
[uMntyatT] GOOZAONSO
Zepiostp zejtodtg Bu 00°009 WOIHLIT ON Sada SaA -SOO0coNTST
[sotade,tdetquy 781740] SOOZAONSO
euTerS TH Bu 00° 00T SLWWVaAIdOL ON Sada SHA -soozcimnrco
[sqonporg 22@Td * [Oxe
‘suotqerzederg AQtTseqotquy]
sjonpotd .eTd [TS SOOZCAONSO
Aqtseqo sdep 00°% x¥ ‘suotjezedezg AqtTseqotjuy ON Sada SHA -pyoocdH4ATto
[squesseadeptquy 29430] HONILNOOS S00cL5090
uot sssideq Bu 00°Szz ACIXOTHOOUCAH ANIXWAVINEA ON SHA SHA -YINO -GO07@dHSTZ dLS IO LOOVETON
[sastTuoby
atojdeoer0uerpy- z-e 70g
BATIOS TAS] 4HONTLNOO
euyyse Tetyoucrq szgnd 00-7 TIOWZLNATZS ON ON ON -S00cadv90 ONISSIN 900P7ETON
[sotade{tdetquy 728740]
azejTodta Su 00°009 HLYNVaATAOL ON ON ON
[eouspuedeq
SUTIOOTIN UI pesg shnaq] HONILNOD
azeptodtg Bu o0°O00€ HATHOTHIOAGAH NOITdOddnNd ON ON ON -SOOCHWNTO ONISSIN SOOPETOW
NOITLYOICNI asod [NOLLYOISJISSVIO NOILYOICEN] da TO dorldd aLVd dOLs HLYd dos aLvVd dOls LNENLYYaL ddoo
Waal OITHHNAS NOILYOICGHN NANWL NOILVYOICHW -HLVd LAVLS -dLvd LAVLs -aLlvd Lavls Loarans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTTT JO 602 abed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

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AZSER12771581
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Isvl

g9zxdoy SHIET'LOOZTMYWZ0 =SePS"OOTPSM IST 600TZOZTT/FT9/andano/ds/971000LFFTP/Tenbotes /pord/aiso/
[seutTdezeryL
puy seutdezexg ‘seutdsezetq] SOO0ZdHSLz
Jepiostp zeyTodta 6w 00°OT ANIdWZNWIO ON ON SHA -SOO7DNYLZ
[wntyatT] SO00ZLOOOT
Tepiostp azejTodtaq Sw 00°009 SLWNO@aYO WOIHLIT ON SHA ON -SOO0ZdHSLZ
[seseestq Aematy 24SqD 104g
shniq 1eyq0/soTbhreueipy] HMNNIINOD 900ZDN¥EZ 9007EHAST
ewesAydug Sw 0070S SLYNOIdOdd HNOSVOILNIA SHA SHA SHA -MNN -900CHE49T -SO0tdHSL¢ IT / dl6 600VETOR
. [S@pTT Tuy] 9OOTNYCTT
eyoepesH bu o0°000€ TOWWLHOWNYd ON SHA ON  -SOO0ZOHArZ
[SSATIPATI9q
puy spToTextw wntdo]
uo Tae gut a SOOTAONLZ
Azoqeztdseaz zeddn = =sqea 00°? GIYOTHOONCAH HNIMGHHaHOaNYSd ON SA ON  -SOOZAONLZ
[wnty3tT] 21ND.
rejodtq Su 00°00ST SLIWNO@aYO WAIHLII ON SHA ON  -SOOZAON6O
[SSATIPATASC PToOy oTUOTdorg] SOOZLOOFZ
eyoepesH 6m 00°002 NadO0udndI ON SHA ON -S00ZLD0%2
[wn tyatT] SOOZLOOOT
zejodtq 6w 00°009 BLIWNO@aYO WOIHLII ON SHA ON  -S007TdES8Z
[SUCTIeUT QUOD
pexta ‘sueborqsy
puy stseboqjsaborg] 900ZHAYPT
Tozques yWTE qea oo°t BIVWILSHDYON SHA SHA SHA -SOOTAYNTO
[wntyatT] SO0ZLOOKE
zejTodtg bw 00°006 SLWNO@aYO WOIHLII ON SHA ON  -SOOZLOOTT
[wntyatT] SOOTAON80 900ZCUYNST  90078H4ST
zejodtg Sw 00°00zT SLIWNO@aYS WOIHLII ON SHA ON -SOOZLD0SZ -90074H49T -SOO7HHSLZ IT / Wid S00PETOR
NOILYOIGNI 380d [NOILVOIdISSVIO NOILYOIGYN] ca TO wYol¥d aLVd dOLS Hlvd dOLS dvd dOLS INSWLVauL gaadoo
WHHL OIWHNED NOILWOIGEW NHMVL NOILVOIGHN -HIVd LHVLS -SLVC LavLS -a1vd Lavis Loarans
NOIIVOIGHA daZIWOGNYa ‘THavI NHdO

GITT FO OTzZ abed

SUOTIEO TPA

6-OT° 2°21 Butasty

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AZSER12771582
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eseestp
Azeqsze AreuczOD

s97xdoy «GPF ET? LOOZHYNZO

(uTzedeH * [OXY sSrOQTGQTYUL

cSrl

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

ZojJ sUuTOTpeW uot ebeszbby eT TSIeTal 9007d4HS0Z2
SAT Ie IUSAST, Bu 00°SzE (IOV OLIAOITIVSIALHOY SHA ON ON -900CAWNOZ
[wuntyatT] 900ZaHSOZ
zejTodta Bw 00°006 GLVNO@davO WNIHLII SHA SHA ON -S00cOxaTO
[wntyatT] SOOZAONOE
zejTodta Bw 00°009 HLYNOdavO WNIHLIT ON DaA ON -SOO0TAONYVO
[SSATIEAT IEG suTdezetpozueg] SOO0CLOOST
PTUWOSUT Bu os°0 WYIOZVWad TY ON SHA SHA -SO00cdHS07
[seatqeatszeq prow Aq3e,] SOOCTAONEO
zejtodta bw oo°o000T WONICGOSIWHS HLVONdTVYA ON SHA SHA -S00cdHS90
[eouspusedeq
SUTIOOIN UI pesg s6naq] SOOZAONTO
zejtodta Bw 00°00€ NOTdOwdnNa ON Sada SaA -SO0O0TAYWTO
[SUCTISUT QUOD
AsayAO ‘SAOATATYUL
aseqonpey eoD buy] 9007dHS0Z 900ZDNVTZ  900z2am4aS0
etweptdt taedéyq 6u 00°07 HGIWILEZH SHA SHA SHA -SOOCNYIVO -9007EH490 -S007LOOEO IT / dlB OTOPVETON
[eouspusedseq
SUTIOOIN UL pesg shnaq] Q900ZONYET
uot zessea Butyows Bu oo°tz HNILOOIN SHA ON ON -900CNNCOT
[SSATIeEAT IEC
puy ptoy otTAot Tes]
uoTqAoazut aL 9007CAYW90
Azoyertdseaz azsddq Sqey 00°C Vablavlid ANINWIONVdOUdIANHYHd SaA ON ON - 900CAYWSO
[wntyatT] 9007dHSZzz
Jepiostp azejtodtgq Sw 00°00zT HIVNO@aYO WAIHLIT SadA SHA ON -900cOHd60
(wn tat T) Ss00cO48d80 900TONYET 900 CEHHAST
Iepiostp szejTodtg Bu 00°006 HIVNOGaZO WNIHLIT ON Sax ON -SOOZLOOTIT -900ZGH49T -S00ZdHSLZ IT / dLO 6007ETOR
NOLLYOICNI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

GTTT JO ITZ abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771583
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esrl

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
ygrceayr [S®ATIeATAGG PTOY oTuoTdorg] 9007EHAZO
Azoyertdsea zsddq 6 o00°00F7 NAONdNAI ON ON ON - 900ZNVP8Z
uoTIASSeFUtT [suotqesedserzg YAnwustg]
Azoqertdser rzsddn sdsiq 00°2 HIVIAOIIVSANS HLOWSIG ON ON ON
[SSATIEATA9G
uot 4oezUt puy ptov OTTAOTTes] 9O00ZNYETE
Azojzertdset asddq 6wu 00°00zT GIOV OIIADITIVSIALYOY ON ON ON -900ZN¥PSZ ONISSIN PIOVETON
[wntyatT] 900THWNTO 9O00CNWLOE
Jepzostp azetodta 6m 00°009 HLVNOGUYO WOIHLIIT ON SHA ON -900ZNYPLZ - 900ZN¥L9Z dL3 IO ELOVETON
GOOZLOOOT
ANON -§00ZL0080 dLS IO ZTOVETON
SUOWAOL
butaertnutas [seucwZ0H pTorAyL] 9007dHS7Z
prordAyy peseeroul Bu go°0o WOIGOS HNIXOWAHLOASI SHA ON ON -900ZINLTZ
SUOWTOLL
butqeptnutys [seucowz0H ptoxrAyL] 900TIN’0Z
prorAyy peseezoul Bu €0°0 WOIGOS HNIXOWAHLOASI SHA ON ON  -900Z1NE90
(WNTYIATT) 900Zd4HST7Z
aejtodtgq 6wu 00°00zT HLVNOGUYO WOIHLII SHA SHA ON -900Z788480
(WN TYATT) 900ZNYL80
zejtodta Su 007009 ALVNOGUYO WOIHLII ON SHA ON  -S00ZOECST
[wnty34TT] SOOZOEAPT
zejtodta wu 00°006 HLVNOGUYO WOIHLIIT ON SHA ON  -SOOZAONTT
[wnty3t'T] 900ZEAHALO
zejtodtqd wu 00°006 HLWNOGUYO WOIHLIT ON SHA ON -SOOZAON6O
[wntyatT] GOOZAONOT J00ZONVET 900TEHATT
azejtodta  6wu 007009 HLWNOGUYD WOIHLII ON SHA ON -SOOZIDOLO -900ZHH4ZZ -GOOZID0L0 IT / Wid TTOVETOR
NOILWOIGNI Hsod [NOIL¥VOISISSVIO NOILWOIGEW)] ca TO WOINd LWd dOLS HLvd dOLS LVd dOLS INSWLVAUL aaoo
WHHL OINENHD NOLLVOIGHW NSNVL NOILWOIGHN -HLVd LYWLS -HLVd LUVLS -HLVd LYWLs Loarans
NOILWOIGEHN CHZIWOGNVS ‘THav1 Nado

GITT JO zTz aebed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771584
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vsrl

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[seoueqsqns
eATQeanddns peqel[ey puy sutzodsoTeydsap] soozoedaso
STITUSPpEAPTH Su 00°005 NIXHTVSHO ON SaA ON -SOOTAON6Z
[SeaTIeATAeq pToy oTuctdozg] SOOZAON60
SUTeISTW Su 00°00% NH4AOudNaI ON Sax ON -GOOZAONBO
[seatqeatszeq prow Aq3e,] 900CNVCZO
T zeTodtq ui 00°000T WONIGOSIWHS HLVYONdTVA ON Sada ON -GO00ZLOOFO
[SeATIeATASq ptoy Aqqeg] SOO0ZLOOEO
T azetodtg Bw 00°0SL WNIGOSIWHS HLYONdTVA ON Sada ON -sooconyzo
[SeATIeATASd ptoy Aaqeg] soocInet2
T azetodtg Bw 00°00S WNIGOSIWHS ALVONdTIVA ON Sada ON -GOOc INEST
[seatqeatszeq prow Aqje,] SOOZcONWTO
T aetodtg 6w oo0-o000T WNIGOSIWHS HLVOUdTIVA ON Sada ON -goocInred
eer tesage [S©pTT Tuy] sooconvco
Azojzertdser szsddq Sw 00°00€T TOWWLHOVavd ON SaA ON -soozInret
[S®ptTtuy] HANTINOD 900 ZONYST 900TAVNEC
SSUSePeoH Bu 00°OSL TOWZLHOVAYd SHA SaA SHA -MNQ -900ZUWWOE -SOOzINTéET TWA / WId TOO9ETOR
[SeaTqeATIeq pToy oTuetdozg] GOOZDEa8tT
uted yoeg Bw 007005 NAHXOWdYN ON Sada ON -SOOTAONOE
[seutdezertyL
puy seutdezexg ‘seutdezetq]
azeptodtg Bw 00°S YUNTGVZNVIO ON Sada Sada
[wn ty4t'T]
zejtodta bw oo0°00zT WOTHLIT ON SaxA SHA
[S@ATIPATIOG
auTdezetyqjozueg]
wot sus yzedéy Bu a WHZVILIIG ON On ON
[SQTxXOD] HANTLINOD S00CNYL90
sTaATzyaty Bu 00°00z2 @IXOOeTHO ON ON ON --INN -GOOZAONTT di5S IO TOOSEtTOe
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdoo
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GITT FO €Tz abe

SUOTIEO TPA

6-OT° 2°21 Butasty

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AZSER12771585
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 34 of 90 PageID 85620

SSrl

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[STRPTSUTW YATM SUTWeQTA] 900CAYN9T
SoueuUSs IUTeW UITePSH gey 00°T SON SIVaHNIN ON SHA ON -S007OHCST
[seatqeatTszeq prow Aqje,] 900CHVNST
Jeprzostp azertodtg Bu 00°05z WNIGOSIWHS HLVONdTIVA ON SHA ON -soozcmnroz
[sazeyuaq TAYTeouTwy] SOOZAYNTO
se7breTTe Teuosess 6u 0070S HNIWNWYCAHNSHAIG ON ON SHA -SOOCAWWTO
[SepTTtuy] FONTLNOO 900728484 dT
SSUSePeSH Bu 00°0g9 TOWWZLAOVAYd ON SHA SHA -YINO -soozcinrod dLO IO ZO009€T0R
eat qeanddns sqeTqeq [seutToAoezyeaL] 900ZONVVT
STIUSPEAPTH 00°2 HNTIDADAXOd SHA ON ON -900cONwTr0
[S@aTqIeATAeq eUuTzezedT a] 900TdHSPTL
sbop 01 seTbisTty ger oo°t AQIYOTHSOUGAH SNIZIAHILYS SHA ON ON -9007INL0Z
[SSATIPATASC Ptoy oTuUeTdorg] 900ZAVNI6T
uted youd ger 00°? NHAOedNdI Sada ON ON - 90072AWWST
[SSATIPATI9q
puy sproTex Ty wntdo]
sqetTdeo a 900CAYWED
staptbudAreug 00° ¢ CQIHOTHOONCAH HNISCHHdYOdNYSd ON SHA ON -9007dEHd 97
[SSATIPATASC PToOy oTUOTdorg]
a 900¢dH 452
stat budAreud ge 00°T GCIAMOTHOOUCAH HNINCHHdHOdNYSd ON SHA ON -900CHHAVS
[SPATIPATIEG
puy SPTOTexTy wntdo]
sqetdeo a SO00CNYIE?
uotTqysebuoo snuts 00°¢ CIAOTHOOUYGAH ANIYCHHdHOdNeSd ON SHA ON -900CNVWITZ
[seatqeatszeq ptoy Aqjeg] 900CdHSTT 900ZONWST 900 TUAVNG ZT
T azetTodta Sw 00°0sSzT WNIGOSIWHS HLVONdIVA SHA SAA ON -900ZNYTE0 -9007HYNOE -SOOZINC6T TWA / WId TOO9ETOR
NOITIVOICGNI gS0q [NOILVOIMISSVIO NOILYOICHWN] da TO YWoldd aLvd dOLs aLlvd doLs aLVd dOLs LNEWLVaaL aqoo
WHaL OTHENHD NOILYOICESW NHMNVL NOILWOICHN -aLVd LAWLS -HLVd LavVLS -alvd Laws Loadrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO ¥1Z abed

CONFIDENTIAL
AZSER12771586
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 35 of 90 PagelID 85621

9SrI

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

uted szeprnoys [SSATIPATAGG PToy oOTuoTdord] SOOZAONEO
azeT setbteAW Su 00°008 NTIONGNAI ON SHA ON -S00ZAONTO
[wnty3tT] 9007EHALO
Zepzostp T zeqTodtq@ Sw o0o0°o00zT HIVNO@uvO WOIHLIT ON SHA ON -goozonv9z
[wn tyatT) GOoOzDNYOT
aeprzostp T zeqTodtq Su 00°009 HIVNO@aYO WOIHLIT ON SaA ON -gsoozInroEe
[SSATIPATAE
puy SpTOTeXTy wntdo]
uo Tq4oSsutT abeyoerd a soocinrge
Azoqesztdses azeddy 00°T GIMOTHOONGAH HNIMGHHaHOUNASd ON ON SHA -gsoozInrgz
[wn tyatT) 9007dHS7z
Zepiostp T 2eTodtq Sw on°o0sT HIVNOGUYO WOIHLIT SHA SHA ON -9007HH480
Boo aeada [SSATIeEAT AEG picw otuotdoz4g] soocinesc
Azoqyeztdsea zsddq 5w 00-008 NAAONdNAI ON ON SHA -sooztarsz
(WNtYATT] soozinréez
Zeprostp T zeTodtq@ bu o00°o0E HIVNO@UYO WOIHLIT ON SHA ON -soozinrsz
[wnty3tT] soozonwsz
Zepzostp T zeqTodtq Sw 00°006 HIVNOduvO WOIHLIT ON SHA ON -GOO0ZDNYTT
[SPTOTeyTY wntdo TeznjeN] soozionaroz
uted yorg a’ a HLIWALaVLIA ANOGODONGAH ON ON SHA -goocinroz
[Seat zeatszeq pTow otuotdozag] 9007UdY60 900ZONYEZ 900z7udvs0
eyoepesH  6u 00-008 N@A0udndI SHA ON ON -900@Hdv¥80 -900ZHdv90 -So0zIN©sc IT / dLO so09Eeto"
[SSATIPATASC PToOy oTUOTdorg]
seyoepesH S5u 00°0rr WOIdGOS NHXOUd¥YN ON SHA SHA
[sastTuoby
Jo .daserouerpy- eed
puy -eydty] HONTLNOD soozonveo
euyasy Su vPro MNIMHdHNIdH ON SHA SHA -yINO -Sooz 1nr9z dL IO £009fTON
NOTLVOIGNI gsoqd [NOILVOIAJISSVIO NOILWOICHW] du TO woud Hivd dOLS L¥d dOLS LVd dOLS LINSWLVHYL Haoo
WHEL OINENED NOILVOIGEN NENWL NOILVYOIGHN -HIVd LYVLS -aLv¥d LaVLS -divd Laws Lourans
NOILWOIGSN dHZIWOGNVA ‘IHav1 NHdO

GTTT JO GTZ abed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

CONFIDENTIAL
AZSER12771587
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 36 of 90 PagelD 85622

g9zxdoy

SP FET? LOOcCHYNZO

LSvl

ses’ ooTpew

AST 600TZOZTTI/F13/3nd3ano /ds/9ZT00°L 77 TP/Tenbotes /pord/aiso/

[suTweqtA JO SUCTIeUTqWOD]) SOOCdHS6z SOOZONVOE
SoueuS UTeW UATeCSH GeL oo°T SON SNIWVLIA ON Sada Sada -SOOZCAYNTO -GO0ZcONWETS dLO IO 8009€T0R
[seatqepes puy sotqouddy] S00ZLOOSZ
eesnen ‘BUT ATWOA n° 4ANTIZVALAWONd ON Sax ON -GO0ZLOOSZ
[Seat eatzegq sutdolzy
IQ euTderzL JO s7a7Ig] soozomad6o
eT STuyeny Bw 00°T aLVIISHN ANIGOMLVZNAd ON Sada ON -GOO0CdHS6c
[wNtyatT] GOOZLOOOE
Iepiostp J azetodtg Bw 00°00€ HLYNOdavO WNIHLIT ON SaA ON -gd0coONTzO
[sastuoby
(Tag) UTUOJOTeS eATIOSTAS
SoUuTeIBTM Bu 00°Sz NVLdIMLIWIOZ ON Sada Sada
[eaz20eTeS_UON
‘squeby butTyootTa eed] S00zD48d60 SOOZAONE6O
seuTerbTW Bw 00°05 HQCTYOTHOOUCAH 'IOTIONVadOud ON Sada SaA -GO00caxHATO -gd0convco dLO IO LO09e€T0R
[S®ATIeATASQ pPToy oOTuctdozg] GOOZTAONST
SUSePeoH Bu 00°0rF WOIGOS NHXOddvN ON SaxA ON - GOOZCAONST
[seat JeatTieg proy oTuotdozg]) SOOcONYLO
SyuoepesH Bu 00°00% NHAOedNdI ON Sada ON -Go0coNnvzL0
(wn tUIt TI) SOOCAONTZ SOOZAONTZ
Teprostp I azejtodtgd Bu 00°0S% HLYNOdavO WOIHLIT ON Sada ON -gd00cONYTO -G00cONYTO dLO IO 9009¢T0H
[SPATIeAT IEG
puy SPTOTeEXTY wntdo]
uoTAOSJUT a S900cedY80
Azojzertdser zsddq qeyoed 00°T CIMYOTHOONCAH HNINCHHAHOGNASd SHA ON ON -900cedTL0
swoqduds [SeaTJeaTIeg PToy oTuotdozg] 9O00TMWNLO = «900zDNWEz y900TNaWSO
SATT - NTA Bu 00°00F NHAOedNaI ON SHA ON -900ZHYNSO -9007Hd¥90 -SsoOzInrez IT / dLlO SOO9fTOR
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GITT FO 9Tz abe

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771588
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 37 of 90 PagelD 85623

8SrI

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

[septadedAtog
UITM suoTIeUTqUOD

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

ser0s ‘TOUL ‘Ssptow outwy] 900ZNNLLT
PToo queasad of, n° A HNISAI SHA ON ON - 900CAVNITT
ssoeujyytqs [S®aTIeATAGG pPToy oTuoTtTdorg] S00CNNLLT
juytol puex Bu 00° 002 WNIdGOS NHXONdYN SHA ON ON - 9007TAdV6T
sseugygtqs [S®ATIeATAGG PTOY oTuoTdorg] 900THAVIZ
qutof puey Bw 00°002 WOIGOS NHXONdVN SHA ON ON - 9007CHdTFT
sseujyytqs [unTuUsSTss] 900CNNCLT
aqutof puey sqeq oo0°e WOINHTHS SaA ON ON - 900CAWNTZ
{[s6nzqd zSsyqO quop squeSy
wuneyttquYy/WeTJUTTIUY 7730]
ssoujyjtas “quoD UI s 900TAVNTT
aqutof pueqH sqel o0°OT qQUeby AzoqewmeTJuTTIUY 7eyIO SHA ON ON - 900CEHAET
[SpTO189S-UON’ squUeby
OT JeuMayATAUY /WeT FUT TIAUYy
ssouyytTqs 79410) 900TAdT ZO
aqutof puey sqel 00°2 HNIWYZSOONID SA ON ON - 9007CEHATZ
[sotqeantqd puy
sqstuobequy TI utsueq,oTbuy] 900CNNCLT
uot suseqzedAy Bw 00°7E TILSXSTIO NYLAYSHONYO SHA SHA ON -SOOCOHCOE
[SOATIeATASq pPTtoy otuotdozg] 900cde4 82
SSUCePPoH Bu 00° 00% NHHOudNaT SHA obaA ON -SOOZAONEDO
[seatqeatszeq prow Aqje,] 900CNNCLT
Ieprostd J zetodtg Bu o0°0SL WOICOSIWHS HLVONdTVA SHA SHA ON -SO0cdHS90
[SUTWEITA JO SUOTICUTQUOD]
SOUPUSUTeEW UITPSH gery oo°t SON SNIWWZLIA SHA SHA SHA
[WNTOTeD]) AONTLNOD 900 CAVNBT 9O0OCNVCTE
SoOUPUSIUTeEW YITePSH ger oo°T TOMSAIOTWOODNH SHA SHA SHA -MNQ -900Z@H4TO0 -SO07dHS90 TWA / dLO 6009fT0H
NOLLIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO Worldd HLYd dOLs Hivd doLs GLV¥d dOLS LNEWLVaaL gqdoo
WHHL OLSHNSD NOLLYOICEW NEMWL NOILVWOIGHW -HIVd LAVLS -HLVd LavLS -a1Vd Laws Loarans
NOILYOICHW CeZIWOGNYA ‘Idav1I Nado

GTTT JO LIZ abed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

CONFIDENTIAL
AZSER12771589
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 38 of 90 PagelID 85624

6Srl

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
UOTISASOLT [SPTOTPNTY wntdo Tern jen] GOOZLO09Z
wie AFST Bu 09°2z HadIYOTHOONCAH HNOCODAKO ON SHA ON -GOO0cLOOG6T
(wnaqoeds
UOT ILASOLT popuerxy UIIM SUTT[TOTUAEd] SOOZLOONZ
wie qyetT Sw 00°000T NITIIOIXOWY ON Sada SHA -GOO0CLOOLT
UOTIPASOST [SSUTSOeA snue jeg]
wae AFaT 00: 05°0 CIOXOL SONYLHL ON ON SHA
UOT ISASOLT [UTeTd ‘seqeanqatqzeg]
wre AFST Bu 90°Sz TWLIGHVAONYHd ON ON SHA
[SSATICATIEq
UOTISASOLT autptazedtdytAusya]
wre AFoT Bu 00°0sS HQITYOTHSDOYNGAH HNICIHLYd ON ON SHA
[SSATIPATI9q
UOT ILASOLT auTpttedtdptAuseyd]
wie AFaT Bu 90°0s HQdIYOTHOONCAH HNICIHLYd ON ON SHA
[ssourqsqns
UOTISASOLT peqeley puy sutzodsoteydaa] GOOZLDOLT
wre AFOT 5 o0°T WNIdGOS NIIOZVsHD ON ON SHA -SO00CLOOLT
[S®aTIeATAGG pPToy oTuoTtTdorg] SOOZOeaLO
uted sey Get 00°? NHAOudNdI ON Sada SHA -SOOcTONTTO
[SOEATIPATIASEq PToy Aqqeg] 4NNn SOOZAONZLO
Zeprostp I azeTtodtg Su 00°005 WOICGOSIWHS HLVYOUdIVA ON SaA ON -GOO07LOO6T -GO0O07LOO6T dL IO yIO9ETON
HNON ONISSIN ETO9eTOd
[uMtYyatT] SOOZAONTO
Tepriostp I zeptodtg Su 00°009 HLYNOddvO WOIHLIT ON Sada ON -SOO0cdHS6c
[seuowz0H ptoxrAyL] SOOZAONLO
ustptortAyqzodséH Bn 00° OST WNIGOS HNIXOWAHLOATI ON SHA SHA -SOOzONWSO
[Seat exe] HONILNOOS s00zcLO080
uotaedtqasuep gel oo°T SSATIeXeT ON SHA SHA -YNOA -S00cdHS62 dL5S IO TTO9ETOF
NOITLYOICNI asod [NOLLYOISJISSVIO NOILYOICEN] qa TO dwoldd aLvd dOLs HLYd dos aLvVd dOls LNENLYYaL ddoo
Waal OITHHNAS NOILYOICGHN NANWL NOILVYOICHW -HLVd LAVLS -dLvd LAVLs -aLlvd Lavls Loarans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTTT JO aTz abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771590
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 39 of 90 PagelD 85625

O9rT

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

(wn tyat tT] S00208cds50
Zepiostp 1 zetodtg Su 00°009 HLIYNOGAVO WOTHLIT ON SHA ON -GOOZAON6T
(wn tyat Ty) SOOZAONBT 900Z5NVOT 9O0O0ZAYWBT
Iepiostp T zeTodtg Bu o0°O0€ HIVNOGaYD WNIHLII ON Saaz ON -GOOZAONLT -900ZAYN6T -SOOZAONLT IT / dLO 8TO9ETON
[seatqeatszeq prow Aqje,] SOOZAONOE
Zeprzostp azertodtg Su 00°005 WNIGOSIWHS HLVOUdIVA ON SHA ON -GO00ZAON60
qSTaIM [S®ATIeATAGG PTOY oTuoTdorg] SOOZAON80
qyBtr peuterds Bu 00°00F NHAONdNaI ON ON SHA -GOOZAON80
[ (FI
dnoi5) aqusqog ATer,e7epow
uotqeottTddy ‘SpToteqsooTq4109] SO0cOseaLT
STSeT1t0sd 00°T HNOTONIOWVINL ON SHA SHA -GOOZLOOTO
([uTzZedeH “ [OXY SrOQIGQTYUL
uotieberbby .eTe1eTa] FONILINOO SOOZAONLT
YATesy Aeon GeL 00°T CIOV OLIIAOLIVSIALSOVY ON SHA SHA - INO -S007ZAON60 dlS 10 9TO9ETON
(wn tyat tT] 9007HdT9IT
Zepiostp I zetTodtq 6w oo°o0zTt HIVNO@GAYD WNIHLIT SHA SHA ON -GOO07ZLD097
queweTddns [suTweqTA JO SUOCTIeEUTQWOD]) HONILNOS 900ZAWNLZ 9002848 4ST
TeuoTATIINN qea oo't SON SNINVWLIA SHA SHA SHA -MNN -900Z2@849T -SOO0ZLOO9Z IT / WId STO9ETON
[eqeuogz eo Tg
wntpos YIM sptoeequy] SOOCAON90
wang 7 te38H ds3 0Sg°0 HIYNOdavOId WOIdGOS ON SHA ON -SOO0ZAON90
UOT ILASOLT [SPTOTENTY wntdo TerznjeNn] SOOZOEALO
wie AzoT Bu og-s ACIMOTHOOUGAH HNOCODAXO ON SHA ON -GO0O0ZLOOLZ
[seoueqsqns
UOT IELSOLT peqejtea puy sutzodsoteydep] S00ZOHNCLO SOOZTAONLO
wie aget Sw 00°000T NIXHTVAYD ON SHA ON -GO00ZL35002 -S00ZL506T dL 10 PLO9eTog
NOIIWVOIGNI Hs0qd [NOLLVOISISSVIO NOILYOICSWN)] da IO wold aHLYVa dOLs aLvd dos aLVd dOLs LNEWLVSYL aadoo
WHHL OTHENHS NOILYOICEWN NHMVL NOILVOICHN -SIVd LHVLS -HLVd LavLs -a1lvd Laws Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO 612 abed

CONFIDENTIAL
AZSER12771591
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 40 of 90 PagelD 85626

19vl
Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[SPATISATI9q
eutweTAyTeT Ausra]
uotsueqzsdAH = Bw san OFZ TIWWUVUHA ON ON SHA
[soTqeantg¢
puy SAOUTQTUUT 90¥V]
uot sueqredAq Bu n TIMGQNISII ON ON SHA
[ (senbo Teuy
puy uTWeTeqoosouedAD)
quewseTddns cTa UTWeATA]
TeuotaTzqanN 6wu o00°o00T NIWVIVEOOONVAD ON ON SHA
[Sto a tqtyuy
eseqjonpsy eoD Buy]
etweptdt TrsdAyq Bu o0°OT NILWLSVAMOLY ON ON SHA
([uTzedeH * [OXY SrOQTGQTYUL
uot eberbby 4eTSIeTa] HONTLNOOD
yarTeey atesH = Bu «*00 GZE GIOV OIIADITIVSIALYOY ON ON SHA -¥INOA ONISSIN 6TO9ETON
[S8ptTtuy] 900c INST
esyuoepesH = sqelq 00°z TOWWLHOWUVd SHA ON ON = -900ZINE'ST
[SepTTtuy] 900zInrso
SUuoepeoH qe. oo°t TOWZLEHDWAVd SHR ON ON -900ZNELO
(wnTYyITT] 900Zd4HS60
Ieprostp T azeqtodtq Su 00°00zT HLVNOGUYO WOIHLII SHA SHA ON -900Z8H40T
[wnty3tT] 9007EHAGO
Zepzostp T zeqTodtq@ Sw 00°00sT ALVNOGUYO WOIHLII ON SHA ON  -900ZNY¥LET
[wnty34TT] 9O00ZNYLZT
Zepzostp T zeqTodtq@ Sw 0o0°o008t HLVNOGUYO WOIHLIIT ON SHA ON  -SOOZOHAST
[wnty3t'T] GOOZOHAPT
Ieprostp T azeTodtgq 6w oo0*00zT HLWNOGUYO WOIHLIT ON SHA ON -S00ZD8a90
[Sept T tu] SOOZTAONOE 3200 ZDNV¥OT 9O00TAWNBT
SUOepeoH qe. oo°t TOWWLEHOVaWd ON SHA ON  -SOOZAONO€ -900ZKYN6T -SOOZAONLT IT / dLO 8TO9ETOR
NOILWOIGNI Hsod [NOIL¥VOISISSVIO NOILWOIGEW)] ca TO WOINd LWd dOLS HLvd dOLS LVd dOLS INSWLVAUL aaoo
WHHL OINENHD NOLLVOIGHW NSNVL NOILWOIGHN -HLVd LYWLS -HLVd LUVLS -HLVd LYWLs Loarans
NOILWOIGEHN CHZIWOGNVS ‘THav1 Nado

GTTT JO 022 abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771592
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 41 of 90 PagelD 85627

s97xdoy «GPF ET? LOOZHYNZO

[SeaTIeaAtTreq eutdozy,

cori

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

IQ sutdezl FO s1798y3q] 9007dse40z2
STSTUIeAy Bw 00°72 ANTIGOaLVZNHad ON SaA ON -9007EHHAST
[wntyat'T] 9007EHATT
Zeprostp I zeqtodtq Sw o00°00zT HLYNOGAVO WNOIHLIT ON Sax ON -900CEHAOT
[wntyat'T] 9007HH4A60
Ieprostp J azetodtg 6u 00°006 HIVNOGYZO WNOIHLIT ON Sada ON - 90074480
[S@ATICATAEq SeuTdoAL
IQ sutdezl FO s78y3g]
AQUSAT, Bw 00°T ANTIGOaLVZNHad ON SaA ON
[SeaTqeATAeq suTdoAL
IQ eutdezl FO s27eyIg] 900¢dse450
STSTUAeay Bu 00°T ANTdOULVZNHa ON Sax ON -900CEHAEO
[wnty4t'T] 9007EHALO
Zeprostp I zejtodt@ Sw 00°00zT HIVNOGaYO WNIHLIT ON SaxA ON -900CNWLSZ
(WwaTYIATT) 900CNVL PZ
Iepiostp J azetodtg Bu 00°006 HLYNOG4YO WNIHLIT ON Sada ON -900CNYCTT
[wnty3tT] 9O007ZNYLOT
Zepzostp J azetodtg Bw 00°009 HLYNOdavO WOIHLIT ON Sada ON -~G00cOed62
(wn Tat T) SO0ZOEd82z 900¢dHATS
Teprostp J azertodtg Bw 00°00€ HLYVNO@avO WNIHLIT ON Sada ON -GOO0TONA8 -GO007TONABT dLO IO Z2Z09€T0H
4HNON ONISSIN TCO9t TOW
[SeATIeATASd ptoy Aaqeg] 900cONTPO
Zeprostp T azetodtg Bw 00°00S WNIGOSIWAS HLVOUdTVA ON Sada ON -G00cOed02
[UteTd
‘(D UpweITA) PTOW oTqr0Dsy] 9007TONTVO 900zinrso
SoueuUSIUTeW YATPSH Sw 00°000T qIOW OIGdOosv ON Sax SHA -GOO0¢dHSTO -GO00zONd0z dLS IO 0Z09¢€T0E
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTITT JO [zz abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771593
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 42 of 90 PagelD 85628

cor!

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[SSATIPATIOg

puy SptoTeyxtw wntdo] S900CNYLEZ

sseosqe Tequeqd bw oo°o0ET HNOGOOOdTAH ON SHA ON -900CNYCTT

(wnAtyatT) 900CNYCCT

Iepiostp T zeTodtg Bw 00°009 BLYNO@aYO WAIHLIT ON SHA ON - 900CNYP70
[SUTTT FoTued
AATITSUSS aseweqoPy]-e jag]

(sssosqe WOISS 900CN¥CSO

Tequep) yICo] Hw 00°0002 WLOd NITTIIOINAG TAHLAWAXONYHEA ON SHA SHA - SOO ZOEd6z

(dsets [Seat eaTAeq euTdezetTpozuag] SOO7TORALZ

yats djteu) dees Bu 00°T WYdaZvVaol ON ON SHA - SOOZAONST
[SUTTT TOTUSd
SATITSUSS Saseweqoey-eqeg]

WOISS 9O0O0TNYEST

sseosqe Tequeq 5w 00°0007 WLOd NITIIOINHa IAHLEWAXONHHE ON SHA ON - 900CNYCCT

(WwaTYIATT) 900CNVC'EO

Teprostp T azeTtodtg Bu 00°0s% BLYNOGaYO WNIHLIT ON ON SHA - SOOZAONST

[SeaTqeaTteq eutTdezetpozueg] SOOCONA8~ 900cTIN9~
deeTs Bu 00-2 WYdaZvao1l ON ON SHA - S00 ZcDad8e -900¢NWC7O dL5 I0 7Z09ET0H

[seatqeatszeq prow Aqjeg] 900CNVC VT

Iepiostp szejTodtg Su na WOICOSIWHS ALVONdTYA ON SHA ON - 900CNYC7O
[sueBoyseborg]

oT qdases quaD Bu 00°OST LVLSOV SANOUMLSHDOUdAXOUCEW ON SHA SHA
[SeATIeATIeqd ppToy oTuotdozg] AONTLNOO 900CNVLOT
SSUTEIBTW Bu o0°009 NaAOudnaT ON SHA SaA -MINA -900CNWCTO dLl5 I0 €Z09fT0H

[SeaTqePAtTiraq sautdozy

79 eutdeszl JO S19 2g] 900cTdHA0e 9007TEHATC
AOQUerL Bu 00°2 HNTIdOULVZNead ON Sax ON - 900744 9T -G002O4Nd8z dlS 10 ZZ09€T0¥
NOT LYWO TANI gS0q [NOILVOIMISSVIO NOILYOICHWN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GITTT JO Zzz abed

CONFIDENTIAL
AZSER12771594
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 43 of 90 PagelID 85629

vorl

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[SeATIeATASq ptoy Aqqeg] 900CNVC ZZ
Iepiostp J azetodtg Bu 00°0S2 WNIGOSIWHS HLYOUdTVA ON ON Sada -¢yINN
[eouspusedeq
SUTIOOIN UI pesg sbnaq] S900ZNWLTZ
Zeprostp I azetodta Su 00°00€ HATAOTHOONGAH NOTdONdNa ON ON SaA —-INN
[seutdezetyL
uot ssaizdap aS puy seutdezexo ‘sautdezetq] 9007ZDNVLT
I azeqtodtg Bw 00°00L HLVYVWNA ANIGVILHYNG SHA ON ON -900c INC 8ST
[Seats Tndozdt uy]
STITT 4IUSOLAS ED) Sqei 00°74 HOIWNVasdOT SaA ON ON
sqetTqeq [suotqesederzg yanustg] 900zINryo 900ZTNI8T 900cCNNLOZ
STITASquUS0rAASeD 00°S GLVIAOTTIVSGNS HLAWSIG@ Sada ON ON -900cINrlvO §=-900ZNNrTz2 -900CNWLE? TWA / W1d 9709fT0H

[sotqewtwoyqedwis]

a
SSouTTT exTT-NT4 Su 00°09 GIMOTHOONGAH SNIWGHHANOAGNASd ON SHA ON
[SeptT Tuy] 9007EHAPZ
SSSUTTT SXTI-NTa Sw 00°000T TOWWLHOVAVd ON SHA ON - 9007EHATZ
(wn tyat Tt) 900ZAYWEO
Teprostp T zetodtq@ bw oo-o00e ALYNO@duvyO WOIHLII ON SHA ON -90072NYEP FZ
[SSptT tty] 900ZAYWED 9007HdVEO
uted azeprtneys Sw 00°000T TONWLHOvVavd ON SHA SHA - 9007NVLET -900ZNVWL PZ dL IO SZO9ETON

[TOFTGTYUL sseweqoey-eqeg

TOUT SUTTTTOTUad FO sqwopD] 900¢dH4S0
UoTZOSJUT snuTsS 6w Qo*o00T NITIIOIXONY ON Sada ON -900CNWL9C
[seuoToutnbozontT gq] 900c¢NYCS2
sseosqe Te wed Bu 00°007 HCTSOTHOOUCAH NIOVXOTAIXON ON SHA ON -900CNVLD9T
(wntyat TT] 900cONYTSe 900c INIT
Zeprostp T azeTodta Bu 00°006 HIVNOGaZO WNIHLIT ON Sax ON -900CNYLET -900ZNVIPO dlS 10 yZ09CT0F
NOT LYWO TANI gS0q [NOILVOIMISSVIO NOILYOICHWN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO €22 abed

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Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 44 of 90 PageID 85630

sor!

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[seatqeatszeqd ptoy Aq eg] 9007THUNSZ
Teprostp I zetodtq bw oo-o0ss WOIGOSIWHS HLVOUdIVA ON SHA ON -900@NWPTE
[SUOTJeUT QUOD
pexta ‘sueborz sq
puy suebo jsebord] HNNILNOD 9007aHAIT
eatydeoerszquop gqea oo°t THULSHDYUONOAHT ON SHA SHA -INA -900@NWITE dLO IO LZ09€T0F
sqeTqey [seats Tndozdt uy] 9g00zInrst
ealrzetd 00°2 HOINVAHIOI SHA ON ON -900ZINLLT
[SSATICATASC Ptoy oTUOETdorg] 900ZINOLT
eyoepesH  6u 00°00F NH40udnNgdI SHA ON ON -900ZINLLT
[seats Tndozdtjuy) 900zTar90
SsTqpTzequecsaqsep =. Seq 00°2 HCIWWHHdOI SHA ON ON -900zTINr90
[seatqeatszeq prow Aqje,] 9007ONWLT
Teprostp I zetodtq@ b&w oo-oszt WOIGOSIWHS HLVOUdIWA SHA ON ON -9007NNPLZ
[SSATIPATA9G
puy SpTOTeXTY wntdo]
s7eTqeq a 9007cHdVTO
suoqdudAs sxt[-n 4 00°% CIYOTHOONGAH HNINGHHEaHOMNASd ON SHA ON -9007HaYTO
qsoeyo uo yser [szeuaq TANTeouTwy] 900ZAWNZT
- APTaTTe JoequoD Bw 00°Sz ANINWHCAHNSHdIG ON SHA ON -9007HYNZT
[seatqeatszeq prow Aqjeg] 900cCNNC9C
Ieprostp J azeqtodtq bw oo0*o000T WOIGOSIWHS HLWONdIWA SHA SHA ON -9007H4L0
[SSATIPATI9q
puy prow oTTAoTTes] 900¢dH4S50
wanqqzeeH = SB 00'E HIVNOGaVOIa WOIGOS ON SHA ON -90078H4S0
[seatqeatszeq prow Aqje,] 900¢da490
Tepiostp J zejTodtq bw 00°00s WOIGOSIWHS HLVOUdIVA ON SHA ON -9007NWLEZ
quewetddns [UTeTd ‘SUTWEQTATITNN] 900TONWLT 9007INLST 900TNNLOT
TeuoTITAINN qea oo°T SON SNINVLIA SHA SHA SHA -SOOZAONST -900ZNOTTZ -900ZNWLEZ TWA / Wd 9Z09ET0H
NOILWOIGNI gs0qd [NOILVOIdISSVIO NOILWOIGaW)] ca TO Wold ALwa dOLS HLvd dOLS Wivd dOlS INEWLYAaL 4dqo0o
WHEL OINENED NOLLWOIGHN NEMVL NOILVYOIGEN -HIVd LYWLS -HLVd LYWLS -31Vd Laws Loarans
NOILWOIGHN daZINOGNWA ‘Taav1 Nado

GITT JO ¥ZZ abed

SUOTIEO TPA

6-OT° 2°21 Butasty

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AZSER12771596
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 45 of 90 PagelID 85631

s97xdoy «GPF ET? LOOZHYNZO

9941

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

[SeATIeATASq ptoy Aqqeg] SOOZCONYTE
Iepiostp azetodtg Bw 00°00S WNIGOSIWHS HLYOUdTVA ON Sada ON -SOOCNNLOE
[Sl0qsq PTOW oOTweqzeD] SOOCAONSO
eth TeAmorqty Bw 00°00L JOCONdOSTIYvVO SHA SHA ON -SOOCNNCLT
[seutdezertyL
puy seutdezexo ‘seutdezetq] sooznnrso
Iaprostp J zeTodta Bu 00°00€ HLVaWWNA ANIGVILENS ON ON SHA -SOOcNNCLO
[seutdezeryy
puy seutdezexo ‘seutdezetq] sooznnr90
Iepiostp J azetodtg Bw 00°002 HLVYWWNA ANIdVILHYNS ON ON SaA -sOOcNNrso
[seatqeatszeq prow Aqje4] SOOCNNLCOE
Zeprostp I azetodta Bu 00°05z WONIGOSIWHS HLVONdTVA ON Sax SaA -SOOcCNNPEO
[seutdezetyL
puy seutdezexo ‘seutdezeta] soocnnryo
Zeprostp J azetodtg Bw 00°00T HLVYWWAA ANIdVILHNS ON ON SaA -SOOCNNCeod
[SeptT Tuy] SOOZLOOOT
NTF PTSO deo 00°T GIVNIOONS ANINVIAXOG SaA ON ON -GOO07LOOEO
[steasq ptoy otTweqrep] soo¢cNnreo
eth eAworzgta Bu 00°00L TOCOUdOSTYYD ON ON SEA -yINO
[Seatzeatseq ptoy otuotdozg] HANTINOD S007LDO90 SOO07TdHS6C
uted yoeg Bu 00°008 NHAOuNdNEdI SHA SHA SHA -MNN -SOOZ@dHSO€ -SOOZNN60 TWA / W1d TOOLETOR
[SUOTIeUTCWOD
pexta ‘sueborz4sy
puy sueborsebord] HONILNOD
Nad Tosz4ues YAtt?” 0 THULSHOONOLA ON ON ON -GOO0ZAONTO ONISSIWN 6209CTO
[wn Fy3t'T] 900TAVNIEO 9007TdHATO
Teprostp I szeTodta Bw 00°009 HIVNOGaZO WNIHLIT ON Sax ON -900CNYWCPTE -900ZNYWITE diS IO 8Z09€T0¥
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTTT JO Gzz abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771597
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 46 of 90 PagelD 85632

L9vI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
o/p I azetodtad
YITA peqetcosse [SSaTIeATAaeq euTdezetpozuag] soozinr6o
uoTIeIT by bu 007% WYd4ZVaOl ON SHA ON -SOOcNNL6O
[seutdezeryy
puy seutdezexo ‘seutdezetq] sooznnr6o
o/p T zetodtg Bw 00°00€ ELVYWNOA ANIGVILANS ON DaA SoA -SOOcNN’'BO
[seutdezetyL
puy seutdezexg ‘seutdezetaq] soozcnnr4o
o/p T azetodtg Bw 00°00z ELVYWWOA ANIGVILING ON ON Sada -SOOcNNPSO
[sotqoyoAsdt uy] sooznnrzo
o/p T azeTtodtg Bu 00°ST a lIOzvddIdlyy ON ON SaA -SOOCcNNCTO
[seatqeatszeq prow Aqje,] soocIonréo
Zeprzostp T zeqTodtq Sw 00°o00sT WNIGOSIWHS HLVOUdTIVA ON SaA SaA -SOOCNYI'TO
[seutdezertyL
puy seutdezexg ‘seutdezetq] SoocNnryo
o/p T azetodtg Bw 00°00T BLVYWWOA ANIGVILINS ON ON Sada -SOOcNNPEO
[SeaTIeatieqd ptow otuotdozg] 4HONTLNOS SOOcNNL60
uted yord Su 00°008 NadO0uddndI ON SaA SaA ANA -SOO0cNNL60 dlS IO ZooLetoy
[seutdezetyL
puy seutdezexo ‘seutdezeta] SOOZAONSO
Zeprzostp azertodtg Su 00°009 ELVUWNOA ANIGVILANS ON ON ON ~-S00¢L000¢
[seatqeatseq ptow Aq eg] SOOCAONSO
Zepzostp aetodt@ Sw o00°00sT WONIGOSIWHS HLVOUdTVA SHA SHA ON -S00CdHS9C
[szeuaq TANTeouTwy] SO00ZLOOCO
se breTTe [Teuoseses Bw 00°05 ANINVYCAHNEHAIG SHA SHA ON -SOO0cdHSve
[seatqeataszsq ptow Aq eg] SOO0CdHS9C S00cLO0090 SOO0CdHS6C
Jepiostp azetodt@ Sw 00*o000T WOICOSIWHS HLVOUdTIVA ON SHA ON -SOOZDONYTE -SOOZdESOf -SOOZNNL60 TWA / W1d TOOLETOR
NOLLYOICNI Hs0qd [NOLLVOISISSVIO NOILYOICSN] da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GITT JO 922 abed

SUOTIEO TPA

6-OT° 2°21 Butasty

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Bu 00°08

Bu 00°05z

sygnd 00°7
Bow 00°02

IT O0°E€

Su 00°02

S34TUN 00°06

ggzxdoyx

SP FET? LOOcCHYNZO

[sotqdeTtdetquy 19110]
HLWWvaldo.L

[UTeTd ‘sepqtweuoy{ns]
SHCIWeSoudna

[Sept Torey]
NIDAWOUWHLI ZY

[sas tuoby
Jojrdeserouerpy- z- e418
SATIOETSS]

TIOWZLNETZS

(untsse jog]

WOISSWLOd

[sqonpold

weqshg Aroqeatdsey 7YyI0]

NHDAXO

[S202 FQ EUUI
eseqcnpsey eopD Buy]
NILYVLISVAOT
[Q0Vv-3se4° QUOD
butqoy-pewzequl
‘senbo[euy/sut [Insult]
OI LAHLNA

SOId NVYWNH ‘SNVHAOSI NITOSNI

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ses*QOTPeW IST 600TZOZTI/313/3ndano/ds/9ZT00°L¢PIp/Tenbotes/pord/eisa/

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SOOCNNPET?
-SOOCAWNIEZ

SOOcNNLE?
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SOO0ZLOOFZ
-S007LOO0Z

CONFIDENTIAL
AZSER12771599

[seseestq AeMATY TASqO 10g
sBniq 2euj0/sotTbrzsueszpy]
HLYNOTdOdd ANOSWOILNIA SHA SHA SHA

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Tepzostp T zejlodtg

Tepilostp I zeTodta

sjgnd 00°2z
6u 00° 002

Bu 00°05z

Bu o0°004

[sqTxo}]
dL XOOd THO

[SeaTIeAtTied prow Aqqeg]

WNIGOSIWHS WLYOUdTIVA

[seutdezertyL

puy seutdezexo ‘seutdezetq]

ELVSWWOAA ANIGVILEno

SHA

ON

ON

Sada Sada

Sada SaA

Sax SHA

HANTLINOD
->INN

SOO0¢dHSLO
-goocInrso

soocIoncvt
-SOOCNNCTT

900Z2NNL90
-Q900CNYL9T

900¢NYCST
-GOOCNNIOE

Sso0cdHS90
-GOO0ZTINIZT

TWA / WId POOLETON

di5S IO €00LETOR

NOT LYWO TANI

asod

[NOILYOIAISSVIO NOILYOIGIN]
WHHL OISHNHS NOILYOICHW NAMWL

da

IO wold

aLvVa dOLs

NOLLVYOIGHN -HLVYd Lav.Ls

NOILYOICSN

aL¥d dOLs
-HLVd LAvLs
daZIWOdNva

aLV¥d doOls
-aLVd LAWS
THav1 NadoO

LNGWLYA aL

qdadod
Loarans

GTTT JO LZz abed

SUOTIEO TPA

6-OT° 2°21 Butasty
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s97xdoy «GPF ET? LOOZHYNZO

69rI

ses’ ooTpew

AST 600TZOZTI/FT3/andano /ds/97T00°L FFT P/Tenborzes /pord/aiso/

[uteTd ‘SsroqtTqTyUT soy] 900eTNnlrg90
uoTsueqredAy Bu og°z TIMdONISITIT SHA ON ON -900TAdVLT
[seoueqsqns
peqeley puy sutzodsoteydap] 900CNV¥CLO
WOTIOSFUT 809 AZST Sw 00°o000T NIXSTVAHD ON Sada ON -900CNYCTO
[S@ATIPATASq ptoy Aqqeg] 900c Inrg0
o/p T azetTodtg bu oo*00Gz2 WNIGOSIWHS HLVOUGTIVA SHA SHA ON -GO0O0CdHSTe
[seatqeatszeq prow Aqje,] SOO0¢dHS zz
o/p tT azetTodtg bu oo0°000z WNIGOSIWHS HALVOUdTIVA ON SaA ON -SOO0cTONYST
[s6n2q
pe qeley eutdezetpozueg] SOOCAONET
eTUWOSUT Bu 00°0T GLVaLYVL WHOIdIOZ ON Sada ON -SOOCINCET
[eouspusedseq
SUTIOOTIN UI pesg sbnaq] soozinreo
uorsseidep rzeTodtg Bu 00° OST HCIYOTHOOUCAH NOIdoOuwdnd ON SHA ON -soocTorito
[uted ‘seppweuoztns] 9007 TNL90
ewepa Bu 00°07 HOIWSSOdNsA SHA SHA ON -GOOCNNPOE
o/p azeTodtg
Ol peqejTer [SeaTqeATAeq suTdazetpozuag] GSOOZAONET
wo7 e Tbe /etmosuy Bu o0°z WYdHZVaoOl ON Sada ON -SOOcNNrOE
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOCNNO’
Iapiostp zejtodtg Bw os's YHNIGVZNVIO ON ON Sada -SOOCNNL9T
[seat eatszed ptow Aqzeg] soozanwsz
Zeprzostp aetodta bw 000002 WNIGOSIWAS HLVOUdTVA ON Sada SaA -GOOCAYNOE
[eouspuedeq
SUTIOOTN UI pesn sbnaq] SOOcNnroe 900cNNL90 900CNYLST
uo7sseidep ze TOdT¢q Bu 00°00€ HOTYOTHOONGAH NOTdOwdNa ON ON SHA -SOOZAYWOE -900ZNYP9T -SOOZNNrOE TWA / W1d POOLETOR
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdoo
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO azz abed

SUOTIEO TPA

6-OT' 2°27 Sutasty

CONFIDENTIAL
AZSER12771600
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OLrI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[s6n2q
pe qeley eutdezetpozueg] 900cCEHH4HEO
eTUWOSUT Bu 00°0OT HLVaLYVL WHCIdIOZ SHA SHA SaA -SsoocIneyqto
[seutTdezertyuL
puy soutdezexg ‘soutdezetq] SOOcNNLOE
Zepiostp I zetodtg Bu 90°0z HNTdVZNVIO ON ON SHA -SOOCNNP LT
[squesseadeptquy 25430] soocviIne so
BTUWOSUL 5u 00° 00T HNOdOZVaL ON ON SHA -SOOCAYWTO
[seutdezeryy
puy seutdezexo ‘seutdezetq] 9007GH4 £0
Zeprzostp J azeqtodta Bu 00°00€ ELVYWNOA ANIGVILANS SHA ON ON -900CNVI'VO
[UTeTd ‘SseptZzetya)
uot sueqrsdAH Bu 90°Sz HQCIZVIHLOAOTHOONCAH SHA SHA SHA
[UTeTA ‘STOATqTYUT Soy]
uoTsueqredAy Bu 00°07 HQTAOTHOOUGAH 'ITHGHZVNHA SHA SHA SaA
[PATIOSTAS
‘squeby SutyooTa ele] HONTLINOS 900cNYC7O SOOCAONOE
wot sueqredéy Bu 90°05 TOIONYLY SHA SHA SHA -MNQ -SOOZOHQTO -SO007INrSO TWA / dLB 900LETOH
[seatqeatszeq ptow Aqjeg]
o/a azetodtg Bw 00°0S2 WOIGOSIWHS ALYOUdTIVA ON ON ON
[sotade{,tdetquy 79740] AONTLNOO
SSuTeIBSTH Bu 00°00z2 HLYNVaIGOL ON ON ON -SO0O0cadYTO
eseostTp xnTjper [StoaTqtyUL dung uojo7r4] AONILNOD
Teoebeydossorq4sep Bu 00°02 WOISHNSVYN SIOZVAdHWOSH ON ON ON -S00¢cdaH4ATO ONISSIN SOOLeETOR
[seutdezetyL
puy seutdezexo ‘seutdezeta] 900zInr90
Zeprzostp azertodtg Bu 00°004 ELVUWNOA ANIGVILHNG SA ON ON -900cNNL90
[uTzedey *ToOxy STOYTQTYUL
uotieberbby 4eTSIeTd] 900zINr90 900ZNNr90 900ZNVLST
esn oT qoeTeydorzd 6u o0°Ts (IOV OLTTIAOITIVSIALHOY SHA ON ON -900ZHAV6T -900ZNWP9T -SOOZNNLOE TWA / W1d POOLETOR
NOLLYOICNI Hs0qd [NOLLVOISISSVIO NOILYOICSN] da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

GTTT JO 622 abed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

CONFIDENTIAL
AZSER12771601
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 50 of 90 PagelD 85636

IZvI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[SSATICATASC suTdezetpozuedg] SOOZDNVFT
ewyasy Bu 00°2 WYd4azvao1 ON ON ON -SoozIOArZz
[sbnad
peqetey sutdezetpozueg] SOOZONVTT
eTmMMOSsUy Su 00°OT FLIVALNVL WHAOId10Z ON ON ON -SoOzTOArtz
[SSATIeATASq Ptow Aqqeg]
Zeprostp I zeqtodtq bu 00°005 WOIGOSIWHS HLVOWdIVA ON SHA SHA
[sotqoyoAsdtjuy 78730] soocinarte
Japzlostp J aetodtg Bw 00°7 HNOGIMHdSTM ON SHA SHA  -SOOZNNT90
[seutdezetyL
puy seutdezexo ‘seutdezeta] soozimnrzLo
Zeprostp J azetodtg Bu 00°ST ANIGVZNVIO ON ON SHA  -SOOZAVWTO
[sotade,tdetjuy 181730] sooziar90
Zeprostp J azetodtq 6w 00°00€ HLWNVWaIdOL ON ON SHA -xINA
[seatqeatTszeq prow Aqje,] sooc Inet?
Teprostp I zejTodtq bw oo-o0ss WOIGOSIWHS SLVOWdTWA ON ON ON -SO0OZTINITZ
[suTWeEATA JO SUOTIeUTqNOD]
queueTddns yaTesu qe. oo°t SON SNIWWLIA ON SHA SHA
[S204 TQTYUL
eT aseqonpey eoo Buy]
weuTor4se Toyorzedéy Bu 00°07 NILVLSVAOI ON SHA SHA
[S4uUST TTOwH ‘ SiSueqjos]
uotiedtasuo> Hw 00°o00T WOIdOS HLVSND0d ON SHA SHA
[SOATICATA od
puy SptoTexTy wntdo] HONILNOD SoozINLST
Nad- seysoepeey Bw 00°T HNIH000 ON SHA SHA -MINA -SoozINrLo dLO 10 LOOLETON
[seatqeatszeq prow Aqje,] 900¢dHe4e0
I zejTodtq Sw 00°0SL WOIGOSIWHS ALVONdIVA SHA SHA ON -S00ZdESZO
[seatqeataszsq ptow Aq eg] S007TdHSZO 300ZNWL0 SOOZTAONOE
Zepiostp IJ azetodtq Sw o0o0°00s WOIGOSIWHS HLVONdIVA ON SHA ON -SOOZIONF80 -SO0O0ZDEdTO -soozINrsO TWA / dLO 900LETON
NOILWOIGNI aso0qd [NOILVOI4ISSVID NOILWOIGaW] ca TO ¥WOIud Lvd dOLS 4Lvd dOLS 1Vvd dOLS INEWLVAUL aqoD
WHHL OIMENAD NOILWOICGHW NENVL NOILVOIGEN -Hlvd LaWLS -HLVd LYvLS -31Vd Lavis Loarans
NOILWOIGSA daZIWOGNVH ‘THav1 Nado

GTTT JO O€2 Obed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771602
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 51 of 90 PagelD 85637

cLri

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[squesserzdeptauy 780] sooconyeo
uorsseidep azeTodtg Bu 00°SL HQTYOTHOONCAH ANIXVAVINHA ON ON SaA -soociInarad
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOZONVEO
T aetodta Bu o0°O0€ BLVYWWOA ANIGWILENG ON ON SHA -SOOCAYNE?
[squesseadeptquy 19430) SOOCIONP LS 900cCDNVTE SO0cOHadg9z
uorsseidep azetodtg Bu 00°0ST HQTYOTHOOUCAH HNIXVAVINHYA ON ON Sada -MNN -SO0O0ZDHdLZ -SoO0zZpNVEO TWA / dLO OTOLETON
[S®EATIeATAeq SsuoUEYdozAqng] 9007HAV9T
Jepiostp zeTtodta Bu 007s SLVONVOUC TOCIAHdOTVH SHA ON ON -900CAd VST
[seatqeatszeq prow Aq3e,] 900TAVINST
I azeTodtg bu 00°02 WNICGOSIWHS HLVOUdTVA SHA SHA ON -SOOcINOET
[Squeesneutquy
puy SOoTqeweETIUY]
butqAtwoa s soOozcINCAT
pue eesnen dsqi o00°¢€ queesneUTIUY PUY SOTJewWeTIUY ON ON SHA -SOOCIONOLT
[s6naq
peqetey sutdezetpozusg] S9O00ZAYNGT
eTuMosut Su 00°0OT HLVaLavVL WHCIdIOZ SaA SHA SaA -SoocNnroe
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOO? IN’6T
I ae todta Bu 00°00z2 BLVYWWOA ANIGVILING ON ON Sada -SOOcNNPOE
[SeATIeATASd ptoy Aaqeg] SsoocInrget
I azetodta Su 00°005 WOIGOSIWHS ALYOUdTIVA ON ON SaA -SoocNnroe
[sptotdo zaya0] 9O0O0ZAYWST
(uid) uted oT3eToOs Bw 00°05 JOQWWWHL SHA SHA SHA  -SOOCEHATO
[SOEATIPATAEQ epTwexoqzeD] sooznnrra
I azejTodtg Bw 00°002 ANIdHZVddwoXO ON ON SHA -S007CdHATO
[SSptTtuy] HONTLNOS 900CHdVST S9O00CHHAET
soyoepesy suetOTW Bu o0°SZE HNELGHHLAWOSI SHA SHA SHA -MINQ -900Z@R4~T -SOOZINTE6T TWA / W1d 800LETOR
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO TEzZ abed

CONFIDENTIAL
AZSER12771603
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 52 of 90 PagelD 85638

eLrl

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[SSATIeATAEQ PToy otTuctdoz¢g]

SeuTeIBTW Bu 00°007% N34AOedNaI ON SaHA SaA
[SPATIeATIeq pToy oTuoTtdozg] HONILNOD GO0ZOHAEO
STIATAYAY Bu 00°00% NaHAOddNHI ON SaA SaA -27INO -S007LS0VT dLS IO ZTOLETON
(wntyatT] 900ZAWNGT
Jepiostp azetodtg Bu 00°00€ WOITHLI'TI ON Sada ON -90072NVLSO
[saaTqeatzaq prtow Aqqeg] 900ZNYL TO
o/p I zeTodtg bw 00°005 WOIGOSIWES HLVOUdTVA ON SHA ON  -S00zDNwSz
[seaTaeatzeq prow Aaqeg] Soozanysz
o/p I azetodtg Bu 00°0S2 WNIGOSIWHS HLVOUdTIVA ON SaA ON -S007cOnNTeT
[seutdezetyL
puy seutdezexg ‘seutdezetq) GOOZDNV6T
o/p I azetodtg Bu oo's HNIdYZNVYIO ON Sada ON -SOO0zconweT
[seutTdezertyuL
puy soeutdezexg ‘soutdezetq]
o/p I azeTodtg 6u 00° 00T SLVaVNNA ANIdVILHYNO ON ON SaA
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOZTDNYZT
o/p I zetodta Bu 00°0T HNIGVZNVIO ON ON SaA -sooconwso
[SseutTdezeryL
puy seutdezexg ‘sautdezetq] soozpnyvso
o/p I azetodtg Bw 00°ST HNIGVZNVIO ON ON Sada -soocNnroe
§g0a72epes
puy sotqoudéyH 2830] 900CAVNTT 900CEHHACT
eTuMmosul Bu 00°Sz HNINVACAHNAHAIG ON SaA Sada -SOOZAYWW6T -SOO07cONVeT dL5 IO TTOLETOE
[seatqeatszeq prow Aqje,] 900¢dxeS0€
T aeTodtg 6u 00°00S WONICOSIWHS HLWOUdTWA SHA SaA ON -soozonws7e
[seatqeatszeq ptoy Aqjeg] soocOonwsc 900cONVTE S00cOHdIT
T azetodta Bu 00°0SZz WNICOSIWHS HLVONdTVA ON SHA SaA -SOO7INGLZ -SOOZDEALZ -SOO0ZDNVEO TWA / dLO OTOLETON
NOIIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO dwoldd aLvd dOLs aivd dos aLVd dOLS LNEWLVaaL adoD
WaatL OTHHNHD NOILYOICGSW NAMVL NOIDVOICHN -SIVd LAVLS -HLVd Lavis -aLlvVd Davis Loadrans
NOTIVOIGHN dxZIWOGNVS THadvl Nado

GTTT JO zez abed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

CONFIDENTIAL
AZSER12771604
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bLrl

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[seutdezetyL
puy seutdezexg ‘seutdezetaq] Soozonv—tz
o/p aetodtg Su 00°00T ELVYWNOdA ANIGVILYNS ON ON SHA -SOOcONTET
[S®aATIwATASG sUTdEzeTpozuEg] 9007TdHSTZ
uoTIeAT BY Bu 00°T WYdH2ZVadO1l SHA SHA SHA -soociInrsd
[STOATOTYUYL
eseqjonpsy eoD Buy] 9007TdHST~
ToryseToya yBTH Bu 00°0z2 NILYVISVAOT SHA SHA SHA -soociInrwto
[SquUeTzINN
JO SUOTIeUTqUOD 70]
- S34 SOOzcTONnTBT
quewetddns yaTeeH Bu 00°00F STTINN JO SuCTIeUTqUOD 7ZeyI0 ON ON SHA -SOOCAWNTO
[squesserzdeptqauy 7820] sooconvyst
uo7ysseidep zetodtg Bu 90°09 ANILEXOING ON ON SHA - INA
[SOATIPATISG STOZEPTWI
Bupyupequop-angqns] HONILNOOS 900ZONTEC 900CAWNE CZ
ws Tp TorAyqsedAy Su 00°ST HIOZVNVIHL SHA SHA SHA -MNN -900Z7HYNOE -SOOzDNWPc IT / dLO ETOLETON
[sbnad
peqeey sutdezetpozueg] 900ZNYLZO
eTuUWOSsUy 5u 00°OT HLIVaLYVL WHCIdIOZ ON SaA SHA -G00cdHS90
Geer FABpes
puy sotqoudAyH 7820] SOOZLDOFT
eTuMmosut Bu 90°0S ONINVAUGAHNHHAId ON ON SHA -S00¢cdHS90
[seatqeatszeq prow Aqjeg]
I azeqtodtg 6w go°o000T WNIGOSIWHS ALYOUdTVA ON Sada SHA
[S®aATIATASG sUTdEzeTpozusg] S900CTNWLZO
uoTIeAT HY Bu o00°2 Wwdzvaol ON SaA SHA -sooconyco
[seutdezertyL
puy seutdezexo ‘seutdezeta] SOOZLOOFT GOOZOHAEO
I zeTodta Bu 00°00z2 BLVAWNNA ANIGVILHNO ON ON SHA -Ssoocanyzo -SO0ZLS07T dLS 10 ZTOLETOX
NOITLYOICNI asod [NOLLYOISJISSVIO NOILYOICEN] da TO dwoldd aLvd dOLs HLYd dos aLvVd dOls LNENLYYaL ddoo
Waal OITHHNAS NOILYOICGHN NANWL NOILVYOICHW -HLVd LAVLS -dLvd LAVLs -aLlvd Lavls Loarans
NOILWOICHN dHZIWOGNVaA ‘THadv1 Nado

GTTT JO €€2 Obed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771605
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s97xdoy «GPF ET? LOOZHYNZO

SLrl

ses’ ooTpew

AST 600TZOZTTI/F13/3nd3ano /ds/9ZT00°L 77 TP/Tenbotes /pord/aiso/

[wn ToTeD]
quewetTddne yates TItd oo°t WOISTYO ON SHA SaA
[UTETA
‘(D uTWweITA) PTOY oTqQrOoSsy]
quewetddns yaTeeH  TItd 00°T GIO¥ OIGNOOSY ON SHA SHA
[uoTaonpoerg PTow_oOTin
*squtol 105 butqatqtyul suotqeszedazg] SOOZLOOLT
queweTddns yaTeeH TItd oo0°T TIONTANdOTTY ON SaHA SaA -GOO0cHdYTO
[S20ReTNpoyW z0I7dSe.eq
uaborzqsy SAT OeTAas]
STATUS 08450 Bu 00°09 HCTHYOTHOOUCAH ANHATXOTVa ON SaA Sada
*“T ZeTodtq yaTM [SSATIeATIAQ SsUTdezeTpozusg] SONTINOO SOOZdHSLT
‘oosse AqetTxuy Bw os*t WYddZVaO1I ON Sada Sada -¢INN -S00¢dHSL0 dL5 IO PIOLETON
[s6n2q
pe qeley eutdezetpozueg] 900cTINP 9
eTUWOSUuT Bu 05°21 ELIVaALIVL WHOIdIOZ Sada ON ON -900c Info
[uMntyatT] 9007EHSTZZ
o/p zejTodta Bu 00°006 HLIVNO@avO WONIHLIT sSsadA SHA ON -900CdeAc?
[wntyatT] 9007HHAZZ
o/p zejTodta Bu 007009 HIVNO@ddvO WOIHLIT ON Sada ON -900CNWCP6T
[wntyatT] 900ZN¥L6T
o/p azeTodtg 6u 00°00€ HLIVNO@avO WNIHLII ON SaA ON -SOOZAON6T
[seatqeatszeq prow Aqjeg] SOOCTAONBT
o/p azeTodta Bu o0°0SL WNICOSIWHS HLVONdTVA ON SHA ON -GOO0¢CdHST?
[SeATIeATASq ptoy Aqqeg] SOO0CdHS ce
o/p zeTodtg Bu 00°00s WNIGOSIWHS HLVONdTIVA ON SaA ON -GOOCONYTE
[seutTdezertyuL
puy seutdezexg ‘soutdezetq] soozonvre
o/p azeTodtg 6u 00°002 SLVUVNNA ANIGVILANO ON ON SEA -soozconwec
[seatqeatszeq ptoy Aqjeg] SOOTONYTE 900TONYET 900TAVNGT
o/p azejtodta Bu 00°0SZz WNICOSIWHS HLVONdTVA ON SHA SaA -SOOzZDNY6T -9007HYNOE -SOOZDNWPZ IT / dLlO €TOLETON
NOIIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO dwoldd aLvd dOLs aivd dos aLVd dOLS LNEWLVaaL qdadod
WaatL OTHHNHD NOILYOICGSW NAMVL NOIDVOICHN -SIVd LAVLS -HLVd Lavis -aLlvVd Davis Loadrans
NOTIVOIGHN dxZIWOGNVS THadvl Nado

GTTT JO FEZ abed

SUOTIEO TPA

6-OT' 2°27 Sutasty

CONFIDENTIAL
AZSER12771606
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 55 of 90 PagelD 85641

9LVI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
z edAq [septuenbtg]
SsnaTTTew seqeqeta 6w 00°000z NIWHO4LSH ON SHA SHR
[UTeTq ‘SstOqTqTYyUI soy] HONILNOO SOOZAONST
uoTsueqredAy Bu 90°s ACIWOIHOOUGAH TIWGHZVNHE ON SHA SHA -INN -§00ZL0090 dLO 10 9TOLETON
[SEATICATISQ STOPUT]
tepiostp azertodta Bu 00°08 HQIMOTHOOUGAH SNOGISVHdIZ ON SHA SHA
[Seatqeatseq ptoy Aqjjeg] SOOZAON8O
Zepiostp zetodta bu 00°0sz WOIGOSIWHS HLVOWdIVA ON SHA SHA -S00ZLOOSO
[SSATQPATI9Q STOPUT] SO0cLO090
Zepiostp aetodt@ Su 00°0zT HCIMOTHOOUGAH SNOGISWVHdIZ ON ON SHA -SO0O0ZGHSSO
[S20ITQTYUL exyeadney
UTUO OL 3s BATIOS TES]
Jepzostp aetodta Su 00°o0T ACIYOTNOOUGAH ANITIVNLYHS ON SHA SHA
[septuenbtg]
Zeprzostp aetodt@ Sw o0°o00T NIWHO4LHH ON SHA SHA
[S102 TqTyUI
uU aseqjonpey eoD Buy]
TuWeTOTese Toyor1sedAy 6u 00°0F NILWLSVAOI ON SHA SHA
[S®aTIeATAGG PToy oTuoTtTdorg]
uted yoeq Su 00°008 NHAOWGNGI ON SHA SHA
[uteTd@ ‘StOITqTYUL Soy]
uotTsueqasddAH Bu 00°02 ALVATVW TIMdVIVNES ON SHA SHA
[saeyuqq TAYTeOUTWY] HONILNOD S00ZLOO60
seTbre Ty Bu 00°05 SNIWVYGAHNSHATG ON SHA SHA -MINO -S00ZL0090 dL3 IO STOLETON
[SeaATIeATANGq euTdEzZzeTpozueg]
eTuUWOSsUr Bu zo WYIOZWINL ON ON SHA
[squesseizdeptquy 7eT7I0]
eTuwosur Su 00°00T HNOGOZVHL ON ON SHA
[S20ITQTYUL exyeadney
UTUOIOASS SATIOSETES] GOOZdHSLO
uot sseideq 5u 00°OT HIWIWXO WYYdOIVLIOSH ON ON SHA -SOOZDNWLO
[SUTWEITA JO SUOTIeUTqUOD]) GOOZLOOLT SOOZ4HSLT
queweTddns yaTteesH TITtd o0°T SON SNIWWLIA ON SHA SHA -SOOZHdYTO -S00Z4HSLO dL 10 PIOLETOa
NOILWOIGNI Hsod [NOIL¥VOISISSVIO NOILWOIGEW)] ca TO WOINd LWd dOLS HLvd dOLS LVd dOLS INSWLVAUL aaoo
WHHL OINENHD NOLLVOIGHW NSNVL NOILWOIGHN -HLVd LYWLS -HLVd LUVLS -HLVd LYWLs Loarans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTTT JO Getz abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771607
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CONFIDENTIAL
AZSER12771608

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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[SeATIeATASd ptoy Aaqeg]

I azeqtodtg 6n 00°0SL WONICGOSIWHS ALVONdTIVA ON Sada SaA
[SSATIPATION
autptzAdorzpAytaq]
uoTsueqzedAy Bu o0°0€ ANIGIGS4IN ON SHA SHA
[UTeTd ‘SAOATQTYUL soy] HANILINOD 900cdH460
uot sueqredéy Bu 00°Sz TIadOLdvo ON Sada SaA ->INN -GOOCAONTT dLO IO TZOLeTtoa
[seatqeatszeq prow Aq3e,] SOOTAONOZ
I azetodtg 6u 00°005 WONIGOSIWHS HLVYONdTVA ON Sada ON -GOO0ZLOOTZ
[sotqoyoAsdtquy 72840] SOQOZLOOTT
I azeqtodtg Bu 00°2 HNOGTYXdSTHY ON ON Sada -SOO0CdHSET
[SeATIeATASd ptoy Aaqeg] SOO0ZLOOTZ
I azeqtodtg Bw 00°0S2 WNIGOSIWHS ALVONdTIVA ON Sada SaA -g00cdHSg0
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOZLOOTT
I azetodta Bu 00°00z2 HLVaWWNA ANIGVILENS ON ON SHA -GOd0coNnvZTO
[saeyuqq TAYTeOUTWY] SONILNOD SOO0Z@LOOTZ
se 7braT[e [Teuosessg Bw 00°00z UNIWVYCAHNAHATA ON Sada Sada -¢INN -GO00CLOOFPT dLO IO LTOLETOE
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOZLOOET
Iepiostp rzetodtg Bu 00°02 YHNIGVZNVIO ON Sada Sada -GO00cdHSSO0
[sot aoyoAsdtquy 7e7I0] S00Z.1L9090
Zepiostp azetodtg Bw 00°2 HNOGTYHdSTY ON ON SaA -g00¢dHSg0
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOO0ZLO00Z
o/p I azeTtodta Bu o0°s HNIGVZNVIO ON SaxA ON -GOOCLOOET
[S®eATIeATAEq PToy Aqqed]
Iaepiostp aetodtg fw 00°000T WNICGOSIWHS HLVYOUdTVA ON Sada SHA
Zz edAQ [SeuoTpeUTPTTOZeTYL] AONILNOO S00 ZAONST
SnNATTTeu sejqsqetd Su 00°9T HLIVSTYN ANOZVITIOISOW ON Sax SHA --INN -G00z215090 dLS IO 9TOLETON
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod

WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

Loarans

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO 9€2 Obed
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 57 of 90 PagelD 85643

8Lr1

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[sepTsooATH stTeatbta]

eymyqAzue oeTpzep Bu gz-o NIXOOIG ON Sada SaA
[SSATISXET JORQUOD) HANTINOO SOOZCAONOZ
wot qedtqsuoD Bw 007s TACOOVSIG ON Sada Sada -¢yINN - GOOZAONLT dLO IO SZOLETOR
[seataeatszeq ptow Aq eg] 900CHYNCT 900¢dH40T
Iepilostp J zetodtg Bu 00°05z WONIGOSIWHS HLVONdTVA ON Sax ON -GOOZAONBT -GOOZAONBT dlO IO yZ0LETod

[SeaTqeATAeq ptTow Aqje]

I zeTodta Bw 00°0S2 WOIGOSIWHS HLVONdTVA ON Sada ON
[SSATICATIaq sUTdezetpozueg] 900ZNYPET
uot qe qtby Bu 00°2 WYddZVaO1I ON Sada ON -SOOZAONOT
[SseuTdezertyuL
puy seutdezexo ‘seutdezetq] SOOZAONOT SOO0ZOHAPT
I aetodtg Su 00°00T ELVYWWOA ANIGVILENO ON ON SaA -GOOZAONTO - GOOZAONOT dlO IO €ZOLETON

[sotqaeazntd puy

sqstuobequy TI utsueqotbuy] 900ZNYN90
wot sus qzedAH 5 00°0ST NYLYVSHaHI ON SHA ON -S00ZDHdEz
[seataeatzeq prow Aqqeg] 900THYN90
I zeTodta B 00°0S2 WNIGOSIWHS ALYOUdTVA ON SHA ON -SOOCAONTT
[SseutTdezeryL
puy seutdezexo ‘sautdezetq] SOOZAONTT
T aeqtodta 5 oo-o0z ELVaWNOdA ANIGVILANG ON ON SHA -SOOTAONLO
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOCAON9O
I azetodtg 5 00°00T BLVYWWOd ANIGVILYNS oN ON SHA -GOOCAONVO
[UTETd ‘SsastTuobequy
TI UtsusejoTbuy] soozonadze
woTsueqzedAy Su 00°02 TIWOXOGHN NYLYVYSHNIO ON SaA SHA -SGOO0CLOOTT
o/p I aetTodtq of [S@aTIeATAegq eUTdEezeTpozuEg] SOOZTAONTT 9007TEHAVO
peqejter AqetTxuy Bu 00°SOT WYIOZWHdTY ON ON SHA -SOOCLSOTT -SOO0CAONTT dLS 10 ZZ0LETOF
NOITLYOICNI asod [NOLLYOISJISSVIO NOILYOICEN] qa TO dwoldd aLvd dOLs HLYd dos aLvVd dOls LNENLYYaL ddoo
Waal OITHHNAS NOILYOICGHN NANWL NOILVYOICHW -HLVd LAVLS -dLvd LAVLs -aLlvd Lavls Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO LEZ abed

CONFIDENTIAL
AZSER12771609
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 58 of 90 PagelID 85644

s97xdoy «GPF ET? LOOZHYNZO

6LrI

ses’ ooTpew

ast

“600TZOZTTI/3123/3ndano /ds/97T00°L rr TP/ Tenbozes /pord/aiso/

[souspuedeq
SUTIOOTN UI pesg sbnaq] SOOZTAON9Z
uot sseideq Bu 00° 0ST HATYOTHDOAGAH NOIdOddnNd ON SHA ON -SOOCAON6T
[SeATIeATASq ptoy Aqqeg] SOOZONATZ
tepiostp azertodta Bu 00°00S WNIGOSIWHS HLVOUdTVA ON SaA ON -SOOCAON8BT
[eouspusedseq
SUTIOOTIN UI pesg s6naq] SOOZAONBT
uot sseideq Bu o0°O0€ HQATHOTHIOUGAH NOTdOddnNd ON ON SHA -SO00CLOO8T
[Sz04TQqTYyUL sYHeqQdnsey
UTUOICASS SATIDETSS] SOOZAONST
uot sseideq Bu 0070S HQTYOTHOOUCAH ANIIVALAYHS ON ON SaA ANA
[squesseideptquy 181730] HONTINOS SOOCAONTZ
eTUWOSUT Su 00°00T HQATHYOTHIOACGAH HNOCOzVaL ON SaA SaA -ANA -SOO0TAONBT dlS 10 9Z0LETOF
[sotqoyoAsdtquy 72740] SQOCAONSZ
tepiostp azertodta Bu oo°e HNOCIYHdSTa ON SaA ON -SOOCAONLT
[sot aoyoAsdtquy 7e7I0]
o/p azetodta Bu 90°9 HNOCGIUHdSIM ON ON SHA
(WnTY ATT) SQOCAONALT
Iapiostp zejtodtg Bu 00°00€ HLVNOddvo WAIHLIT ON ON Sada -SO00¢.LOOLT
[seat eatszeqd ptow Aqqeg] SOOZOHAOZ
o/p azetodtg Bu 00°T WOIGOSIWHS ALYOUdTIVA ON SaA SaA -SOO0cNNCTO
[SUTWEITA JO SUOTReEUTqWOD]
jquewetddns yaTeeH qe. oo't SON SNINVLIA ON SHA SHA
Soouy [SSATIPATASC PToOy oOTUOTdoIg]
Uz STtaTaAyqreos7zso Bu 00°007 NaadOuddndI ON SaA SaA
[SqUeTT[ToOwY ‘szeueqQzos]
wot edt qsuop Bu 00°00S HLYSnood ON SHA SHA
[seats [ndozdtjuy] AONILNOO SOOZAONOZ
eousretd 6w 00°OT SdIMOTHOONCAH HLIVIAXONHHdIG ON SHA SHA -YNA -SOO0CAONLT dLlO 10 SZOLeTog
NOLLYOICNI Hs0qd [NOLLVOISISSVIO NOILYOICSN] da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTTT JO @€2 abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771610
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 59 of 90 PagelD 85645

O8rI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[SPIOTENTY wntdg Teazn jen] 900cNNPTO
Agebins wory uted Bw 00°00S TIOWWLHOVEVd = SHA ON ON - 900ZAWNG6T

[SSATIPATASC TOUI
wtrdoyjeutal /sepTtweuozp—ns

eTOTASseq FO qwop] 900THVNGT
a7eT pebaetug 6w 00°009T HIOZVXOHLIWZATINS ON SaA ON -900CAYWOT
[suoTI{nTosg aqdATor4oeTgy]
uoTsueqzedAy Su 00°0OT HQTHOTHD WAISSVLOd SHA SHA SaA
(UTeTd ‘septweuoytns] 900cTNPLO
UoTAUuSe et ASEM Bu 00°0r HCIWHSOWNA SHA SHA Sada -SOOCAONTZ
[UTETd ‘SastTuobequy
TI utsusjotTbuy] 900TEHSTZ
uot sueqrsdAH 6u 90°08 NVLAVSTVA SHA SHA SHA -S00cdHSTO
[seatqeatszeq prow Aqjeg]
o/p aeTodta 6w 00*000T WOIGOSIWHS HLVOUdTVA ON ON SHA
[sotqoyoAsdtquy 221740] soocoudoz
o/p zeTodtg Bu 00°T HNOCIYHdSTH ON ON SHA --aINN
[SepTTtuy]
uted yoeq remo7T Bu o00°059 TOWWLEOVavd SHA SHA SHA
[sotpousedstquy Azeutizg]
TOrFUOD ASPPeTA Bw 007s NINALNAAXO SHA SHA SHA
[septuenbt g]
z edéq seqeqetd Sw 00°000T NIWHO4LHN SHA SHA SHA
[wn ty3t'T]
o/p azetodtg Su 00°009 HLYNOddvO WAIHLIT SaA SHA SaA
[SSATIPATA9G
earn ‘saptweuez[—ns]
z edAy seqeqeta Bu o0°s HQINVIONSdTID SHA SHA SaA
[STOATQTUULI
aseqonpey eop uy]
Tote yseToyo StH Su 00°08 NILVISVAYOLY SHA SHA SHA
(uTredsy *[axyY STOVTAQTYUI
uotieberbby 4eTSIeTd] AONILNOO 900ZDNVZZ 900THAWLE
asn oTIoOeTeYydorg 6u o0°Ts (IOV OLTTIAOITIVSIALHOY SHA SHA SHA -MNQ -900ZHdvV8zZ -S00zZDNdzZ ITI / dLlO 8ZOLetou
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO 6€2 abed

CONFIDENTIAL
AZSER12771611
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 60 of 90 PagelID 85646

18rI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[suotTqyerzederg
UTWEATA UTeTA 7TeyI0]
queuetddns y3TeSsH nt 00° O07 TOWHHdODOL SHA SHA SaA
[UTeTd “YW UPWeITA])
quowuetddns yaqTeeH Nt 00°0008 TIONILHSH SHA SHA SHA
[SSATICATIEG PUY PTOV OTTO]
qusuetddns yapTesy Bu 00°008 TION OTe Ta SHA Sada Sada
uTeTd
‘(D upweITA) POW oTqr00sy] 900¢dHST~
quewetddns yaTeeH Su 00°005 QIOV OIGHOOSY SHA SaA SaA -G00cdHSTO

[S®aTIeATASq eUuTdEzeTpozusg] SOO0ZOedCEZ
uot qe thy Bw 00°7 WYdadZVaO!I ON ON SaA -SO0O07TGHSTO

[6utqoy-3ased
‘sonboTeuy puy SUT [TNSUT]

z edéy seqtqeta sqtun 00°9€ NYANH NITIQSNI SHA SHA SHA
[Sut qoy- buoy
‘sonbo[euy Puy SUT [NSUT] 9007dHS7Z
z edAj saqeqetq Tw/n 00°00T ANIOUVID NIIQNSNI SHA SHA SHA -SOOZDNVSO
[S®aTAeATAaq SsucueYydorzAqng] So0zomd6z
o/p zeTodta 6w 00°07 SLVONWOEd "IOCIYBdOTVH ON ON SHA -SoOcNOrye
[SuUoTIANTOS SqQATOrROeTT]
AoustoTyIep aTes Bu 00°02 SCIMOTHO WOISSWLOd SHA SHA SHA
[(uTeTq ‘septweuojy[ns]
ewepg Sw 00°07 HCINHSOUNA SHA SHA SHA
[squeTtTTowy ‘srzeueqyos]
uotaedtqsuop = Bu’ «00 002 WAIGOS HALYSNOCd SHA SHA SHA
[utzedeH “[OXy SAOTQTYyUL
Anueportzynsut uot Iebezbby 4eT2I9eT A] AONILNOD 900Z2DNVEZ  Y90O0ZAYWTE
FETNOSEA Bw o0°SL HLIVA1INS THYSOCIdOID SHA SHA SBA -MNNQ -900CNArTO -so0zOHaOe TWA / dl6 6Z0LETOe

[SUOTINTOS SeqATOTADeETY]

uot sua zsdéAy Bu 00°0z HCTHOTHD WOISSVLOd SHA ON ON
[uteT@ ‘septweuosTns] 9007TdHSTC 900TONTCT 9007TAdVLE
UOTAUSE Set ASEM Su 00°08 HOIWSSOUNA SAA ON ON -900ZTONr80 -9007Hd¥8zZ -SOO0zZDEdzz II / dLlO 8Zz0LeTtod
NOT LYWO TANI gS0q [NOILVOIMISSVIO NOILYOICHWN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO OFZ Obed

CONFIDENTIAL
AZSER12771612
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 61 of 90 PagelD 85647

c8rl

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[sotqoyoAsdtquy 728740] S00CNYI8T
T azetodta Bu 00°? HNOCISHdSTIH ON Sada ON -900CNYVPCT
[sotqoyoAsdtquy 28740] SO0O0CNYETT
T aejtodta Bu 00°9 HNOCIHHdSIY ON Saaz ON -900cCNWCSO
[sot qouoAsdtquy 7eyI0)]
T aeptodtg Bu 00°8 HNOCIYXdsSIY ON ON SHA
[seutdezetyL
puy seutdezexo ‘sautdazetq]
T aeptodta Bu 90°Se BLVYWWOdA ANIGVILANS ON ON SaA
(wntyatT] 900ZNVLS0
T aeptodtg Bu 00°006 WOIHLIT ON ON SHA -S00coOueadsO
[sotqoyoAsdtquy 7e7I0)] SO0O0CNWL ZZ
T aeptodta Bu 00°? HNOCIHsxdsSIa ON Sada ON -900CNWC6T
[seutwy AretqrEL]
swoadwAds q
Teptwudder4 xg Bu 00° GCIYOTHOOUGAH IAGINHHAAXSHIUML ON SHA SHA
[S1OATATYUL
asejqonpey eop Buy]
etueptdtTzsdéy Bu 00°0F NILVLSVAOI ON SHA SHA
[SSaTIeATAEQ plow oTuctdozg]
uted sem Bu 00°007 NHAOUdNaI ON SHA SHA
[S@PATIPATIOG
zZ edAQ earn ‘septweuoz[ns]
SnyATT Tew seqeqetd Bu 007s HCINVIONSEIID ON Sada Sada
[SqueTT[TOWY ‘srzeueqjzos] HONILNOO 9007CEHHATO
uot aedtqsuop Bu 00°0SL WNIdOS HLYSNHDod ON SHA SHA -YNOA -900CNYCSO dL 10 Of€0LETOER
[septuenBbtg] 9007dHS7Z
zg edéq seqeqetqd 5wu o0°000T NIWHOALEN SHA ON ON -900cNNfcO
[SeaTIeATAeq suTdezetTpozueg] 9007dESZzZ
uoTIeIT By Bu 00° T WYddZVaeOl SHA SHA SHA -GO0O0COHNadre
[seatjeatszeq ptoy Aj jeg] 9007TdHS77 9007ONTEC SOO0CAVWTE
o/p T azeTodta Bu o0°OSL WNIGOSIWHS HLYONdTIVA SHA SHA SHA -SOOZDHCOZ -900ZNNPTO -SO0ZDHdOe TWA / dLO 6Z0LETOR
NOITLYOICNI asod [NOLLYOISJISSVIO NOILYOICEN] da TO dorldd aLvd dOLs HLYd dos aLvVd dOls LNENLYYaL ddoo
Waal OITHHNAS NOILYOICGHN NANWL NOILVYOICHW -HLVd LAVLS -dLvd LAVLs -aLlvd Lavls Loarans
NOILWOICHN dHZIWOGNVaA ‘THadv1 Nado

GTTT JO T¥zZ abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771613
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 62 of 90 PagelD 85648

esrl

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[eso otweqsds

seTbrse[Te JOq SeUTWeEASTUTIUY 7eUI0]
TequSwUOs TAU Bu 00°0T ANIGVLVYOT ON SHA SHA
seTbasTTe [SPTOo2TIA0D0NNTS]
yTequewuerztauq =  6n 00°8zZT ACINOSHGNG ON SHA SHA
seTbaeTqTe [squeby eatssezddnsounwuwt] soocinrst
Te qUuUSWwuOr TAU Tw oO°T squeby sATSserzddnsounwuy ON SHA SHA -SOOZHdVTO
[SSATIEAT AEG suTdezetpozuag] Ssoocnnrseo
aepodta Bu gZ°o WYIOZWadTY ON SHA SHA -SOOZAYNSZ
[SUTWEITA JO SUOTIeEUTqUOD]
aqaoddns Azeqetd 3eTqWeI 00°T SON SNIWYLIA ON SHA SHA
[suotjerzedaerzg
UTWEIATA UTeTd 7EyI0]
qaoddns Azeqetad AI 00°o0r TOMHHAODOL ON SHA SHA
[sq°onporg oT InederzsyL 7eyI0]
qaoddns Arejetq 32TIWeI 0O°L TIO GHSS WOAWISSILWLISN WONIT ON SHA SHA
SsIoepesy [S®aTIeATAEG PToOY oTucTtdozg]
Teuotsess90 = =6 Bs 008 NHA0WaNgI ON SHA SHA
[squeby
SutAzTpow PTATT 198420)
aqaoddns Azeqetd 3eTqWeI 00°T TIO HSId ON SHA SHA
[Sa0qTQqTYUL exHeqdney
UTUOIOTSS SATIDSETSEsS]
uotsseadeq Bu 00°02 ACIWOUGOUGAH WWUdOTVLID ON SHA SHA
[UTeTa ‘xeTdwoD-q UTWeITA]
qaoddns Areqetd 3 TWeI 00'T HLVNSHLOLNYd WOIOTWO ON SHA SHA
[wunFoTed]
atoddns Azeqetaq 6wu 00°009 WOIDTYD ON SHA SHA
[UTeTA
‘() UTweaATA) POW OTqr008y] HONILNOD SOOZNNL8T
qaoddns Areqjetq Su 00°000T GIOW OIGNODSY ON SHA SHA -INO -SOOZNnrEeo dLO 10 TOO8SETOd
[seatqeatszeq prow Aqje,] 900CUVNEO
T zeTodtg Sw 00°00S5 WOIGOSIWHS HLVOUdTIVA ON SHA ON -900ZNWI'SZ
[sotqoyoAsdtjuy 72430] 900TNWL9T 9007GHATO
T zeTodta Bw o0°T HNOGIMHdSIM ON SHA ON -900ZNWLEZ - 900ZN¥LS0 dLO 10 O€0LETON
NOILY¥OIGNI as0qd [NOILVOISISSWIO NOILYOIGSW] da TO UYOINd Lvad dOLS ALYd dOLS Lv dOLS LINSWLWaIYuL aqoD
WHEL OIMHNED NOLLYOIGHW NANVL NOLLYOIGHW -HLVG LYWLS -SLVd LavVLS -aLvd LawLs LOarans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTITT JO zZ¥z abed

SUOTIEO TPA

6-OT° 2°21 Butasty

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CONFIDENTIAL
AZSER12771615

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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[SSATICATASC suTdezetpozuedg] HONTLNOO
rejTodta Bw oso WYIOZVudTY ON ON ON -900ZNYE'8T
[wnty3tT] SOOZAONZO
aetodtq 6w 00°0s7 ALVNOGUYO WOIHLII ON ON ON  -S00ZL00S0
[suo tqjeredaerzg
queweTddns UTWEITA UTeTd 79430] SOOZAONZO
TeuUOTITAINN = sqeq oo-z GIOW OIWWDNVd SHA SHA ON -SO0O0Zd4HS9Z
[Sleprzostq Temog
Teuotjzoung tog sBnaq 78430] SOOZAONZO
Butaeotg bw 00°09z HNOOILENIS SHA SHA ON -SO0OZDNYOT
[wntyatT] GO0ZLOOVO
azetodta Sw 00°009 WOIHLIT SHA SHA ON  -SOOZNNOZ
[wn ty3tT] SOOTNNL6T SO0OZLDOEO G007dHS9Z
azejtodtq Sw 00°o0¢e WOIHLIT ON SHA ON  -SOOZNNTET -SO0OZdHSLZ -SOOZNNPET IT / Wild €008ETOe
[SUTWEITA JO SUOTIeUTqUIOD] HONILNOD
quewetddns Areqeta qea oo°t SON SNINWVLIA ON ON ON  -SOOTAYNZT
seyoepesy [S8ptT ty]
TeUuoTSeDD0 a a TONYLHOVavd ON ON SHA
[S®aTqeATAEG pToy oTuoTtTdorg] HOANTILINOD
SeyOepesH a’ a NH40udnaI ON ON SHA --INA DNISSIN ZOO8E TOs
[SSATIPATASC suTdezetpozueg] soozcinrst
aetodtg Bw eto WY1OzvVudTy ON SHA ON  -SOOZNNLOT
[seataeatszeq ptow Aqqeg] SOOZNNLZZ
aetodtq Sw 00°00s WOIGOSIWHS HLVOUdIVA ON SHA ON -S00ZNNLEO
[s6nia
peqejtea sutdezetpozueg] SoozcINrst SOOZTNOL8T
eTmMMOSsUt Bu 00°0T ALWALUYL WHOIdIOZ ON SHA SHA -SOOZAYWSZ -SOOZNOLEO dLO 10 TOOSETON
NOILY¥OIGNI aso0qd [NOILVOI4ISSVID NOILWOIGaW] ca TO ¥WOIud Lvd dOLS 4Lvd dOLS 1Vvd dOLS INEWLVAUL aqoD

WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

Loarans

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO €%2 Obed
S8r1

CONFIDENTIAL
AZSER12771616

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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[SSATIPATASC TOUI
wtrdoyjeutal /sepTtweuozp—ns

JO quod] sooc ine gcTo
eatq Bod Su 00°008 HIOZVXOHLINVATINS ON SaA ON -SOOcNNO YZ
[SOTIOTqTIAUY] SOOZNNLOE
ysnazuL Tw o0°?e NILVLISAN ON SaA ON -SOOCNOP YC
[wntyatT] SOOZNNLLZ
aetodtg Bu 00°00€ WOIHLII ON DaA ON -SOOCNNO VT
uo Toe sUutT [ZORTATYUT Ssseweqoey T-eqeg
stxe TAydorzd TOU SUTT[TAOTUsSd JO sqwoD] SOOcNNrPT
‘eatq Boq Sw 00°0SLT NITIIOIXOWNY ON ON Sada -SOOcNNPSO
[S20ITQTYUL exyeadney
UTUOJIOISS SATIOSTAES] soozonvto
uotssezdeq Bu o0°0r WYWadOTVLID ON SHA SHA -SOOCAYWYT
[seutdezetyL
puy seutdezexo ‘seutdezeta] soozinrso
aetodtg Bu 00°00€ ELVYWWOA ANIGVILANS ON SaA SaA -SOOCAYNYT
[squesseideptquy 7281740] SOOZCNNLOZ
eTuMosut Su 00°0ST HNOGOZVaL ON SaA SaA - SOOTAYWYT
aseostp xNTjor [sastuobequy 104da0ey- ZH]
Teebeydossorzqsep Su 00° OST ACIYOTHOOUCAH ANIGILINVH ON SHA SHA
[SPTOTePUTY wntdo Tern jeN]
uted yoeq MoT Su 00°0OT HLVaLavLId ANOGOQOUCAH ON SaA SaA
[sot qertAdtquy
puy sotsebTeuy 27040]
uted yorq MOT Su 00°006 NILNHdVavD ON SaA SHA
[UOTIASUTQUOD II
swoadwAds suebor4sy puy sueboqyseborg]
Tesnedousn Bu spo CHLVOOCNOD SNHSOULSH ON SHA SHA
[SeaTIeATANG sUuTdezZzeTpozueg]
eTuUWOSsUurt Bu 00°T WVIOZVadTY ON SHA SHA
[SSATIPATIAG
puy ptoy otTAot Tes] HONTLNOS SOO0CdHSST
uted yoreq MoT Bw 00°0S6T (IOV OLDIAOITVSIALHOY ON SHA SHA -YNA -SOOCNOCPT dLlO 10 poogsetog
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo

WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

Loarans

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTITT JO ¥¥Z Obed
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 65 of 90 PagelD 85651

9841

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[sotideTtdetquy zeyI0]
aejTodta Bu 00°00z2 HNISIYLOWZI ON ON SaA
soepesy [S®ATIVATA9G PTOW OTUOTdOIg] AANTINOO
TeUOTSeo50 Bu 00°007 NadOudndI ON ON SaA -AINA ONISSIN LOOBETON
[seatqeatTszeq prow Aqje,] HONTLINOS
zejpodtg Bw o0°005 WOICOSIWHS HLVOUdTIVA ON ON ON -SOOcNNPO?
[SUTWEITA JO SUOTIeUTqNOD] ANONILNOD
qioddns Azeqetd JTWIeL 00°T SON SNINVLIA ON ON SHA -MNA ONISSIWN 9OO8ETON
[wNtyatT] SoozHnweo
aeqTodta Su 00°009 WOIHLII ON DaA ON -SOOCNNL6T
[uNtyatT] soocNnrsz
Zepiostp zeTodtq Sw on°o0zT WOIHLIIT ON SHA SHA -SOOCAYWYT
[dnozy outwy Azet
q190L/si0 18g ‘soTbzsut Tous Tqauy
suoapuds yquds] sooconyved
TeMod eTQeatsszy Bu 00°0T HNIWHAOIOAOIA ON SaA SHA -SOOCNYCTO
[st0qTqTYyUl exeqdney
uTUOIOASSs SATIOSTES
uotsseadeq Su 00°00T HQTYOTHOOUGAH ANIIVGLYHS ON SaA SaA
eseostTp xnTyer [sqsTuobequy 1074de0ey- ZH]
Teabeydossorq4sep Bu 00°00€ HQTHOTHOOUGAH HNICILINVA ON Sada Sada
Adezeyy [UTe Ta ‘sueborzq.sy_
quewsse Tdea oTqeyAUASTwWSes PUY TezNIeN]
SuUOWLOH Bu of°0 CHLYOOCNOD SNHSOULSH ON SaA SaA
[SPATICATI9G
autue TAdordTAueydtq]
>OoN Su 00°O0€ ALWIISA€WN HNHHGAXOdOUdOMLXAA ON SaA SaA
[S2918q PTOyY oOTweqred] 4HONTLNOS sooclInryo
uted yoeq MoT Sw 00°OS0T TOCOUdOSTavO ON SaA SaA ANA -SOOCNOL YT dlS IO SOO8eTOe
(wn tyatT] SOO0C.LOOST SOO0CdHSST
aejtodtg Bu o00°009 WOIHLII ON SHA ON -SOOCNNPR -SOOCNOCPT dLlO 10 poogsetog
NOLLYOICNI Hs0qd [NOLLVOISISSVIO NOILYOICSN] da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTITT JO G¥z abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771617
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 66 of 90 PagelID 85652

L8r1

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[wuntyatT] 9O0OZNYLSZ
azepodtg Bu 00°009 WOIHLIT SHA SHA ON -soociIarsd
[S®aATIeATASG eUTdezeTpozueg] SOOZINITE
eTUeW Bu oo'€ WYd4ZVdol ON SaA SaA -soozcimnrso
[seutdezertyL
puy seutdezexg ‘seutdezetaq] soozcinrya
azepodtg Bu 00°00z2 BLVYWWOd ANIGVILYNS ON ON SHA -soociInrqco
[SUT [Nsu]l /suowzoOyH xXas
butdeets xq sdeig Teuowz0H oTweqsds] SOOZONVEZ
Aqqnotssta Bu os*t NINOLVIYN ON Sada SHA -SOOcNNPvZ
STITISOTA9g . [SSATIEAT AEG prticow otuotdozg] S9O00CNVISZ
’statnouAsouaL bw 00°000T NHXOUdYN SHA ON ON -900CNWCST
quewsetTddns [SUTWEITA JO SUOTIeUTqUOD]
TeEUOTIATTANN 32T724 O0°T SON SNINVLIA SHA SHA SHA
[S204 TQTYUL
aseqonpey eop Buy]
JoreyseyToyo YyStH Bu 90°OT NILVLISVAWNIS SHA SHA SHA
eseostp xnTyor [Sto4tTqtyur dung uojo7g]
Teebeydossorzqsep Bu 00°02 WNIGOS HIOazvadddvH SHA SHA SHA
[uTzedeH * [OXY sSrOQTGQTYUL
stxe TAydo1d uotieberbby 4eTeIeTd] HONTLINOS 9007EHATZ 9007ZN¥L60
oe TPreD Bu 90°Ts (IOV OCLTTAOITTIVSIALHOW SHA SHA SHA -MINQ -900ZNWrOT -s0O0zINrSz IT / dLO 8008eT0e
[seatqeatszeq prow Aqjeg] HONTLNOS
reTodta Bu 00°00S WNIGOSIWHS ALYOUdTVA ON ON ON -SOOcNNrOZ
[SUTWEITA JO SUOTIeEUTquUOD]
queuetddns Azeqeta qeL oo°t SON SNIWWLIA ON ON SHA
[squesseizdeptquy Tey40)
uotssezdeq Bu 00°Szz HQTHYOTHDONGAH YANIXVAVINAA ON ON SHA
[seutdezertyL
puy seutdezexg ‘seutdezetq]
aejpodtg Bu 00°002 ELVYWWNA ANIGVILYNS ON ON SHA
SIOepesol, [SSATIEAT AEG picw otuotdoz4g] SONI LNOD
TEUOTSEDD0 Bu 00°0Sz2 WNIdOS NHYXOudYN ON ON SHA -YNOA ONISSIN LOO8eTOd
NOITLYOICNI asod [NOLLYOISJISSVIO NOILYOICEN] qa TO dwoldd aLvd dOLs HLYd dos aLvVd dOls LNENLYYaL ddoo

WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs

Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO 9%2 abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771618
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 67 of 90 PagelD 85653

88r1

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
butdeets [S®aATIeATASG eUTdezeTpozueg]
Aq[notTsIIa Bu os" t WYdaZVaOT ON ON SHA
[squesserzdeptauy 7820] soocinrst
uot ssezdeq Bu 00°09 HNILAXOTNG ON ON SaA -SOO0CAYWTO
[SUTWEATA JO SUOTIeUTqQUOD]
YATesy Tersus) GeL 00°T SON SNINVLITIA SHA SaA SoA
[suoTqezedarzg
UTWEATA UTeTA 7eyI0]
YATesy TereuseD geL oo°T TOHHHAOOOL SHA SHA SHA
sTtatzayqre [S@pTT Tuy]
seuy 4zZOT Bu 00°Sze TIONVLHOVAVd SHA SHA SaA
[StoatqtyUuLI dung uo 074g]
wang reeyH Bu 00°02 HIOZVAdINO SHA SHA SHA
[SSATICATA9G PUY PTOV OTTO]
YATeey Tersusp gen oo°t QIOV_OIIOd SHA SHA Sada
[ (senbo Teuy
puy uTWweTeqooouerdD)
ZTq UTWeITA]
YATesy Terteusep GeL 00°T NIWNVIVGODONYVAD SHA SHA SHA
[UTeTd ‘xeTdwop-g uTweqATA]
YapTesy Tertsusep GeL oot GLIVNAHLOLNYd WOIOTWO SHA SHA SHA
(wntoTeD] 4HONTLNOS S00cDaaz0 SOOCAONST
YATesy Tersusp geL oo°t WOISTYO SHA SHA SaA -MNN -SOOZAONLT -S00ZDNWZO TWA / W1d 6008€T0"
[seutdezetyL
puy seutdezexo ‘seutdezeta] 900CHWNTZ
azejpodtg Bu 00°007 ELVUWNOA ANIGVILYNS SA ON ON -900cdHA cS?
uoTqoasut [squesseiddng yBnop zeTI0] SOOZAONTT
Azojzertdser azsddqg bu 00°00€ ALVLIVNOZNH4 ON SHA ON  -SO00TLOOZT
UOTAOSIJUT [Sept Torey] SOO0ZcLOOLT
Azoyertdser reddy Su 00°00T NIOAWOYHLITHL ON SaA ON -GO07LOOCT
[SeaT}eATAzeq ptoy otuotdozg] SOO0C.LOO6T 900CHHATT SO00CNYC60
uted qutopr Bu 00°0zz2 WNIdGOS NHYXOUdvN ON SHA ON -SOOZLOOVO -900ZNWPOT -SoO0zINrSZ IT / dLlO g008fT0e
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTTT JO L¥Z abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771619
68rI

CONFIDENTIAL
AZSER12771620

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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[sbnad

peqetey sutdezetpozueg] 900CNYCTO

eTUWOsUrt Su 00°OT BIVALAWL WHCIdTOZ SHA ON ON - SOOZAON8Z

[seatqeatszeq prow Aq3e,] 900CNVCTO

aejtodtq bw oo*o0st WOICOSIWHS HLVONdTWA SHA SHA ON -GOO7dHSLT

[SeATIeATASq ptoy Aqqeg] SOO0¢CdHS9z

aetodtq 6w 00°000T WNIGOSIWHS HLVONdTIVA ON SHA ON -Ssoozenveo

[seqerzqt ag] SOOZAONTO

jToreqseTouo YySTH Bw 00°STT SLVaaI4ONa4d ON SaA ON -sooconweo

pos ucwWoOD

oy Azepucces [SPTO18e4S09DTII0D] SOO0cdHSEO

uot jsebuood TeseNn Bow 00°9 HaINOSHadnd ON SHA ON -soozonweo

[SSeATIPATASq ptoy Aqqeg] soozonvso

azejodtg Bu 00°00S WNIGOSIWHS HLVONdTIVA ON SHA ON -soozenwzo

(Wnt Yat) soocinrez

azejodtg Bu 00°00€ WOIHLII ON ON SHA -soozinra?e

[sotqewtwoyqedwis] SOOZDNV8T

NTA Bw 007s HQIAOTHOOUCAH ANIZIWILYO ON SHA SHA -sooc tars
[ZORTATYUT eseweqoey-eqog

TOU] SUTT [Te tUsd JO sqwop] SOOcdNYTSO

nT Bu 00°SL8 NITIIOIXONY ON SHA SHA -soozToarsa

butdeets [szeuag TANTeouTWY] Soozonvet

Aqnotgssta gent oo°t GIVNIOONS ANINWVIAXOG ON SHA SHA -soozinrod
[seutdezertyL

puy seutdezexg ‘seutdezetq] sooconvto soocomdzo SOOTAONST
aepodta Bu 00°00€ ELVYWWAA ANIGVILHNO ON ON SHA -SOOZAYWTO -SOOZAONLT -SOOZDNWZO TWA / W1d 6008fT0
NOLIVOIGNI gS0q [NOILVOIMISSVIO NOILYOICHWN] da TO YWoldd gaLvVd dOLs SL¥d doOLs GLVd dOLS LINEWLVeaL gdoo

WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

Loarans

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO arz abed
O6rl

CONFIDENTIAL
AZSER12771621

Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 69 of 90 PagelID 85655

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[wuntyatT] GOOZDNYTZ
aeptodtg Bu 00°O00€ WOIHLIT ON Sada ON -SOO0coNTST
[St0qTqTYyUL eYyeqdnsey
UTUCIOLSS BSATIOSTSS] SO0O07TLOOOZ
uotsseadeq Bu 00°00z2 HQIYOTHSOUCGAH SANITVWALHHS ON Saaz SHA -soociInrst
[eouspusedseq
SUTIOOIN UI pesq shnaq] SOOZLOOET
uot sseideq Bu o0°002 HQCIHOTHOONCGAH NOIdOddnda ON SaA SaA -Ssoo7cimonrst
[SSATIEAT IEG suTdezetpozueg] SOOCLOOCT
eTuUWwoOsuyt Bu 00°09 Wd4HZVNdL ON Sada SHA -SOO0cudY¥TO
[Sz04TQqTYyUL sYHeqQdnsey
UTUOICASS SATIDETSS] SOOZTAONED
uot sseadeq Bu 00° 00T HQIAYOTHOOUCAH ANITVALAYS ON Sada ON -GO007C.LOO82
[SeaTqexe] JoequoD] 9007AYWN80
uot jedtysucp Bu 90°0T TACOOVSIG SaA ON ON -9007TAWN80
[szo0qtqtyur dumg uojo07g] 900cdHACT
sNT Ft PTOY Bu 00°ST HTOZVadOSNVI SHA ON ON -900CdEH4A CT
[seqeuoydsoydst q] HONILNOOS 900ZONTIT 9007TNYLOE
STsozodos1so Bu 00°04 WNIGOS HLIVNOYGNHTY SHA SHA SHA -MNM -900ZN¥PTE -SOO0ZDNVST IT / dl5 TLIOsSetog
[uMtYyatT] GOOZEHSTZ
zejtodtg 6u o90°00zT WOIHLIT ON ON ON -SOO07TdHSTO
[uNtyatT] soozonw6z
aeTodta Su 007009 WOIHLIT ON ON ON -SOOcONVET
[uNtyatT] soozanwez
reTodta Bu 00°00€ WOIHLIT ON SHA ON -GOOcoNnT9IT
[SUOTIeUTCUOD
pexta ‘suehor sq
puy sueboqse6boig] HONILNOOS soozconvec
Jozques yAIt@ yored o00°T NIWOXLSHSIXHON ON SHA SHA -YNOA -soocanveo dL5S IO OTO8ETOd
NOITLYOICNI HS50da [NOLLYOISJISSVIO NOILYOICEN] qa TO dwoldd aLvd dOLs HLYd dos aLvVd dOls LNENLYYaL ddoo

WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

Loarans

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO 6%2 Obed
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 70 of 90 PagelD 85656

s97xdoy «GPF ET? LOOZHYNZO

16rI

ses’ ooTpew

AST 600TZOZTI/FT3/andano /ds/97T00°L FFT P/Tenborzes /pord/aiso/

[ssuowz0y ptorAyL] S9O00ZAYNZZ
prorzAyjodéy Bw £070 WOIGOS HNIXOWAHLOATI SHA ON ON -9007HdVET
[s6n2zq Butzemoy
SsOONTH pootg TesO ASyI0) 900ZdHSET
uot edtqsuoD Bu 00°ST WOD SNAOIONODPYELEL SISGOWYAD SHA ON ON -900cCHWN80
[Sszepz0stad TeEUTISSqUTOAISeD
Teuotqjoung 1z04 s6n2q]
uotaedtq4suoep Ssqela 00°? NIvd¥d SHA SHA ON
[Squat TTowy ‘srteueqyos] 900ZdHSET
uot jedtysuop Bu 00° 0ST WNIGOS HLVSNOOd SHA SHA ON -SOOTAONTZ
[Sa0qTQTYUI eHeqQdney
UTUOIOASS SATIDSTSS] SOOZAONSO
uot sseideq Bu 90°0s HQIYOTHOOUCAH SANITVWALYYS ON Sada ON -SOOCAONTO
[sbnad
peqeteya sutdezetpozueg] 9007 INCLT
eTUWOSUT 5u 00°OT NOTdHTYZ SHA SHA ON -GO007LO062
[Sa0qTQqTYUL exHeqdney
UTUOICASS SATIDETSsS] SOOCLOOLZ
uot sseideq Bu 00°0ST HQIYOTHOOUCAH SANITWHLYHS ON SaA ON -SO0ZLOOTZ
[eouepuedaq
SUTIOOTN UI pesg shnaq] g007LO00Z
uot sseideq Bu 00°00T HQCIHYOTHDOYXGAH NOIdOudnd ON SHA ON -GOOCLD0OFT
[s6nag
peqetay sutdezetpozuag] SOOZLOO8Z
eTuMosut Bu 90°0T NOIdHIVZ ON Sada ON -SOOTLOOET
[UTeTa ‘sotTqewtwoyjeduds] 9007dHSET
esou Auuny sherds 00°2 WCAIMOTHOOUCAH ANITIOZVLAWAXO SHA SHA ON -GO00ZLOOTO
[untyaty]) 900TONTVT 9007ONTIT 900TNYLOE
zejTodta Bu 00°009 WOIHLIT SHA SHA ON -SOOZONYZZ -900ZNYPTE -SOOZDNVST IT / dlLO TIO8eTog
NOITLYOICNI asod [NOLLYOISJISSVIO NOILYOICEN] qa TO dwoldd aLvd dOLs HLYd dos aLvVd dOls LNENLYYaL ddoo
Waal OITHHNAS NOILYOICGHN NANWL NOILVYOICHW -HLVd LAVLS -dLvd LAVLs -aLlvd Lavls Loarans
NOILWOICHN dHZIWOGNVaA ‘THadv1 Nado

GTTT JO 062 abed

SUOTIEO TPA

6-OT' 2°27 Sutasty

CONFIDENTIAL
AZSER12771622
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 71 of 90 PagelD 85657

cori

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[SSATICATIOC
eutue TAdorzdTAusydtq]
uted yorg Bu 00°O0T HLVWIISdVN HNSHAAXOdONdOULXHA ON SaA SaA
[SOT qQewtTwoyqeduds]
so7breTTe [euoseasg Bu 007s HQIAYOTHOOUCGAH SHNIZINILHS ON Sada SHA
[Steqsy ptoy otweqizep] HONTLINOO SOOZONV9T
uted youd Bu o0°OSE TIOCOUdOSTIeyO ON Sada SHA -ANOA -SO0caNYIT dLO IO €LOSetog
[uNtyatT] SOOZLOOST
reTodtg Bu 00°00€ WOIHLIT ON Sada ON -SOO0coONTIT
Geet FIEBSs
puy sotqjoudAy 298420] SOOCLOO9T
eTuMosut Bu 90°Se HNIWNVACGAHNHHAIG ON Sada SaA -soociInrwto
[SqueTz4nN
tO SUOTIEUTQWOD T8y40])
queweTddns squ SOOZLDO9T SO07?dHS9T
TeuotTATzq4nNN SQeL 00°¢ ST4qNN FO SUOTIEUTQWOD 7Aey3I0 ON Sada SHA -SOO0ecNN’TO -Ss00cdoNV9T dLO IO ZlO8etog
[wNtyatT] Q00TEHSET
reTodta Bu 00°007 WOIHLIT SHA ON ON -900cCDNTPT
[s6naq
peqetay sutdezetpozuag] 9007dHSET
eTuMosut Bu 90°0T GLVaALAWL WHAIdIOZ SHA ON ON -900zcTINrNd
[s6n2q
peqeley sutdezetpozueg] 9007 INréet
eTumosut Bu gz-9 GLVaLaYWL WHAIdI0OZ SHA ON ON -900c TNC LT
[seucwZ0H pTorAyL] 900CdHSET
prorAyjodéy Bw 70°0 WOIdOS HNIXOWAHLOATI SHA ON ON -900ZAYWNEZ
[SSeaTIexeyT
butqoy ATTeotjowuso] 900cCNNCTO 9007ONTIT 900TNYLOE
uotaedtqasuep Bu 00°0z SHSOTNLISVYI SHA ON ON -S9OO0ZAYNGO -900ZNYPTE -SOOZDNVST IT / dlO TIO8eTog
NOITLYOICNI asod [NOLLYOISJISSVIO NOILYOICEN] qa TO dwoldd aLvd dOLs HLYd dos aLvVd dOls LNENLYYaL ddoo
Waal OITHHNAS NOILYOICGHN NANWL NOILVYOICHW -HLVd LAVLS -dLvd LAVLs -aLlvd Lavls Loarans
NOILWOICHN dHZIWOGNVaA ‘THadv1 Nado

GTTT JO 162 abed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

CONFIDENTIAL
AZSER12771623
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 72 of 90 PagelD 85658

Corl

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[SquUeT[TTowy ‘szsueqyos] S00CNYITO
SpToysowmey SqeL 00°¢ WNIdOS SLYSNOOd ON SHA ON -SO002LOOST
[seatqeatszeq prow Aqje,] SOOZAONLT
aetodtq 6w 00°000T WOICOSIWHS ALVONdTVA ON SHA ON -S007daSz0
[seatqeatTszeq prow Aqje,] s0O0cdHSTO
reyTodta 6w 00°00S WOIGOSIWHS ALVONdTYA ON SHA ON -SOOzcONT9IZ
[SPATIepss
puy sotqoudAyH 7a120]
a SOOCONYE6T
eTUWOSsUyT 6u 00°SZ GIMOTHOONCAH ANIWVNCAHNAHdIG ON ON SHA -YINA
[s6naq
peqejley esutdezetpozueg] SOOCAONLT
eTUWOSsUyt Bw 00°02 ELVaLYVL WHCIdTOZ ON SHA ON -SO0CLOOTS
Gseatiepes
puy sotjoudAy 28130] sooconwoc so007TONaTO
eTUWOSsUyt SQeL O0°& SHNIWWHYCAHNSHATIG ON ON SHA - SOO ZcONWET -SOozonW9T dLl5 I0 9TO8ETOH
[sqonpolrg
oTqnedezsuz 2890 TTW] HONILNOS
SsoT qbTeMm ger oo°T SON SNIWZLIA ON ON ON -SOO0zconWTO ONISSIWN STO8ETOM
[seatqeatszeq prow Aqjeg] SOOcONWLZ
zejodtg Bu 007005 WOICOSIWHS ALVONdTVA ON SHA ON - soo conW9T
[sastuoby
azo daverz0uerpy- 7-278
BATIOaTAas]
ewyasy sgzgnd 00-2 TIOWZLAGTYS ON SHA SHA
[sasTuobequy
Zoqdassy suetzqoyNe7T]
Buy IASy Bw 00°OT WOTd0S LSVINTSLNOW ON SHA SHA
[sespastq AeBmATY IISqO 10g
sbniq 294 I0/soTbazeuezpy] AONTLNOD sooconW9T
euyASyZ ggnd 00°T GLIVNOIdOdd SHNOSWOILNITA ON SHA SHA -MINA -SO0ZONV9T dLO IO eTO8etor
NOLLIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO Worldd HLYd dOLs Hivd doLs GLV¥d dOLS LNEWLVaaL gqdoo
WHHL OLSHNSD NOLLYOICEW NEMWL NOILVWOIGHW -HIVd LAVLS -HLVd LavLS -a1Vd Laws Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO z6z2 abed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

CONFIDENTIAL
AZSER12771624
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vorl

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[SUOTIeUTqUOD
pextg ‘sueborz4sq
puy sueboqysebo1d]

Tor4Ues YATE Bn 00°02 TIXUYLSASYONOAYT ON SHA SHA
[SSATIPATASq SUTYyAUeX]
SoupepeoH Bu ogee ANIG4SdYO ON SHA SHA
[SPEATIPATIEG
puy PToy OTTAOTTeSs] AONTLNOOS Go0zLO0cO
SSUSePeSH Bw 00°059 CIOVW OLIAOLTIVSIALHOY ON SHA SHA -YINO -S007¢dHSE62 dLO IO 8TOSetoa
[seatqeatszeq prow Aqje4] SOOCLOOTS
zejtodtq Sw a0°o00T WNIGOSIWHS HLVONdTIVA ON ON ON -SOO07%dHS7Z
[seatqeatszeq prow Aq3e,] SOOCdHSTC
aepodta Su 00°005 WNIGOSIWHS HLVONdTIVA ON SHA ON -SOO?CdHS6T
[SSATICATASC Ptoy oTUOETdorg] SOO0cdHSST
SSUSePeSH Bu 00°00% NHAOednNdI ON ON SHA -SO00¢dHSTO
[SeATIeATASd ptoy Aaqeg] SOOcdHS8T
zejTodta Bw 00°00S WNIGOSIWHS HLVONdTIVA ON ON SHA -SO0¢cdHSeT
quewsetTddns [SUTWEITA JO SUOTISUTQWUOD]
TeuoTAtTzqnn gery 00° t SON SNINVLIA ON SHA SHA
[szo4tqtTyul dumd@ uojo1d] HONILNOD SOO0ZdHSTZ
pred Bu 00°02 HIOZWadaWO ON SHA SHA -YANO -900¢dHS6ET dLO IO LTO8eTOn
[S®eaTIeATAeq puYy sepAlepTyY] 9007TNYCTO
eqTuwosul bw 00*000T HLIVAGAH 'IWHOIHD ON SHA ON -GOOZAONSZ
[SeATIeATASq ptoy Aqqeg] 900CNYITO
zeqtodtq 6w o0°00ST WNIGOSIWHS HLVYONdTIVA ON SHA ON -GOOZAONST
[S®PaATIPATAeC PUY SePAUSPTY] SOOCAONTZ
eTuUWOSsUuy Bw 00°00S HLVYGAH 'IWHOIHD ON SHA ON -SOOZAONBT
[SOT Jey Sseuy
Teooy Bututequop sqjonporzd] 900TNVCTO S00cOudzO
Sp TOULOWWSH ped 00°T VNVWINISHIA SITHWYWNYH ON SHA ON -SOO0Z@LOOST -Ssoozonwoz dLS IO 9TOStTOe
NOITIVOICGNI gS0q [NOILVOIMISSVIO NOILYOICHWN] da TO YWoldd aLvd dOLs aLlvd doLs aLVd dOLs LNEWLVaaL aqoo
WHaL OTHENHD NOILYOICESW NHMNVL NOILWOICHN -aLVd LAWLS -HLVd LavVLS -alvd Laws Loadrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO €62 abed

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sor!

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

quewetddns [SUTWEITA JO SUCTIeUTQWOD]
Teuotatz4nn ge 0o°T SON SNIWVLIA ON Sada SaA
queweTddns [SUTWEITA] HANTINOO SOOCONCET
TeuUCTATAIANN Hn 00°O900T SUTWEITA ON Sada Sada -¢yINN - GOOZAONZO dLS I0 TZ08€TO0e
[seatqeatszeq ptoy Aqjeg] 900CNVC6T So00cOxed0e
zejtodtq Sw a0°o00T WONIGOSIWHS HLVONdTVA ON Sax SaA -GOO0ZLOOTT -GO00ZLO08T dlO IO 0Z08eTOe
so.1nztes [SPATIPAT ASQ UTOQUepAY] SOO0zOearO
stxeTAydorzq Su 00008 NIOLANYHd ON SHA ON -S00zLD0SZ
[SpToreqsootyszop
eulepe otuebosea Hututequep sqonporzg] GOO07ZLOO9Z
stxe TAydord n° HNOSVHLYNYXEd ON Sada ON -GOO07C LOOP
[SeATIeATASq ptoy Aqqeg] SOO0ZLOOPZE
aetodtg 6w oo*000T WNIGOSIWHS HLYONdTVA ON Sada ON -SO0CLOOFT
[seatqeatTszeq prow Aqleg]
zejTodta Bw 00°00S WNIGOSIWHS HLVOUdTVA ON ON SaA
[SSuTASzeTyUL
puy seutdezexo ‘seutdezetq] SOOZLOOET
zejtodta Bw 00°002 HLVYWWNA ANIGVILHYNS ON ON SaA -G007LD090
soanztos [S@eEATIPATAEq UTOQUepAY]
stxeTAydorzqg 6m 00°00€ NIOLANTHA ON SHA ON
easeostTp xn T Fert [szoqtqtyur dumg 0 3074] SOO0ZLOOPZ SOOZAONPO
Teebeydosseor4sep n° HIOZVAdOLNYd ON Sada ON -G00TLOOVE -GOO0TLOOPT dLO IO 6108 TOa
[SeATIeATASq ptoy Aqqeg] SOOZAONTO
aetodtg Bw 00°00S WNIGOSIWHS HLYOUdTVYA ON Sada Sada -GOO0¢dHST~
[S@ATIPAT IEG
puy ptow oTTAot Tes]
SSUSePeoH Bu 00° S6T ECINVIADITYS ON SaA SEA
[esq oTwe sds
TOq SSUTWERSTYTIUY 79430] HANTLINOD g00¢.LD0S0
se breTTe [Teuoseses Su 00°OT HNIGVLVAOT ON Sax SHA --INN -GO00ZdHS6Z dlS IO 8TOseloe
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO #62 abed

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s97xdoy «GPF ET? LOOZHYNZO

[septadedAtog
UTM SUOTIeUTqUOD
‘TOUL ‘sptToy outwy]

96rI

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

S8108 PTOD qea oo't ANISAI SHA SHA SHA
[SOATIPAT IEG
puy ptoy otTAot Tes] HANTLINOD 900¢NNCL0 900CAVWOT
eth eAworgta Bu 00°SzE GIOVW OITAOITVSTIALYOY SHA SHA SaA -MNN -900ZAYNTT -SOOZAONTZ IT / WId z2Z08fTOa
[Sept Ttuy]
eeyetiousushg Bw 00°Sze TOWWLHOWIVd ON SHA ON
[SPTOTeENTY wntdo Te1zn jeN]
eoyerroususég Bu 90°s HNOGODAXO ON SHA ON
[Sa04TqTYyUL seHeqQdnsey
SUTWEOUOW SAT IOSTSS-uoSN]
a 900CNVCCT
zejTodt 6w 00°OT GIMOTHDONGAH ANIMGVZNAAOTOAD ON Sax ON -GO00cOXdB0
[seatqeatszeq prow Aqjeg] s00cOUd80
zejTodta Bu 00°05zZ WNICGOSIWHS HLVOUdTVA ON SaxA ON -GO007DHa90
[seats Tndozdt uy] SOOZAON8O
eoyszretTd Bu 00°2 HCINVaedO]L ON Sada ON -SOO0ZAONLO
[uMntyatT] soozowazo
aejtodtq 6w 00°009 WOIHLIIT ON SHA ON  -S00ZAONZO
[seoueqsqns paeqeTey puy
SOATIPATIEG PTOW OTQe0V] 900CNVCCT
STITzAyiszeos so Bu 00°OST OVGNTITOS ON SaxA SHA -GO07LO092
[seutdezetyL
puy seutdezexo ‘sautdezetq] SOOZAONTO
azejtodtq 6w 00°00€ aLVaWNOdA ANIGVILYNO oN ON SHA -S00ZL0092
[seat qepes
puy sotqouddAy 2810]
eB TUMOSsUutT Bu 90°Sz HNIWVYCAHNAHATA ON Sada SHA
[saeyqq [TAyTeouTuy] SOOZTAON60O SOO0cOHNCET
se breTTe [Teuoseses Bu 00°05 HNIWVYCAHNSHATA ON Sax SHA -GO00ZL502z0 -GOO0ZAONZO diS IO TZ0geloy
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO GG6zZ abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771627
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 76 of 90 PagelD 85662

Lori
Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[seatqeatszeq prow Aqje4] 900CAVNSO
zejtodtq Sw a0°o00T WONIGOSIWHS HLVONdTVA ON Sax SHA -SOO0CLOOTE
[seutdezetyL
puy seutdezexg ‘seutdezeta] GOOZAONG6O 900ZHYNSO
zejTodta Bw 00°00T HLVYWWAA ANIGVILHNG ON ON SaA -GOO0CLOOTE -SOO0CAONBE dlS IO €Z08eloe
[s6nad
peqe[ey sutdezetpozuag] 900zINrLo
zejTodta Bw o0°€ ANOTOTdOZSa ON ON ON -900CNNCOT
[s6naq
peqetea eutdezetpozueg] 9007TNN6O
aejtodtg Bu o0°s NOTAHTYZ ON ON ON -900cCNNC80
[seuTWeTANTY peanatasqns] 900c INP LO
SeTTeTTe Teuosees Bu 00°F SZIVGIVW ANIWYNSHdYOTHD SHA ON ON  -900ZAWWZZ
[wuntyatT] 900ZTINLLO
zejTodta Bw 00°006 WOIHLIT SHA SdaA ON -S900CNYC6T
[sotqewtwoyqedwhs] 900ZNWLSZ
PTS® ToOWWE) Bw 00°002 NISHNHATYND ON Sada ON -900CNYIST
(wn tyatT] 900¢NV¥C8T
reyTodtg Bw 00°009 WOIHLII ON SHA ON -Ssod0coaasoO
[wNtyatT] soozoHavo
aepodta Bu 00°00€ WOAIHLIT ON SaxA SHA -SOOCAONLT
[SeATIeATASq ptoy Aqqeg] SOOZAONST
aetodtg Bw 00°00S WNIGOSIWHS HLYOUdTVYA ON ON Sada -SOOCAONTO
(wnazqoeds
pepusyxy UATIM SUTTTTOTUEd]) 900CUYVN9T
Yoo 7 sseoqy Bw 00°0SL NITIIOIXOWY ON SHA ON - 900CAWNST
[SUTWEITA FO SUOTIEUTQUOD] HONTLNOS 900cCNONCLO 9007TAYWOT
YATesy TetsusD gery oo°t SON SNINVITA SHA SaA SHA -MNN -900ZAYNTT -SOOZAONTZ ITI / WId 2Zz08eToa
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdoo
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO 962 abed

SUOTIEO TPA

6-OT° 2°21 Butasty

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AZSER12771628
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go97xdoy =6GPIET:LOOZHWWZO

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es" 00Tpeu

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

sTsouTbea [SSATIeATASC STOZepTwuy] 900cdH4A90 900CEHADT
Tetzeqoeg Bw 00°000T HIOZVAINOMLEN ON Saaz ON -900CNWITE -900CNVC8T dLl5S I0 SZ08fTOH
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOZOHALZ
aeqtodtg Bu 00°002 HIVavWnd ANIGVILYNS ON ON ON - S00 72OHaST
[seutdezeryy
puy seutdezexg ‘seutdezetq] SOOZOEaPrT
aetodtg Bu 00° 00T HLVavVWnd ANIGVILENS ON ON ON -SO007OHdeT
[seatqeatszeq prow Aqje4] HONTLNOS
azeptodtg 6w 00°00S WNIGOSIWHS HLVONdTVA ON ON ON -S00cO4d90
bsea73epes
puy sotqoudAy 228110]
HaIWOd S00cOadCcT
eTuMmosut SqeL 00°C AOUGAH HCIXONINY ANINWIOdOOS ON ON ON -soozTorst ONISSIN YZ08ET0R
[SSATISXeT Joe QUOD] 9007CAYNLO
uot edtqsuoD Bu 00°ST NIGZTWHLHAIONSHd MOTIHA ON SaA ON -900c¢NWL Ce
ured [S8PTT Tuy] 9007HdT70
SATE BOTIETOS Bu 007005 TOWZLEOVavVd ON Sada ON - S00 7cOHdET
[SPTOTexTY wntdo TeznjeN] GOOZAONST
uted eazeu oT JeTOS Bu vos HNOCODAXKO ON ON SadA -SOOZAONST
[seutdezetyL
puy seutdezexo ‘seutdezeta] SOOZTAONLZ
aetodtg Bu 00°00€ HLVavWnd ANIGVILYNS ON ON Sada -SO0O0ZAONOT
[seutdezertyL
puy seutdezexgo ‘seutdezetq] SOOZTAONG6O 900TUYNSO
azeptodtg Bw 00°002 ELVaWWNA ANIdVILYNO ON ON SaA -GOO0ZAONLO - SOOZAONBZ dLO IO €Z08eTOu
NOIIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO dwoldd aLvd dOLs aivd dos aLVd dOLS LNEWLVaaL adoD
WaatL OTHHNHD NOILYOICGSW NAMVL NOIDVOICHN -SIVd LAVLS -HLVd Lavis -aLlvVd Davis Loadrans
NOTIVOIGHN dxZIWOGNVS THadvl Nado

GTTT JO LEZ abed

SUOTIEO TPA

6-OT° 2°21 Butasty

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AZSER12771630

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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

queptooe
eTOTyea ACQou

03 Azepuodes [SPTOTPNTY wntdo TeznjeNn]

uted [Tem AseyD 6w 00°T OIYOTHOOUCAH HFNOHGHOWOMGAH ON ON ON
queptooe
aToOTyea azo jou
oj Arepucoes [SPTOTEXTY wntdo TeaznjeN] 9O07TAYNSZ
uted [Te qseaTO 6u 00°00S GHLVaALAYLIG HNOGOSONdAH ON ON ON -9007AWNSS
[SeATIeATASq ptoy Aqqeg] 900CAVNOT
rejTodtg Bu 00°0S2 WOIGOSIWES GZLVONdTYA ON oN ON -9007AYWN80
(Wn tyat TT) 900CAYNSO
zejTodta Bu 00° 00€ WAIHLIT ON ON ON - 9007AWNZO
(wn tyatT] 9007AYNTO
zejtodta Su 00°009 WAIHLIT ON SaA ON -9007TEHAVT
[SOEATIPATINQ STOZeTAL] S900CNVCTE
STSPTPTPUueD 6u 00° 0ST HIOZYNOONTA ON SaA ON -S900CNYWPTE
(wn tyatT] 900TAHAET
aepodta Bu oo" 00€ WAIHLIT ON SaA ON -900CNWLSZ
(wnt 4TT] 900CNVLSC
aetodtg Bu 00°009 WAIHLIT ON SaA ON -900CNWL VS
(Wn tyat TT) 900CNYL GZ
zejTodta Bu 00° 00€ WAIHLIT ON SaA ON -900ENWC8T
[sotqezAdtquy
puy sotsebTeuy zeyI0] 900CNVC8T
eyuwosul bw 00°000T TIOWWZLHOVavd ON ON SEA -SOO07COEA8T
queptooe
aToTyea ToOQoW
oj Azepuocoss [SeaTqeatseq pptoy otuotdozg] 900cAdVTO 900CGH4PT
uted [TTe“ qIseuD Bu 00°009 NH40udnagI ON ON ON -9007AdYTO -900ZNWL8T dLl5 IO SZ08eTOd
NOILYOICNI gsod [NOILVOISISSVIO NOILVOICHW)] du TO wordd aLvd dOLs HLvd dos aivd dOLS INSWLVaaL adoo
WHHL OI1HMENHD NOILYWOICEWN NHMVWL NOILWOICHW -aLVd LYVLS -aLVd LYvls -alvd Laws Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO a6z2 abed
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00ST
Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[suotqerzedeig uort] 9007CAVNLO
eB yueue SUT TASpto0g n° NOUI ON ON ON -900CAYWLO
[Sept Ttuy]
a 900CHHABC
PpToo UOWWoOD 6uw 00°St? CIMOTHOONGAH ANIMNGHHaANOUNASd ON ON ON -900CEHH4A8C
[seatqeatszeq prow Aq3e,] 900TAVNITS
rejtodtg 5u 00°00S5 WNIGOSIWHS HLVOUdTZA ON SHA ON -900cdadH4 90
[sastuoby
To ydesar0uerpy- Z- ee
. SATIOSTSES
uad ewyasy bow 00°06 TIONVLNATZS ON SHA SHA
[sueboyseborg] HONTINOS 900CEHHA0c
ToOrU0o YIATa Bw 00°OST WLVLHOV ANOWNLSHDOMNdAXONCHWN ON SHA SHA -YNA -900cdH490 dLO IO 9Z08eTOe
[SeATIeATASd ptoy Aaqeg] HOANTINOD
aeqTodta Su 00°005 WNIGOSIWHS ALVOUdTIVA ON ON ON -900CAYWTT
pros oq Arzepucsses [SEPTT Tuy]
eyoepesH 6wu 00°000T TOWWLAOVavd ON ON ON
[SepTtTtuy] 9007AYNB8O
PTSD Bu 00°ST GLIVNIOONS ANINVIAXOd ON ON ON -900CAYWSO
queptose
eToOTyea 7z0I0W [SSATIPATASEQ SUTZeETAL
oj AzTepuooes puy ‘SuTZeTUL ‘TOZexo] 9007HaYTO
uted [Tem AseyD Su 00°008 HNOTVXVYLEWN ON ON ON -900CAYNSC
queptose
eTOTYyeA 70OJCW
03 Azepuossas [SeaTIepes puy sotqoudAy]
uted [Tem AseyD Bu og° ZT HNIZVHLAWOUd ON ON ON
quaeptooe
aTOTYaA TO OW
03 Azepucoss [SptoTextTw wntdo TeznjeN] 900CAYNSC S9O00CEHHAVT
uted [Tem 3seyD Bu os-z HATHOTHIOAGAH HNOCODAXO ON ON ON -900CAYNSC -900CNYVC8T dLO 10 Szogetog
NOLLYOICNI Hs0qd [NOLLVOISISSVIO NOILYOICSN] da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO 662 abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
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Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 80 of 90 PagelID 85666

10ST

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[Sept Ttuy] 900TAYN80
syoepesH 6w 00° 000T TOWZLAOVAYd ON SHA ON - 9007AWNB0
[SPATIPATIEq
Puy SPTOTeEXTY wntdo]
a 900CHHALCE 900CHVNOE
PToOos VOW Bw 00°04 GIMOTHOONGAH ANIMGHHaHOaNASd ON ON SHA -9007CEHALTZ -9007CAYWWEO dLO IO 6Z08€T0R
[seatqeatizeq prow Aqqeg] 900cCHdv6E0
aetodtg Bu 00°0SL WOICOSIWHS ALVONdTVA ON SHA ON -900caHALT
[seatqeatszeq prow Aqje,] 900¢dH4A Lz
aetodtg Bu 00°005 WOICOSIWHS ALVONdTVA ON SHA ON -900CaHA rT
[SPATIPATIEG
puy SPTOTeXTY wntdo]
a 900CEHHET 900CHYWOT
PToo VOWWoD 02 00°0S CIYOTHOOUCAH ANIMCHHdHOdNeSd ON ON SHA -900CaHHAET -900CEHAPT dL5 IO 8Z708fTOe
ssoo0sqe [SepTT Tuy] 900 CAYNSC
Yqoo  eyoryqoo, bw 00°000T TOWWZLAOVAYd ON SHA ON -9007¢aed LT
[SSATIPATIOg
puy proy oTTAotTes] 900¢ds48T
PTO UOWWOD Bu 00°SZe ELYNOdavOId WAIGOS ON SHA ON - 900caHA9T
(wntyat tT) 900 TAWNST
azeptodtg Bu 00°00€ WOIHLII ON SHA ON - 900cCaHA rT
[seatqeatieq proy Aqqed) soociInrso 900CHHAET
rejTodtg Bu 00°00s WOICOSIWHS FLVONdTVA ON ON SHA -soozTarso -9007CEH4AbT dL5 IO 4LZ208fT0E
[s2sonporzg 4 TN]
wot qedtqsuoD 5 one MSOH VIVAO ODVLINVId ON ON ON
[SSATIPATIAg
puy sproTexty wntdo] 900 TAWNTC 900THHAOT
PTOo WOWWOD Bu 00°0& NVHdYCHLEWONLXHYA ON ON ON - 900ZAWNLO -900caH490 dLO IO 9Z08eT0a
NOLLIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO Worldd HLYd dOLs Hivd doLs GLV¥d dOLS LNEWLVaaL gqdoo
WHHL OLSHNSD NOLLYOICEW NEMWL NOILVWOIGHW -HIVd LAVLS -HLVd LavLS -a1Vd Laws Loarans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTTT JO 092 abed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

CONFIDENTIAL
AZSER12771632
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COST

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

UOTIeHTISSAUT [SeATIeATIAeq pToy Aqqed] SOOZAON8Z
Zepun eseestq Su 0o0°00sT WNIGOSIWHS HLYOUdTVA ON Sada ON -GO00ZLOOL0
UOTIeHTIASSAUT [SeaTIeAtseqd ptow Aqqeg] SOO0ZLD090
Zepun esesstq bu 0o0°o000T WNICGOSIWAS HLVOUdTIVA ON Sada ON -GOd0cONWEe
uoT ebTqAsSsaut [SSATIeATIEq plow Aqqeg] SGOOZONYVETS
Tepun sseosTd Bw 00°052 WNIGOSIWHS HALVOUdTIVA ON SaA ON -SO0O07ONY8T
uoT ebTqAseaUt [squesseizdeptquy 781740]
Tepun ossessTtd Bu os" Le HQATHOTHOONCAH ANIXVAVINGA ON ON SaA
uoT IebTqAsSsaUt [SSATIeATIEq plow Aqqeg] SOOZDNYLT
Zepun esesstq Su 00° 000T WNIGOSIWHS HALVOUdTIVA ON ON SaA -gO0O07ONYCT
uoT ebTqAseaUt [squesseizdeptquy 781740] SOOZDNYTIT
Tepun sseestd Bu oo°Sh HATHOTHOONCAH ANIXVAVINGA ON ON SaA -SoocInrLd
uot ebtqssaut [SSATIeATASq plow Aqqeg] SOOZCONVTIT
Tepun ssessTtd Bu 00°OSL WNICGOSIWHS HLVOUdTVA ON ON SHA -godocInrod
UOTIeHTISSAUT [squesseizdeptquy teyI0] soozinrez
tepun eseestd Bw 00°0ST HATYOTHOONCAH YNIXVAVINGA ON ON Sada -SoocInrod
[seutTdezertyuL
puy soutdezexg ‘soutdezetq] SOOZOHA8Z GOOZAONBZ
TESTTTqeis poow Bu 00° 00€ HLVaVWNA ANIGVILYNS ON SaA SEA -SOOcAWNOE -S00ZDNVLT dLlO IO TOO06ETOH
[SepTT Tuy] 9O007THWNTZ
eyoepesH 6wu 00°000T TOWZLAOVaYd ON Sada ON -900CAWNFC
[SUTMEITA JO SUOTIEUTQUOD]) QO00CHAT6S
Buzeq [Te Tereuep ge 0o°T SON SNIWVLIA ON Sada ON - 900TAYN90
[wntyatT] 9007MAVEZ
reyTodtg Bu 00° 00€ WAIHLIT ON SaA ON -9007HWNED
[suebor4sq] 900CHHA9T 9O00TAYWOE
suoidwés swd ger 00°T SON NHSOULSH ON ON SHA -900CEHA9IZ - 900ZCHWWEO dlS IO 620810
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO 192 abed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

CONFIDENTIAL
AZSER12771633
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 82 of 90 PagelD 85668

COST
Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[sotideTtdetquy zeyI0] SO0O0TNYL YZ
seyoepesy suTezbTW Bw 00°St ELVAVaIdOL ON ON ON - 900CNY¥COT
[seatqeatszeq prow Aqje,] HONTLNOD
Zepiostp azeqtodtg Sw 00°0002 WOICOSIWHS ALVONdTVA ON ON ON -900CNYC7O
[sotade{tdetquy 28740] S00CNVL60
seyoepesey esuTezBTW Bu 90°05 FLIVAVATGOL ON ON ON -SOOZOECET
[seatqeatszeq prow Aq3e,] 900CNVCEO
Iepiostp azejtodtq 6w 00°00sT WOICOSIWHS ALVONdTVA ON ON ON -SOO0cOHdET
[sotade{tdetquy 7240] SOO0cONdCT
seyoepesy suTeIBTW Bw 00°S4 FLIYVWWaIGOL ON ON ON -S00cDaaL0
[seatqeatszeqd ptoy Aq eg] SOQOCONACT
Zepiostp azetodtgq S5w 00°000T WOICOSIWHS ALVONdTVA ON SHA ON -SOOZAONTO
[seatqeatszeq prow Aqje,] SOOZLOOTE
Zepiostp azetodtg Bu 00°0SL WOICOSIWHS ALVONdTVA ON SHA ON -SOO07LOOTT
[SOATIeATASQ pPToyv otuotdozg] SOO0cOeCST
SSUSePeoH Bu 00°008 NHAOudNaT ON SHA ON -S00¢LOOTO
[seatqeatszeq prow Aqjeg] S0O0C.LOOOT
Jepizostp azertodta Bu o00°00S WOICOSIWHS ALVONdTYA ON SHA ON -SOOCdHS6z
[SeATIepes puy sotqoudAy] SOOZOHNCST
soyoepesey suerBTW 3eTqQeI 00°T TWLIGIVLINd ON SHA ON -SOO7cdHS8z
uot eqtbe [S®aATIeATAeq sUTdEzeTpozueg] SOOZLDOOT
ZojowoyoAsg Bw 00°9 WVIOZVUdTY ON SHA SHA -SsoocNorto
[sotade,tdetquy 7281740] S00cOed90
seyoepesy euTezbTW Bu 00° 00T ALYNVaIdOL ON SHA SHA -SOOCcAWNITO
[SPTOTexTY wntdo TeznjeN] soozdaso7g
Seyoepesy SUTEIBTW ASTIeI 00°T TWLIGIVLNG ON ON SHA - SOO CANTO
uotqeqtbe [S@aTIeATAegq eUTdEezeTpozuEg] SOOcONaST GOOZTAONST
Zojowoyohsa Bu oo°€ WYdHZYNOID ON SHA ON -SOOZLOOTT -SO0ZdHS8z dLO IO Z006€T0R
NOLLIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO Worldd HLYd dOLs Hivd doLs GLV¥d dOLS LNEWLVaaL aqoo
WHHL OLSHNSD NOLLYOICEW NEMWL NOILVWOIGHW -HIVd LAVLS -HLVd LavLS -a1Vd Laws Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO 792 abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771634
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 83 of 90 PagelD 85669

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

vost

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

(wntyatT] SOOZAONET
tepiostp azejtodtg Su 00°009 WOIHLII ON SaA ON -S00cLO082
[SUTWEITA JO SUOTIEUTQUOD]) HONTLINOS SOOCAONEO
queuttddns Azeqjeta gery 00°. SON SNINVLIA ON SaA SaA ANA -S00cLO082 dLS IO zoot710a
[wntyat tT] 9007TNL8T
aeqtodtg Bu 00°006 WOIHLIIT SHA ON ON -900cNNP90
Adezoeyy [UTETd ‘sueborqsy
quewese Tdet oTqeyquAstwesg puy Tern AeN] 9007 INST
SuUOWALOH Bu 90°2 TOIGVaLSA SaA SAA ON -900TAYWTC
[wntyatT] 900cNNrso
Zepiostp zeTodtq Sw on°o0zT WOIHLIIT ON SHA ON -900CNYP9T
(wn tyatT] 900CNYIST
Jepiostp zeTtodta Bu 00°006 WOIHLII ON SHA ON -SO00CLSOTT
(WHTY ATT) SO00ZLOOOT
tepiostp zetodtg Bu 00°009 WOIHLII ON SaA ON -SO00cdHS0€
[SSATIPATASqC suTdezetpozuedg] 9007EHAGT
pte deets Bu 00°T WYdHZvaol ON SaA SaA -sooconvoe
[wn ToTeD] HONTINOS 900cCNNC8T 900cCNNL YO
quewetddns Areqeta gey 00° HLVNOddvO WAIODTYO SHA SHA SaA -MNN -900ZNOrSO -SOO0z7dHSO€ IT / WId TOOT7TON
[SSATIPATASQ STOpul] SOO0CLOOE6T
STU Bu 00°08 HQTYOTHOOUCAH HNOCISVadIZ ON ON Sada -S00C.LOO6T
[seaTleatiseqd prow Aqqeg] HANTINOD SOOZOHCOT
Teprostp azetodtg Bu 00°0S4L WOIGOSIWHS ALYOUdTIVA ON SaA SaA ANA -~SO0CAONG6Z dlS IO €006ET0R
[sotade,tdetquy 27°40] HONILNOD SOOZAONST
soyoepesy SsuTerBIW Bu o0°0s HLYNVAIGOL ON ON ON -S900CNYISZ -SO0CdHSBz dLO 10 ZO06eTOE
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO £92 abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771635
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 84 of 90 PageID 85670

SOST

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[SPATICATI90q
aueyjewTAueydt qd] 9O007TAWNST
SSSuUTZZTa Bu oo°0s HNIZAXOMGAH ON SHA ON -900ZEHAZT
uo TIOSJUT [seuo Toutnborzont a] 900ZNVPST
Azojzertdset asddq 6wu 00°00S5 NIOVXOTSOAS1 ON SHA ON -900ZN¥P90
[Squessazdaeptquy Tayo) SOOZOHATO
Jeprostp azetodtg Bu 00°SL HCIUYOTHOONGAH ANOGOZVHL ON SHA ON  -SOOZAONST
euworpuds [S®aTIeATASq eUuTdEzeTpozusg] 9007dH4TO
bel sseTqssa Bu 00°T WWdHZWNOIO ON SHA SHA -S00ZLOOLO
[squesseadeptjuy 29430] GOOZAONTT
Zepiostp aetodtq 6m 00°0sT HAIMOTHOOUGAH BNOGOZVHL ON SHA SHA -S00ZLOOLO
[ptcg puy te°0Tn
oftaded 10g sbnid 28410) 900Z7INEST
ZeoTn yorewo 4s 5 o0°T ALVAIVUONS ON SHA SHA -S00ZLOOTO
[wnty3tT] 900ZINEST
zejodta Su 00-006 WOIHLIT ON SHA SHA -So0z Ine to
[seuowz0H ptoxrAyL]
ptoszAyq0dAq Su to WOIdGOS HNIXOMAHLOANI ON SHA SHA
Adezeyy [UTe Td ‘suebor4sg
quewece Tdez orqeyquAstTwes puy TeznqAeN]
SUOWIOH qe. oo°t CELVDOCNOD SNHDOWULSH ON SHA SHR
sotqewtwoyqedwhs
UTIOY AjTezqueo] HQNILNOO SOOCNOCST
AsdeTooreN Bu o0°SEe SNIWWLEAWWXHQ ON SHA SHA -MINO -S00ZAONLO dL5 IO €00T7TON
[wnty3t'T] GOOZOHAEO
Jepiostq azejTodtgq Sw 00°00zT WOIHLIT ON ON ON -SOOZAONDZ
[wntyatT] GOOZAONET SOOZAONEO
Jepiostp azetodt@q@ 6m 00°006 WOIHLIT ON ON ON  -SOOZAON?PT -S00ZLD08Z dL3 10 ZOOT7TON
NOILWOIGNI Hsod [NOIL¥VOISISSVIO NOILWOIGEW)] ca TO WOINd LWd dOLS HLvd dOLS LVd dOLS INSWLVAUL aaoo
WHHL OINENHD NOLLVOIGHW NSNVL NOILWOIGHN -HLVd LYWLS -HLVd LUVLS -HLVd LYWLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO 792 abed

CONFIDENTIAL
AZSER12771636
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90ST

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

[SseptT Tuy]
seyoepesH Su 00°00S TOWWLHOVEWd SHR SHA SHA
[Seat Ieatszeqd pTow otuotdorzg] HONILNOO 900 ZDNY¥ST 9007NdV9Z
seyoepesH Su 00°00S5 NHXOWGUN SHA SHA SHA -MNQ -900ZHdvVLZ -900ZNWPEO IT / Wid LOOTITOR
[SeATIeATASq ptoy Aqqeg] HANTINOO
Zepiostp azetodt@ Sw 00°00ST WOIGOSIWES HLVOUdTVA ON ON SHA -¥INO ONISSIN 9OOT7TON
[Septwesoouty] 9007CEHA8C
woTIoezuT YACOL =u 00°006 NIOAWYGONITD ON SBA ON -900Z7EHA8T
. [SSATIEAT AEG prticow otuotdozg] 9007TEHA0T
utedyj00L bu 00°008 NHAONGNGI ON SHA ON -900ZN¥P9Z
(wnazqoeds
pepusyxy UATIM SUTTTTOTUAEd] 900¢dH4 FO
stxe TAydorg Sun NITIIOIXOWY ON SHA ON -900CN¥P9Z
[SPATIPATIAEq PToy Aqqeg]
Jepiostp azejTodtg bw 00°000€ WOIGOSIWHS HLVOUdIVA ON SHA ON
[S@ptT Tuy] S900ZAYWTE
seyoepesHyH Sun TOWWLHOVAVd ON SHA ON  -SOOZAON8O
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOZAON90
Iaepiostp zejodtq 6wu 00°o0r FLVEVWAA ANIGVILENO ON ON SHA -GOOZLOOET
[SSaATIeAT AEC suTdezetpozued] SOO07ZDHd90
suoqdwdAs AjetTxXuy Bu 00°T WYaaZvVuO1 ON SHA SHA - 9007210080
[seatqeatseq ptow Aq eg] GOOZAONLO 900ZAVWTO
Zeprzostp aetodt@ Sw oo0°005z WOICGOSIWES ALVONdTVA ON ON SHA -yNO - S00ZAON80 dLS 10 vOOT7TOa
[SSATICATIEq Toul
wtrdoyjeutal/SsapTweuozp—ns
JO quod] 9007Tadv80 900ZNNLST
eqtuowneud 6u 00°009T HIOZVXOHLEWWATINS ON SHA ON  -900ZHWWLT -S00ZAONLO dL3 10 €00T7TON
NOILWOIGNI Hsod [NOIL¥VOISISSVIO NOILWOIGEW)] ca TO WOINd LWd dOLS HLvd dOLS LVd dOLS INSWLVAUL aaoo
WHHL OINENHD NOLLVOIGHW NSNVL NOILWOIGHN -HLVd LYWLS -HLVd LUVLS -HLVd LYWLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO G9Z abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771637
Case 6:06-md-01769-ACC-DAB Document 1363-2 Filed 03/12/09 Page 86 of 90 PagelID 85672

LOST

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[squesserzdeptauy 780] 900cCEdHA0c
Jeprostp azetodtg Bu 00°SL HQIYOTHOOUCAH ANIXVAVINHA ON SAA SA -GO00COHd9T
[seutdezertyL
puy seutdezexg ‘seutdezeta] 9007CNVL9T 9O007TNYLOZ
Iepiostp szejTodtg Su 00° 00T BLVYWWOA ANIGWILENG ON ON SHA -SO007DHA9T -900CNVI9T dl5 IO 800T71T0F
[SeptT tty] 9007d4ESTT
sdwez. [eazqsuew Su no HNIACGHWYNNIO SHA ON ON -9007INLYT
[s6n2q
pe qeley eutdezetpozueg] 900cC TNE TC
pte deets Bw 00°s HLIVaALYVL WHCIdIOZ SaA ON ON -900Z7INCET
[SseptTtuy] 9007AYN9O
SeuoepescH Bw 00°00r TOWZLAOVWAYd SHA ON ON - 9007AVWTO
[sUTWeITA JO sUCTIeUTqUOD] 900Z4ESTT
quewetddns Areqeta geqa oo°t SON SNIWWLIA SHA SHA ON -9007AWNSO
[S®eaATIeATAVG pToy otuctdozg]
NTF OTAASeDH 6u 00°007 NHAOudNaI ON SaA ON
[suotjerzederzg yanustg]) 90070484972
NTF OFAISEO Sun HLVIAQITWSans HLAWSIG@ ON SAA ON -9007THHAST
[STOVTQTYU] SseptutTwezneN] S900ZNWLEZ
swoqdwdAs nT4 5u a MIAINVLTHSO ON SaA ON -900CNYC6T
(wntyat iT] 9007TdHSPT
Zepiostp rzetodtg Bu 00°006 WOIHLIT SHA SHA ON -9007CNWCOT
[seoueqsgns
paqelay puy sutrzodsotTerydap] 900CNWCLVT
eqoTzee STATINTTSo Su 00°005 TIXOWdVAHD ON SAA ON -900TNWL60
(wuntya3t iT] 9007ZNYL60
Iepiostp szejTodtg Su 00°009 WOIHLIT ON SaA ON -900CNYCEO
[Sept Ttuy] 9007TNVCTO 900 7DNYST 9007HdV9T
sdwez. Tenzqsue,_ Su 00°000T WOUdYNYd ON ON SA -SOOZDHCTE -900ZHdVLZ -900ZNYVCEO IT / W1d LOOT7TON
NOILYWOIGNI Hs0qd [NOLLVOISISSVIO NOILYOICSWN)] da IO wold aHLYVa dOLs aLY¥d doOLs aLVd dOLs LNSWLVYaL qaod
WHEL OISSNHD NOILYOICSWN NEMWL NOILVYOICGSW -HLVd LYVLS -SLVd LUVLS -aLvVd LaVWLs Loaraas

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO 992 abed

CONFIDENTIAL
AZSER12771638
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80SI

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[SeATIeATASd ptoy Aaqeg] 900CNYVPTZ
Zeztttqers poom Su 00°0sz WOIGOSIWHS HLVOWdIVA ON SHA ON -S00ZOHAOZ
AezT[Tqeas [seatTqeatizeq ptoy Aqjeg] GOOZOHAOZ
poow ’ [T aetodta 6wu o0°o000T WOIGOSIWHS HLVOWdIVA ON SHA SHA -SOOZAONTZ
[SeaATIeATASG eUuTdEzeTpozueg] SOOZAONEZ
ZeztTqeis poom Bu o0°T WWd4ZYNOTIO ON ON SHA  -SOOZAONST
[SSATIEAT AEG suTdezetpozuag] SOOZTAONTO
TeztTtqeqs poow Bu 00°T WYIOZWadTY ON ON SHA -¥INO
[SUCTISUT QUOD
pexty ‘susebor 4s
puy sueBoqseborg]
Torzquoes yYAITa bow o00°Sst HULSHDONOLH ON SHA SHA
[eouspuedeq
SUTIOOTN UT pesn shn2zq] AONTLNOO soozowdzz
Zezt{Ttqeas poom Su 00°o00E HCIMOTHOOUGAH NOTGOWANA ON SHA SHA -¥INOA - GOOZAONEZ dL5 IO TOOEF7TON
[Sa0qTQTYyUL eHeqQdnoey
UTUOIOASS SATIOSETES] HONTLNOD
uotsseadeq Bu 00°09 ACIMOIOOUGAH SNILEXONTAI ON ON ON  -SOOZDNYTO ONISSIN OTOT7TON
[SEATICATI9q
suo TpeuBdeportdsezy] HONILNOD
suoqduds AQetTxXuUYy Bu 00°0OT SNOUMIdSnNa ON ON ON -S00ZOHATO
[SZOITqTYUL dung uojorg]
aaa Bu 00°07 WOISHNOVWN AIOZVYdaWOSH ON ON SHA
[SSEATIPATASC suTdEezetpozueg] AONILNOO
pte deets Bw oso WYdHZYNOID ON ON SHA -MINO ONISSIN 600T7T08
[wnty3t'T] 9007aHAOT
Jepiostp azejTodtgq fu 00°006 WOIHLIT ON ON ON -900ZNY¥PPZ
[wnty3tT] QOOTNWLET 9O00ZNWLOT
Zepiostp zejTodta fu 00°009 WOIHLIIT ON SHA ON  -900ZNYEPLT - 900ZNY¥L9T dL3 10 800T7TON
NOILWOIGNI Hsod [NOIL¥VOISISSVIO NOILWOIGEW)] ca TO WOINd LWd dOLS HLvd dOLS LVd dOLS INSWLVAUL aaoo
WHHL OINENHD NOLLVOIGHW NSNVL NOILWOIGHN -HLVd LYWLS -HLVd LUVLS -HLVd LYWLs Loarans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTTT JO L9Z abed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

CONFIDENTIAL
AZSER12771639
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60ST

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

(wntyatT] 9007dHdALZ
aeqtodtq 6w oo*o00sT WOIHLIT ON Sada ON -900CNYCOT
[squesserzdeptauy 780] 900CNW’CO
aeptodtg Bu 00°SE HQATAOTHOONCAH ANIXVAVINHA ON Sada ON -G00cOeag92
[squessaadseptquy 19730] Goozogagz
ae podtg Bu 90°SzL HCTYOTHOONCAH ANIXVAVINGA ON SaA ON -SO0O0COHA6T
[wntyatT] 900CNYLOT
zejTodt Su 00°009 WOTHLIT ON Sax ON -SOO0ZOXdBT
[squesseizdeptquy 78740] SOO7ZOHd6T
azejTodta Su 00°OTT HATAOTHOONCAH HNIXVAVINHYA ON Sada ON -GOOCOHCET
[sotade{tdetquy 7240] SoocOudsT
reptodtg Bw 00°00€ UNIDIYLONZI ON Sada Sada -SOO0CAONZT
[squesseizdeptquy 79870]
aeptodtg Bw 00°0ST HQATYOTHOONCAH ANIXVAVINHA ON ON SaA
[SSuTdezertyL
puy seutdezexg ‘soutdezetq] SOO0ZOHeCET 9007ZTNE90 900Z¢NNL90
aetodtg Bw 00°002 HLVYWWNA ANIGVILHYNS ON ON SaA -SOOZTAONZT -900ZNNrL0 -S007OHdET IT / dS vooe7tog
[SseutTdezeryL
puy seutdezexo ‘sautdezetq] soo0zomaso0
aepodtg Bw 00°007 HLVYWWNA ANIGVILHYNS ON ON SaA - GOOTAONLT
[eouspuedeq
SUTIODIN UL pesg sbnaq] SOOZOHATO
zejtodtg Bw 00°0ST HATYOTHOOAGAH NOTdOwdNa ON ON Sada -GOOCAONLT
[seaTqeatied ptow Aqjeg]) 900cNNCLO 9007ZAVWS8O
aetodtq 6w oo*o000T WNIGOSIWAS HLVOUdTVA ON Sada SaA -900¢L00S2 - 9002048080 dLO IO c00€7T0R
[SepTtT Tuy] SONILNOO
sTaATzyaty Bu 00°Sze TOWZLHOVagd ON ON SHA --INN ONISSIW ZOOe7TOd
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO 992 abed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

CONFIDENTIAL
AZSER12771640
s97xdoy «GPF ET? LOOZHYNZO

OST

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

CONFIDENTIAL
AZSER12771641

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ANON ONISSIWN B800E7TO
[sotqoyoAsdtquy 22740] SONILNOO
zejTodt Bu o0°€ HNOGTHHdSTH ON ON ON -SOO0ZOXAST
[sotqjoyoAsdtquy 25430] SOOZORAST
azeqTodtgd Bu 00°F HNOCTYHdSTHY ON ON ON -GOOCAON6T
[SeATIeATASq ptoy Aqqeg] 4HANTINOO
aetodtg 6w oo°o00sT WNIGOSIWHS HLYONdTVA ON ON ON -SOOZCAONE6T
[SUTWEITA JO SUOTISCUTQqUOD] HANTINOD
queweTddng GeL oo°T SON SNIWNVLIA ON ON SaA ->INN ONISSIW LOOE7TOd
[wntyatT] 9007TdHSZT
zejtodta bu oo°oset WOIHLIT SHA Saaz ON -900CNYC60
(WaTUITT) 900CNYL6E0
reptodtg Bu 00°006 WOIHLIT ON Sada ON -GO00cOHedLze
[wuntyatT] GOOZOHALZ
aetodtg Bw 00°009 WOIHLIT ON Sada ON -G00cOed02 II / Wid 900€71T08
ANON ONISSIWN SOOE7TO
[eouspuedseq
SUTIOOTN UT pesq sbn1zq] 900cHdV6T
uot ssezdeq Bw 00°0ST HATAYOTHOONGAH NOTdOwdnNa ON Sada ON -900TaAdYSO
[wntyatT] 900zONWSO
aetodtg 6w 00°0S0T WOIHLII SHA SHA ON - 9007CAWNISO
(wntyat TT] 900TAYNSO 900cTNE90 900cNNL90
azeptodtg Bu 00°0SL WOIHLIT ON Sax ON -900ZHYWTO -900ZNONrL0 -SOO0ZDEdeT IT / dlO yOOE7TON
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

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ITST

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

[sqoqtqtyul eyeqdney

ast

“600TZOZTTI/3123/3ndano /ds/97T00°L rr TP/ Tenbozes /pord/aiso/

UTUOIOISS SATIOSeTAaS] 900ZEHA9ST
aetodtg Bu 00° OT ZLVTWXO WWAdOTWLIOSH ON SHA ON  -9007HHAZO
[SeaATIeATASG eUuTdEzeTpozueg] S007TAYNS0
zejpodtg Bu os°0 WYdHZvVaOT ON SHA ON -900CNYPES
[seutdezetyL
puy seutdezexo ‘seutdezetq] 9007894 Z0
aeqTodta Bu 00°00r ELVYWWOA ANIGVILHNG ON SaA SaA -900CNY¥L'SO
[wNtyatT] 900ZAYN90
azeqtodta Sw oo0°o00sT WOIHLII ON DaA SoA -S007OHdL0
[SeaTIeATIeq SsuTdezeTpozueg] 9O00TNYLOT 9007HaW90
zejpodtg Bu 00° T WYdHZYNOTS ON ON SHA -S0021L5090 -900CNYCET dLO IO ZlOe7 log
[SioqytqTuUL dumg uoqjo7d] AONILNOD
s290TO Bu 00°02 WOISHNSVW SIOZVadHWOSa ON ON SaA ANA ONISSIN TTO€7TOa
[sas tuoby
tordedar0uerzpy- 7z-e19q
BATIOSTES] SONILNOD
euyzsy SsFind 00°72 TIOWZLAATYS ON ON ON -SOO?CNACTO
[seutdezetyL
puy seutdezexo ‘seutdezeta]
azeqTodta Bu 00°Sz ELVYWWOA ANIGVILANS ON ON SaA
[SP POO TyAODOONTY]
seTbre Ty 33Nd OO'T HLVOUNA ANOSVLIEWOW ON ON Sada
[S@aTIeATAeGq SsUTdezeTpozuEg] FONILNOO
AqetTxXuy Bu os*o WYdHZYNOID ON ON SHA -YNA ONISSIWN OTOC7TOd
[sotqezAdtjuy
puy sotsebTeuy 27830] HONTLNOD
epte deets Su n TOWWLAOVavd ON ON SHA -YNA ONISSIWN 600€7T08
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTTT JO O42 Obed

SUOTIEO TPA

6-OT° 2°21 Butasty

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